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APPENDIX C

TRAFFIC ANALYSIS TECHNICAL REPORT

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U.S. Department
of Transportation

Federal Highway
Administration

May 2020

JV_WOOT. maryLanp DEPARTMENT OF TRANSPORTATION
STATE HIGHWAY ADMINISTRATION

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Purpose Lanes — 1-495 INNGr LOOP ssissiscaisccccsinccescennsaisaaacsonaveavaaennenicaesd evieaniaeasvanmvertineeadnaeessestaains

Figure 5-38: 2040 Alternative 13C 4-5 PM Peak Hour Volumes in Managed Lanes and General

Purpose Lanes — 1-495 Inner LOOP .........ccccccscceeeeeseeeeeeeneeseeeeneeeueeeneeeeeeeeeneeeteneeeeeeeneeseeeeneeseeeenenenenes

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Purpose Lanes — |-495 Outer Loop...

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Peak Period Average Speeds (mph) ...............:::cccccseeeccecesseeceesereeccessececeessneececsceeceeneneeseeneneececanes

Figure 5-44: |-495 Outer Loop Existing (2017) and 2025/2040 Alternative 1/No Build AM

Peak Period Average Speeds (mph) ..........ccccccesssseeseeesecssensecessnsesecseeseseesensesecsuansseeseneeseesueneeeenanes

Figure 5-45: |-270 Existing (2017) and 2025/2040 Alternative 1/No Build AM

Peak Period Average Speeds (mph) ..........::ccesecececeeeeeseeeeceeseceeseeeaeecsaecsaeceaecaaeeeaeeaeesseesaeeeaneeseeenes

Figure 5-46: I-495 Inner Loop Existing (2017) and 2025/2040 Alternative 1/No Build PM

Peak Period Average Speeds (mph) .........cccccccecsesecssseescessensscesseessseseeeeseescneesecseeneseceeeaesseseeneeeesanes

Figure 5-47: |-495 Outer Loop Existing (2017) and 2025/2040 Alternative 1/No Build PM

Peak Period Average Speeds (mph) ........cccccccccssescccsssesecssseeseecenessccsuseseesusesecsenseseceeneesecsaneeeeesenss

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PM Peak Period ......ccccssccesssseeesseessneeescaeeeccersnnesenaaessaeeesaeseeageenenesecaeseesaeesenesseeeseeqseensneeaeaeeensasessneaseass 119
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AM ‘Peale Period sasciscviceiieversieasciieosasiataesivaviceiveniv i iaietiaotndaees aries ier Gaia eA ATI ART 120
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1 INTRODUCTION

1.1 Overview

The Federal Highway Administration (FHWA), as the Lead Federal Agency, and the Maryland Department
of Transportation State Highway Administration (MDOT SHA), as the Local Project Sponsor, are preparing
an Environmental Impact Statement (EIS) in accordance with the National Environmental Policy Act
(NEPA) for the |-495 & 1-270 Managed Lanes Study (Study). The Study is evaluating potential
transportation improvements to portions of the 1-495 and I-270 corridors in Montgomery and Prince
George’s Counties, Maryland, and Fairfax County, Virginia.

This EIS is being prepared in accordance with FHWA and Council on Environmental Quality (CEQ)
regulations implementing NEPA and provisions of the Fixing America’s Surface Transportation (FAST) Act.
The content of the EIS also conforms to CEQ guidelines, which provide direction regarding implementation
of the procedural provisions of NEPA, and the FHWA’s Guidance for Preparing and Processing
Environmental and Section 4(f) Documents (Technical Advisory T6640.8A, October 1987).

The purpose of the Traffic Analysis Technical Report is to present the existing conditions and an
assessment of potential direct impacts of the Screened Alternatives and is being prepared to support and
inform the ElS. The report begins with a description of the Study corridors, followed by a summary of the
Purpose and Need, and a description of the alternatives evaluated.

1.2 Study Corridors

I-495 and |-270 in Maryland are the two most heavily traveled freeways in the National Capital Region,
each with Average Annual Daily Traffic (AADT) volume up to 260,000 vehicles per day in 2018 (MDOT SHA,
2019). 1-495 is the only circumferential route in the region that provides interregional connections to
many radial routes in the region, such as I-270, US 29 (Colesville Road), I-95, the Baltimore-Washington
Parkway, US 50 (John Hanson Highway), and MD 5 (Branch Avenue). 1-270 is the only freeway link
between |I-495 and the fast-growing northwest suburbs in northern Montgomery County and the
suburban areas in Frederick County. In addition to heavy commuter traffic demand, |-495 provides
connectivity along the East Coast, as it merges with I-95 in Maryland for 25 miles around the east side of
Washington DC. (Figure 1-1).

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Figure 1-1: |-495 and I-270 Managed Lanes Study Corridors

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2) GRD -495 & 1-270 Managed Lanes Study
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1.3 Study Purpose and Need
The purpose of the Study is to develop a travel demand management solution(s) that addresses
congestion and improves trip reliability on |-495 and |I-270 within the Study limits and enhances existing

and planned multimodal mobility and connectivity. The Study will address the following needs:

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« Accommodate Existing Traffic and Long-Term Traffic Growth - High travel demand from
commuter, business, and recreational trips results in severe congestion from 7 to 10 hours per
day on the Study corridors, which is expected to deteriorate further by the planning horizon year
of 2040. Additional roadway capacity is needed to address existing and future travel demand and
congestion, reduce travel times, and allow travelers to use the facilities efficiently.

« Enhance Trip Reliability - Congestion on |-495 and |-270 results in unpredictable travel times.
Travelers and freight commodities place a high value on reaching their destinations in a timely
and safe manner, and in recent years, the Study corridors have become so unreliable that
uncertain travel times are experienced daily. More dependable travel times are needed to ensure
trip reliability.

e Provide Additional Roadway Travel Choices - Travelers on 1-495 and |-270 do not have enough
roadway options for efficient travel during extensive periods of congestion. Additional roadway
management options are needed to improve travel choices, while retaining the general-purpose
lanes.

« Accommodate Homeland Security - The National Capital Region is considered the main hub of
government, military, and community installations related to homeland security. These agencies
and installations rely on quick, unobstructed roadway access during a homeland security threat.
Additional capacity would assist in accommodating a population evacuation and improving
emergency response access should an event related to homeland security occur.

¢ Improve Movement of Goods and Services - |-495 and |-270 are major regional transportation
networks that support the movement of passenger and freight travel within the National Capital
Region. Existing congestion along both corridors increases the cost of doing business due to
longer travel times and unreliable trips. The effects of this congestion on the movement of goods
and services is a detriment to the health of the local, regional, and national economy. Efficient
and reliable highway movement is necessary to accommodate passenger and freight travel,
moving goods and services through the region.

Additional roadway capacity and improvements to enhance reliability must be financially viable. MDOT’s
traditional funding sources would be unable to effectively finance, construct, operate, and maintain
improvements of this magnitude. Revenue sources that provide adequate funding, such as pricing
options, are needed to achieve congestion relief and address existing high travel demand.

Given the highly constrained area surrounding the interstates in the Study corridors, MDOT SHA
recognizes the need to plan and design this project in an environmentally responsible manner. MDOT
SHA will strive to avoid and minimize community, natural, cultural, and other environmental impacts, and
mitigate for any unavoidable impacts at an equal or greater value. MDOT SHA will work with our Federal,
State, and Local resource agency partners in a streamlined, collaborative, and cooperative way to meet
all regulatory requirements to ensure the protection of environmental resources to the greatest extent
practicable. Any build alternatives will offset unavoidable impacts while prioritizing and coordinating
comprehensive mitigation measures in or near the study area, which are meaningful to the environment
and the community.

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1.4 Alternatives Evaluated

Seven alternatives are being evaluated and compared in the technical reports supporting the EIS. These
Screened Alternatives include Alternatives 1, 5, 8, 9, 10, 13B, and 13C and are illustrated in the typical
sections shown in Figure 1-2. This report also references the “Build Screened Alternatives,” which is a
subset that includes all the Screened Alternatives except Alternative 1 (No Build).

The following terms are used in describing the Screened Alternatives.

« General Purpose (GP) Lanes are lanes on a freeway or expressway that are open to all motor
vehicles.+

« Managed Lanes are highway facilities, or a set of lanes, where operational strategies are
proactively implemented and managed in response to changing conditions.’

e High-Occupancy Toll (HOT) Lanes are High-Occupancy Vehicle (HOV) facilities that allow lower-
occupancy vehicles, such as solo drivers, to use the facilities in return for toll payments, which
could vary by time of day and level of congestion.*

e Express Toll Lanes (ETL) are dedicated managed lanes within highway rights-of-way that motorists
may use by paying a variably priced toll.?

e High-Occupancy Vehicle (HOV) Lanes are any preferential lane designated for exclusive use by
vehicles with two or more occupants for all or part of a day, including a designated lane on a
freeway, other highway or a street, or independent roadway on a separate right-of-way.’

« Reversible Lanes are facilities in which the direction of traffic flow can be changed at different
times of the day to match peak direction of travel, typically inbound in the morning and outbound
in the afternoon.’

A. Alternative 1: No Build

The No Build Alternative, often called the base case, includes all projects in the 2040 financially
Constrained Long-Range Plan (CLRP) for the National Capital Region adopted by the Metropolitan
Washington Council of Governments (MWCOG) - Transportation Planning Board (TPB). This includes
other projects impacting the facilities that are subject to this Study. Specifically, the CLRP reflects the
Purple Line which is currently under construction (Spring 2019), and the extension of the I-495 Express
Lanes in Virginia from north of the Dulles Toll Road interchange to the American Legion Bridge (Virginia’s
495 Express Lanes Northern Extension [NEXT] Project). Alternative 1 also includes the |I-270 Innovative
Congestion Management (ICM) Contracts, which are providing a series of construction projects to improve
mobility and safety at key points along |-270 targeted to reduce congestion at key bottlenecks along the
corridor. All improvements are being implemented within the existing roadway right-of-way and are

1 National Cooperative Highway Research Program, Research Report 835, Guidelines for Implementing Managed Lanes.
Transportation Research Board. 2016

? https://ops.fhwa.dot.gov/publications/managelanes_primer/index.htm

3 https://www.fhwa.dot.gov/ipd/tolling and_pricing/defined/demand_mgmt_tool.aspx

* https://ops.fhwa.dot.gov/freewaymgmt/hovguidance/glossary.htm

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anticipated to be completed by the end of 2021. While these improvements will improve mobility and
safety, they will not address the long-term roadway capacity needs for the I-270 corridor. Routine
maintenance and safety improvements along |-495 and I-270 are included in the No Build Alternative, but
it does not include new capacity improvements to 1-495 and |-270. Consistent with NEPA requirements,
Alternative 1 will be carried forward for further evaluation to serve as a base case for comparing the other
alternatives.

B. Alternative 5: 1-Lane, High-Occupancy Toll Managed Lanes Network

This alternative consists of adding one HOT managed lane in each direction on |-495 and converting the
one existing HOV lane in each direction to a HOT managed lane on I-270. Buses would be permitted to
use the managed lanes.

c. Alternative 8: 2-Lane, Express Toll Lane Managed Lanes Network on |-495 and 1-Lane Express Toll
Lane and 1-Lane HOV Managed Lane Network on |-270

This alternative consists of adding two ETL managed lanes in each direction on I-495, retaining one existing
HOV lane in each direction on |-270, and adding one ETL managed lane in each direction on I-270. Buses
would be permitted to use the managed lanes.

D. Alternative 9: 2-Lane, High-Occupancy Toll Managed Lanes Network

This alternative consists of adding two HOT managed lanes in each direction on |-495, converting the one
existing HOV lane in each direction on |-270 to a HOT managed lane, and adding one HOT managed lane
in each direction on I-270, resulting in a two-lane, managed lane network on both highways. Buses would
be permitted to use the managed lanes.

E. Alternative 10: 2-Lane, Express Toll Lane Managed Lanes Network and 1-Lane HOV Managed Lane
Network on |-270 Only

This alternative consists of adding two ETL managed lanes in each direction on I-495, retaining one existing
HOV lane per direction on |-270, and adding two ETL managed lanes in each direction on I-270. Buses
would be permitted to use the managed lanes.

Fi Alternative 13B: 2-Lane, High-Occupancy Toll Managed Lanes Network on I-495 and HOT Managed
Reversible Lanes Network on |-270

This alternative consists of adding two HOT managed lanes in each direction on |-495 and converting the
existing HOV lanes in both directions to two HOT managed, reversible lanes on |-270. Buses would be
permitted to use the managed lanes.

G. Alternative 13C: 2-Lane, ETL Managed Lanes Network on I1-495 and ETL Managed, Reversible Lanes
Network and 1-Lane HOV Managed Lane Network on I-270

This alternative consists of adding two ETL managed lanes in each direction on |-495 and retaining the
existing HOV lanes in both directions and adding two ETL managed, reversible lanes on I-270. Alternative
13C would maintain the existing roadway network on |-270 with HOV lanes to allow for HOV travel while
adding two managed, reversible lanes. Buses would be permitted to use the managed lanes.

H. Consideration of Alternative 9M
The analysis for the Screened Alternatives summarized above was completed in Spring of 2019 and
reflects information available to MDOT SHA at that time. As the Study progressed through the NEPA

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process, the project team obtained comments as a result of cooperating agency coordination. As a result
of this continued effort, MDOT SHA and FHWA have evaluated an additional alternative for the Study
known as Alternative 9M. Alternative 9M is considered a blend of two Screened Alternatives, Alternative
5 (one-lane HOT) and Alternative 9 (two-lane HOT).

Alternative 9M has the same LOD as Alternative 9 along I-495 from south of the George Washington
Memorial Parkway in Virginia to the |-270 West Spur and from the I-95 interchange to west of MD 5 as
well as along I-270 from I-495 to I-370. Alternative 9M has the same LOD as Alternative 5 along |-495 from
1-270 West Spur to the I-95 interchange. Alternative 9M includes the same build elements as the other
Screened Alternatives including direct access locations and interchange improvements.

Details of the travel forecasting methodology and traffic operational analysis results for Alternative 9M
are presented in the document titled “Alternative 9 Modified Preliminary Evaluation Memorandum”
included with the DEIS in Appendix B of the Alternatives Technical Report. Alternative 9M was evaluated
to the same level of detail as the Screened Alternatives, which are presented in this report.

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No Build (Existing):

All projects in Constrained Long-Range Plan (CLRP)
{including I-270 Innovative Congestion Management (ICM)
improvements)

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Figure 1-2: Typical Sections of Alternatives Considered

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SCREENED ALTERNATIVES

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Approximately 138" - 146"

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Approximately 228" - 256"

1-Lane, HOT Managed Lane Network:
Add one HOT managed lane in each direction on 1-495
and convert one existing HOY lane in each direction to a
HOT managed lane on 1-270

Approximately T70' - 17.4"

Approximately 194° - 198"

2-Lane, ETL Managed Lanes Network
on 1-495, 1-Lane ETL and 1-Lane HOV

& Managed Lane network on I-270 only
Add two ETL managed lanes in each direction on |-495
and add one ETL managed lane and retain one HOV lane
in each direction on 1-270

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Approximately 194° - 198°

Approximately 218" - 222°

Add two HOT managed lanes in each direction on |-495 and
convert one existing HOV lane toa HOT managed lane and
add one HOT ged lane in each direction on 1-270

9 2-Lane, HOT Managed Lane Network:

(4) = New HOT Managed Lanes * Note: Managed Lanes
Gs New ETL Managed Lanes

Could Include Buses |

Approximately 194! - 198°

NOT TO SCALE

Approximately 218° - 222"

MM WOT maryiano DEPARTMENT OF TRANSPORTATION
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SCREENED ALTERNATIVES

2-Lane, ETL Managed Lane Network and
1-Lane HOV Managed Lane Network on
1 O 1-270 only

Add two ETL managed lanes in each direction on 1-495 and
on 1-270 and retain one existing HOV lane in each direction
on !-270 only

Approximately 194’ - 198° ‘ ‘Approximately 242" - 2.46"

2-Lane, HOT Managed Lane Network
on 1-495; HOT Managed, Reversible
1 3 B Lane Network on I-270:

Add two HOT managed lanes in each direction on |-495

and convert existing HOV lanes to two HOT managed
reversible lanes on 1-270 while maintaining GP lanes

Approximately 194° - 198" : Approximately 202° - 206"

2-Lane, ETL Managed Lane Network
on I-495; ETL Managed, Reversible

Lane Network and 1-Lane HOV
Managed Lane Network on |-270
Add twa ETL managed lanes in each direction on |-495,

q ged lanes on |-270 and
add two reversible ETL managed lanes on -270

‘Approximately 194° - 798° ' Approximately 225° - 230°
Legend
[5 New HOT Managed Lanes * : Managed Lane Af ‘On,
GB New ETL verand Lanes Note: coat Include se NOT TO SCALE hm MARYLAND DEPARTMENT OF TRANSPORTATION
, STATE HIGHWAY ADMINISTRATION
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2 DEVELOPMENT AND CALIBRATION OF EXISTING TRAFFIC MODELS

The following sections detail the process of developing and then calibrating the models used in this Study.
The development and calibration of any model is necessary to ensure that future models accurately reflect
existing congestion patterns and vehicle behaviors. Model validation and calibration refers to the process
that confirms the model can provide a reasonable approximation of real-world conditions (validation) and
refines the model as necessary to bring it within desired validation targets (calibration). This process
ensures that the model accurately represents existing traffic conditions prior to data being reported for
analysis purposes.

Calibration thresholds can fluctuate depending on the nature of the project, precision of available inputs,
and the needs and resources of the agency. However, MDOT SHA has well-established methods for
calibration as documented in its VISSIM Modeling Document (MDOT SHA November 2016, Updated
August 2017). This document is provided online® for anyone to use in their model calibration efforts, thus
ensuring a level of consistency by all traffic modelers in the state. The guidance requires that calibration
be focused on data-driven criteria to confirm that models reflect existing vehicle behaviors and congestion
patterns experienced in the system being analyzed.

2.1 Model Area Limits

The first step in developing a model is defining its geographical limits and the roadways to be included in
the model. As the Study is considering improvements along |-495, |-270, and its interchanges, the model
development begins with determining the limits of these freeways to be included.

A. 1-495 Description

I-495 is a 64-mile circular freeway that runs through Maryland and Virginia and around the District of
Columbia and includes 42 miles in Maryland. l-495 provides access to several roadways in the Washington,
DC area, including:

e 1-95, which runs along the east coast of the United States from Maine to Florida,

@ 1-270, which connects the Washington, DC area to Frederick County and western Maryland,

e US 29 and MD 295 (Baltimore-Washington Parkway), which provide connections from the
Washington, DC Maryland suburbs to the Baltimore region,

e US 50, which provides access to Annapolis and the Eastern Shore

@ MDS5, which provides access to southern Maryland.

> https://www.roads.maryland.gov/OPPEN/VISSIM%20Modeling%20Guidance%XXX-XX-XXXX.pdf

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For a 25-mile section in Prince George’s County from the |-495/I-95 interchange to the Woodrow Wilson
Bridge, 1-495 runs concurrent with I-95. Barrier-separated Collector-Distributor (CD) lanes are present
along the Inner Loop from I-95 to US 1, and in both directions from north of MD 202 to Arena Drive and
from MD 210 to the Woodrow Wilson Bridge. The posted speed limit along !-495 is 55 mph.

B. |-270 Description

|-270 is a 32-mile freeway that runs from |-495 to the southeast of I-70 in the northwest, near Frederick,
Maryland. North of 1-70, this roadway becomes US 15, which continues north into Pennsylvania. |-270
primarily serves as a commuter route to the Washington, DC area from Frederick County and the
communities along the corridor. Two miles north of |-495, |-270 splits into an East Sour and a West Spur.
Both directions of I-270 include High Occupancy Vehicle (HOV) and CD lanes. The I-270 Southbound HOV
lane begins at I-370 and ends at MD 187 along the East Spur and at Democracy Boulevard along the West
Spur. The |-270 Northbound HOV lane begins at MD 187 along the East Spur and Democracy Boulevard
along the West Spur and ends at MD 117. The HOV lanes are in service weekdays from 6:00-9:00 AM in
the southbound direction and 3:30-6:30 PM in the northbound direction. General traffic may use these
lanes at other times. The HOV lanes are designated HOV 2+, meaning two or more people must occupy
the vehicle. Motorcycles and emergency vehicles (during an emergency) are also permitted in these lanes.
Additionally, plug-in electric and plug-in hybrid electric vehicles registered in Maryland are permitted to
drive in the HOV lanes with only one occupant. The CD lanes run along |I-270 Southbound from north of I-
370 to south of Montrose Road, and along I-270 Northbound from south of Montrose Road to north of
MD 124. The CD lanes are barrier separated, and the number of lanes vary along the corridor. The HOV
lanes are not barrier-separated. The posted speed limit along |-270 is 55 mph from |-495 (both spurs) to
MD 121, 65 mph from MD 121 to MD 85, and 55 mph from MD 85 to I-70.

Cc. Corridors Modeling Limits

While the NEPA limits of the Study extend along I-270 from |-370 to I-495 and along I-495 from the George
Washington Memorial Parkway in Virginia to the Woodrow Wilson Bridge in Maryland, as previously
shown in Figure 1-1, all modeling efforts for the Technical Analysis Traffic Report were extended to the
following limits:

e 1-495 from VA 193 in Virginia to the Woodrow Wilson Bridge on the Maryland side
e |-270 from the I-70 ramp merges to I-495, including the East and West Spurs

Extending the modeling to these limits ensures that the model accounts for effects of congestion
originating outside the NEPA limits that impact the freeway segments within the NEPA limits, and that it
captures the full extent of congestion both within the NEPA limits as well as outside of the NEPA limits
that impact the Study area. Every existing interchange along I-495 and I-270 within these modeling limits
was included in the modeling analysis. The interchange that is under construction at I-270 at Watkins Mill
Road was included in all future models. The modeled network includes a total of 50 interchanges: 29 along
1-495, 18 along I-270, 1 interchange between |-270 and the I-270 Spurs, and 2 interchanges between I-495
and the I-270 Spurs. The interchange locations are shown in Figure 2-1. Lane configurations for I|-495 and
1-270 are described in Tables 2-1 and 2-2, respectively. This list includes the locations of HOV lanes and
CD lanes. The locations of the HOV lanes, as well as CD lanes, are shown in Figure 2-2.

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Figure 2-1: Limits of Traffic Model Network and Interchange Locations Included along I-495 and I-270

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Table 2-1: 1-495 Interchanges and Lane Configurations Included in Model

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Segment # Lanes
From To Inner Loop Outer Loop
VA 193 George Washington Memorial Pkwy 4+1 aux 4+3CD
George Washington Memorial Pkwy Clara Barton Pkwy 4+1 aux 4+1 aux
Clara Barton Pkwy Cabin John Pkwy 4 4
Cabin John Pkwy MD 190 4 4
MD 190 |-270 West Spur 5 5
|-270 West Spur MD 187 3 3
MD 187 1-270 East Sour/MD 355 3 3
1-270 East Spur/MD 355 MD 185 4 4
MD 185 MD 97 4 4
MD 97 US 29 4 4
US 29 MD 193 4+1 aux 4
MD 193 MD 650 4 4to5
MD 650 1-95 4+ 1 aux 5 +1 aux
1-95 US 1 4+2CD 4+2 aux
US1 Greenbelt Metro 4 4
Greenbelt Metro MD 201 4 4
MD 201 Baltimore-Washington Pkwy 4 4+1 aux
Baltimore-Washington Pkwy MD 450 4 4
MD 450 US 50 4 4+1 aux
US 50 MD 202 4to3+2CD+1laux | 4to3+2CD+1 aux
MD 202 Arena Drive 3+2CD+1 aux 3+2CD+1 aux
Arena Drive MD 214 4+1 aux 4+1 aux
MD 214 Ritchie Marlboro Road 4 4
Ritchie Marlboro Road MD4 4 4
MD4 MD 337 4 4
MD 337 MD5 4 4
MD5 MD 414 4 4
MD 414 MD 210 4 4
MD 210 I-295 2+3CD 2+3CD
1-295 Woodrow Wilson Bridge 2+3CD 2+3CD
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Table 2-2: 1-270 Interchanges and Lane Configurations Included in Model

Segment # Lanes
From To Southbound | Northbound
North of Split
MD 85 MD 80 2 é
MD 80 MD 109 2 2
MD 109 MD 121 2 2
MD 121 Father Hurley Boulevard 3 2+1HOV*
Father Hurley Boulevard MD 118 3+ 1 aux 2+ 1HOV* +1 aux
MD 118 Middlebrook Road 3 3+1HOV*
Middlebrook Road Watkins Mill Road (Future) 4 3+1HOV*
Watkins Mill Road (Future) MD 124 4 3+1HOV*
MD 124 MD 117 4 3+1HOV*+2CD
MD 117 1-370 5to4+2CD 3+1HOV*+3CD
1-370 Shady Grove Road 3+1HOV*+3CD 3+1HOV*+3CD
Shady Grove Road MD 28 3+1HOV*+2CD 3+1HOV*+3CD
MD 28 MD 189 3+1HOV*+2CD 3+1HOV*+2CD
MD 189 Montrose Road 3+1HOV*+2CD 3+1HOV*+2CD
Montrose Road 1-270 Split 5+1HOV* 5+1HOV*
East Spur
1-270 Split MD 187 3 to2+1HOV* 3 to2+1HOV*
MD 187 1-495 2+1HOV* 2+1HOV*
West Spur
I-270 Split Westlake Terrace 2+1HOV* 2+1HOV*
Westlake Terrace Democracy Boulevard 2+1HOV* 2+1HOV*
Democracy Boulevard 1-495 3 3

*HOV lanes are in service from 6:00-9:00 AM Southbound and 3:30-6:30 PM Northbound on
weekdays; lanes are for general purpose during other times

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Figure 2-2: Locations of High Occupancy Vehicle (HOV) and Collector-Distributor (CD) Lanes

Frederick

General Purpose Lanes
Existing VA Express Lanes

wee Collector Distributor Lane
ee HOV Lane

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Average speeds in May 2017 along the |-495 and I-270 corridors during the peak morning and early
evening hours are shown in Figure 2-3. The modeling limits of the |-495 corridor were determined based
on congestion identified on the |-495 Outer Loop during the evening peak hour, which bottlenecks at the
VA 193 interchange and then impacts the capacities at the American Legion Bridge (ALB), as shown in
Figure 2-3. It was therefore required to include VA 193 to ensure any proposed managed lane solution
did not result in further bottlenecks outside the NEPA limits that might affect the benefits to the driving
public. A western terminus approximately 0.4 miles south of the |-495/George Washington Parkway
interchange was identified as a logical model terminus as it allows any outer loop mainline improvements
that are carried to the George Washington Memorial Parkway to be merged and transitioned into the
existing mainline lanes without causing congestion due to lane drops and merges. The tie-in of the

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proposed improvements with the existing |-495 configuration south of the George Washington Memorial
Parkway interchange would not preclude any future improvements completed by Virginia Department of
Transportation (VDOT) along 1-495, including extending the |-495 HOT lane system to the George
Washington Memorial Parkway interchange.

The modeling limits of the I|-270 corridor were extended to I-70 to evaluate the traffic congestion impacts
of any managed lanes occurring within the NEPA study limits (I-370 to 1-495) and how they impact
conditions farther north to Frederick. Extending the traffic analysis to I-70 also benefits future traffic
analyses for NEPA within the section of I-270 from I-370 to I-70 by ensuring consistency between studies,
as has already been proposed by the Managed Lanes Team for the 2019 year.

Figure 2-3: Average Speeds (mph) for Tuesdays, Wednesdays, and Thursdays in May 2017

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Source: Regional Integrated Transportation Information System (RITIS); RITIS did not have speed data
along !-495 Inner Loop from MD 214 to Ritchie Marlboro Road or along I-495 Outer Loop from MD 4 to
Ritchie Marlboro Road (indicated in gray)

2.2. Analysis Years and Background Projects

For the purposes of this report, the baseline conditions for the Study was set to be the existing year (2017)
conditions at the onset of the Study. This scenario is referred to as 2017 Existing within this report, and
reflects traffic conditions along I-495 and I-270 prior to the completion of many projects that are proposed
or under construction in the area.

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A. 1-270 Innovative Congestion Management (ICM) Improvements

The I-270 Innovative Congestion Management (ICM) initiative is a Progressive Design-Build project to
construct improvements along I-270 between I-70 and 1-495, including the East and West Spurs. This
project was announced in April 2017 as a series of targeted improvements with the goal of reducing
congestion at key locations, with a scheduled completion in 2021. The project includes fourteen roadway
improvements that increase capacity and vehicle throughput and address safety concerns and
bottlenecks. The project also includes innovative technologies and techniques, including adaptive ramp
metering and active traffic management strategies, including dynamic message signs and dynamic speed
limits. Traffic data with the |-270 ICM improvements could not be incorporated into the 2017 existing year
because the project improvements were not fully implemented, so no reliable data is available to collect.
Figure 2-4 displays the proposed improvements of the I-270 ICM initiative.

Figure 2-4: I-270 Innovative Congestion Management (ICM) Improvements

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= Anticipated Limits of Active Traffic
Management (ATM)

ATM Includes dynamic speed limit,
queue warning and CCTV

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B. 1-270 at Watkins Mill Road Interchange

A new interchange is currently under construction along I-270 at Watkins Mill Road, located north of the
interchange at MD 124, with an anticipated completion date of July 2020. The plans for this interchange
are shown in Figure 2-5.

Figure 2-5: I-270 at Watkins Mill Road Interchange Project

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Cc. Greenbelt Metro Station Access Improvements
There is an MDOT SHA-proposed access improvements project at the Greenbelt Metro Station along |-
495. These improvements are shown in Figure 2-6.

Figure 2-6: Greenbelt Metro Station Access Improvements

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D. VDOT I-495 Express Lanes Northern Extension (NEXT) Study

The Virginia Department of Transportation (VDOT) is performing its I-495 Express Lanes Northern
Extension (NEXT) study, on a proposed extension of the |-495 Express Lanes from the |-495 at Dulles Toll
Road interchange to the American Legion Bridge. The study began in April 2018. Construction is scheduled
to begin in 2021 and be completed in 2023. The study area for this project is shown in Figure 2-7.

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Figure 2-7: VDOT NEXT Study Area

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Source: VDOT

E; Analysis Years

Based on the previous discussion constraints at the time the planning effort was underway, the Study’s

baseline year was set to 2017 for the Existing Year without the I-270 ICM improvements, the |-270 at
Watkins Mill Road interchange, the Greenbelt Metro Access improvements, and VDOT NEXT. These
improvements are, however, implemented in all future year analyses, which includes the Alternative 1/No
Build conditions. A 2025 Interim Year that includes these improvements was also evaluated, followed by

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the traditional 20-year forecast, reflective of a 2040 Build Year. The 2025 Interim Year results were used
for the Air Quality Analysis. The Air Quality Analysis is provided in a separate technical memorandum
supporting the EIS.

2.3. Measures of Effectiveness

Measures of Effectiveness (MOEs) are the data outputs generated during simulation and analysis that
assist in reaching data-driven decisions. For the purposes of the Study, the following MOEs are being
reported for comparison between the Screened Alternatives, including Alternative 1/No Build:

e Travel speeds between sections, in miles per hour (mph)

e Vehicle throughput between sections, in vehicles per hour, and person throughput between
sections, in person per hour

e Vehicles Miles Traveled (VMT) between sections
e Percent demand met, in vehicle throughput per hour of total hourly vehicle demand

e Ability to achieve an average speed of 45 mph within the managed lane, while maximizing
throughput (all Build Screened Alternatives meet this speed threshold)

e Intersection Level of Service (LOS)
e Freeway Segment Level of Service (LOS)
« Latent Demand

Details of the outputs for 2017 Existing Year and 2040 Build Year are described in this report under their
respective sections.

2.4 ‘Traffic Analysis Tools

The traffic analysis tools used in this Study include macroscopic and microsimulation modeling software.
Examples of these tools are shown in Figure 2-8. These tools use industry-standard methods for evaluating
travel demand and traffic operations.

e CUBE, Version 6, by Citilabs, is a macroscopic modeling tool that is used to model regional travel
demands based on changes to the transportation network, land use, and population. CUBE was
used for this Study to run the travel demand model developed by MWCOG. The travel demand
model results are then used to develop traffic volume forecasts.

@ VISSIM, Version 10.00-09, by PTV Group, is a traffic microsimulation model with primary
applications being arterial and freeway operational analyses. VISSIM allows for flexibility to
develop and analyze a wide range of complex vehicle movements and roadway geometry,
including managed lanes and alternative interchange designs. VISSIM has the ability to shift
unmet demand from one time period to subsequent time periods, which is useful for congested
networks with latent demand. Results of VISSIM analyses are evaluated to assess the operations
of No Build conditions versus build conditions, in addition to supporting alternatives analysis.

« Synchro, Version 10, by Trafficware, is a deterministic tool primarily used for analyzing traffic flow,
traffic signal progression, and traffic signal timing optimization. Synchro is often used to analyze
signalized and unsignalized intersections, but not freeways, interchanges, or ramps. Synchro uses
Highway Capacity Manual (HCM) and Intersection Capacity Utilization (ICU) methodology to

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determine intersection capacity and LOS. For this Study, it was used as the basis of signal timing
inputs for the VISSIM models.

Figure 2-8: Cube, Synchro, and VISSIM Models

Traffic assignment: CUBE

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: VISSIM

2.5 Overview of Modeling Methodology

The modeling methodology used in this analysis is described below and shown in Figure 2-9. Future daily
and peak period demand volumes were developed using the Metropolitan Washington Council of
Governments (MWCOG) Regional Travel Demand Model, described in Section 4.3 of this report. These
volumes were then post-processed into hourly volumes using the methodology outlined in NCHRP 765:
Analytical Travel Forecasting Approaches for Project-Level Planning and Design.® The post-processed
hourly volumes were then entered VISSIM models, with use of Synchro software to analyze and develop
signal timings. Once the VISSIM models were run, VISSIM generated outputs, including Highway Capacity
Manual {(HCM) Level of Service (LOS) methodology, speeds, and other measures of effectiveness (MOEs).
This process was followed for Existing 2017 conditions, 2025 Interim conditions (for Air Analysis only) and
2040 Alternative 1/No Build conditions. Once the 2040 Alternative 1/No Build model was completed, the
other build alternatives could be developed. Each step of this process is explained in greater detail later
in this report.

® National Cooperation Highway Research Program (NCHRP) 765 (2014) is the result of research sponsored by the
American Association of State Highway and Transportation officials in cooperation with the Federal Highway
Administration. The research was administered by the Transportation Research Board of the National Academies.

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Figure 2-9: Modeling Methodology

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2.6 Data Collection

In support of the Study, a data collection effort and subsequent data review was completed during the
first few months of 2018. In addition to raw data collection, the project team conducted several field
observations of the corridor during peak periods on weekdays and used innovative probe speed and
origin-destination tools to better observe the corridor’s congestion patterns. A summary of the data
collection effort is discussed in the following sections.

2.7 ~—‘*‘Traffic Counts

Traffic count data was obtained from MDOT SHA’s Internet Traffic Monitoring System (I-TMS), which is
available to the public’. This data includes 59 counts from 2015, 97 counts from 2016, and 102 counts
from 2017. Intersection turning movement counts (TMC) and average daily traffic (ADT) counts were
collected at 101 locations along the I-495 and |-270 corridors in 2018 to supplement existing traffic data.
TMC data was collected using 24-hour video counts and ADT count data was collected over 48-hour
periods at mainline and ramp locations. All counts were conducted during typical weekday conditions
(Tuesdays, Wednesdays, and Thursdays while schools are in session).

The use of multiple years of data was necessary to meet schedule requirements due to the vast quantity
of data needed throughout the entire Study area (over 350 locations). Volume data along |-270 had
previously been normalized as part of the I-270 ICM initiative; therefore, most of the new count data was
used to supplement the information that had been collected previously.

7 http://maps.roads.maryland.gov/itms_public/

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Volumes were balanced through the study network, including the |-495 and I-270 along with the crossing
roadways, so that no volume sinks were present along the access-controlled facilities. Along 1-270,
volumes were developed separately for the local, express, and HOV lanes where multiple facility types

exist. For all roadways, ADT and peak period volumes were developed by direction.

Peak period hourly volumes were adjusted upward at some locations where drops in peak period traffic
counts were due to upstream congestion and bottlenecks. This produces a set of peak period traffic
volumes that reflect the actual traveler demand and not the resulting network throughput, which was
needed to ensure that VISSIM model volume inputs for existing (and future) conditions were adequate to
represent actual congestion.

Figures 2-10 through 2-15 show the balanced ADTs and peak period volumes along |-495 and I-270.
Balanced traffic volumes are included in Appendix A.

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Figure 2-10: I-495 Existing (2017) ADTs

Figure 2-11: I-270 Existing (2017) ADTs

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Figure 2-12: I-495 Existing (2017) Inner Loop Peak Period Hourly Volumes

Figure 2-13: |-495 Existing (2017) Outer Loop Peak Period Hourly Volumes

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Figure 2-14: I-270 Existing (2017) Southbound Peak Period Hourly Volumes

Note: West Spur and East Spur volumes are combined in this chart

Figure 2-15: I-270 Existing (2017) Northbound Peak Period Hourly Volumes

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2.8 Speed Data

Hourly speed data along the I-495 and I-270 corridors consists of probe data from the Regional Integrated
Transportation Information System (RITIS) platform developed by the University of Maryland’s Center for
Advanced Transportation Technology (CATT) lab. The RITIS platform provides probe data from INRIX,
HERE, TomTom, and NPMRDS for any state-owned facility in Maryland in support of the I-95 Corridor
Coalition. The segment-level data is available for any day of the year and any time of the day and provides
insight into corridor speeds and bottlenecks. The data for this Study was pulled for all months in 2015 (the
oldest count used in this Study) through all months in 2017. Figures 2-16 through 2-19 show the average
and 5/95" percentile speeds along the I-495 and I-270 corridors throughout the day to demonstrate the
variability of the corridor’s average speeds.

Figures 2-20 through 2-25 describe the speed breakdown along the corridors for each month of the year,
including the average for all months during the two worst hours of the day, found to be 8:00 to 9:00 AM
and 5:00 to 6:00 PM along I-495, and 7:30 to 8:30 AM and 5:15 to 6:15 PM along |-270. Also highlighted
is the month of May 2017, which as previously discussed was used for calibration purposes. The month of
May 2017 was chosen as a month that reflects conditions worse than the average speeds experienced
along the corridor during any given day. The average speeds from May 2017 along both the |-270 and I-
495 corridors fall at or below the annual average speeds for 2015, 2016, and 2017. Thus, this dataset, and
therefore the model used in analysis, reflects at least half of the year’s speeds along these corridors, as
shown in the following figures. The purpose of selecting this month is to use higher-than-average
congestion to ensure that solutions proposed along these corridors can mitigate over half of the
conditions experienced on this corridor. It is also important to note that annual average speeds across
2015, 2016, and 2017 do not vary significantly from each other, supporting the use of traffic counts from
these years. While the use of count and speed data collected during the same month, week, or even day
would be the most ideal situation for modeling purposes, the project schedule, budget, and the availability
of technical resources such as traffic counting equipment and technicians needed for a large Study area
would not make this option feasible at this time. Note that RITIS did not have speed data along the |-495
Inner Loop from MD 214 to Ritchie Marlboro Road or along the I-495 Outer Loop from MD 4 to Ritchie
Marlboro Road. These gaps are noted in the figures.

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Figure 2-16: Annual and May 2017 Average and 5th/95th Percentile Speeds for I-495 Inner Loop

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Inner Loop / Clockwise
Speed (mph)

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TRAFFIC ANALYSIS TECHNICAL REPORT

Figure 2-17: Annual and May 2017 Average and 5th/95th Percentile Speeds for I-495 Outer Loop

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Outer Loop / Counter-clockwise
Speed (mph)

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Figure 2-18: Annual and May 2017 Average and 5th/95th Percentile Speeds for I-270 Southbound

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l-270 Southbound
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Figure 2-19: Annual and May 2017 Average and 5th/95th Percentile Speeds for I-270 Northbound

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Figure 2-20: 8-9 AM Peak Hour Monthly Average Speeds along !-495 Corridor in 2017 — Inner Loop

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Figure 2-21: 8-9 AM Peak Hour Monthly Average Speeds along I-495 Corridor in 2017 — Outer Loop

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Figure 2-22: 5-6 PM Peak Hour Monthly Average Speeds along I-495 Corridor in 2017 — Inner Loop

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Figure 2-23: 5-6 PM Peak Hour Monthly Average Speeds along I-495 Corridor in 2017 — Outer Loop
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Figure 2-24: 7:30-8:30 AM Peak Hour Monthly Average Speeds along I-270 Corridor in 2017 — Southbound
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Figure 2-25: 5:30-6:30 PM Peak Hour Monthly Average Speeds along I-270 Corridor in 2017 — Northbound
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As demand from commuter, commercial, and
e MDOT SHA uses TTI and PTI to measure the
reliability of facilities
¢ Multiple segments along |-495 and I-270 rank
among the top congested segments in

recreational trips increase, operations along
these roadway systems degrade, negatively
impacting the movement of people and goods
throughout the region. MDOT SHA summarizes

Maryland

the congestion trends in its annual Maryland e The tail congested segments during the AM
State Highway Mobility Report. This report peak include I-495 Outer Loop from the
describes performance and mobility trends for Montgomery/Prince George’s County Line to
the most recent year, compares the results to MD 97 and I-495 Inner Loop from MD 210 to
past years, and identifies accomplishments. Key 1-295

elements of the Mobility Report include e The most congested segments during the PM
Transportation Systems Management and peak include 1-495 Inner Loop from Clara
Operations, freight, multi-modalism, and major Barton Parkway to |-270 West Spur and MD

355 to MD 185, |-495 Outer Loop from MD
190 to Cabin John Parkway, I-270 West Spur
Southbound from the 1-270 Split to
Democracy Boulevard, and |-270 Northbound
from MD 124 to north of the MD 124 CD Lane

capital projects. It includes a review of
congestion trends. The primary measures of
congestion on freeway/expressways are the
Travel Time Index (TTI) and the Planning Time
Index (PTI). Past trends indicate that the region’s
rapid growth, combined with its high traffic volume, commuting patterns, and limited capacity, has caused

congestion to increase considerably, thus increasing travel and planning times, as indicated in the
increased TTI and PTI in recent years. These trends are shown on the following pages.

The TTI, which is also used in the MDOT Excellerator® program as a performance measure metric,
compares the 50 percentile travel time of a trip on a segment of freeway/expressway for a particular
hour to the travel time of a trip during off-peak conditions when vehicles travel at free-flow or
uncongested conditions. The higher the TTI for a given hour of the day, the longer the travel time for that
hour compared to free-flow travel time. A TTI of 1.0 indicates free-flow conditions, a TT! of 2.0 indicates
a trip takes twice as long as free-flow conditions, and a TTI of greater than 2.0 indicates severe congestion.
The TTl for each highway segment is calculated to provide an understanding of the statewide
freeway/expressway system for average weekday peak hour conditions.

However, longer travel times only demonstrate part of the congestion issue along the Study corridors. A
user can plan accordingly if they know their expected travel time, but when travel times vary greatly, such
as within these Study corridors, trip reliability is uncertain. MDOT SHA measures trip reliability using the
PTI, which represents the total time travelers should allow to ensure they arrive at their destination on
time while considering potential delays due to non-recurring congestion. MDOT SHA uses the ratio of the
95" percentile travel time to the free-flow travel time to derive the PTI. For example, if a section of
roadway that takes 5 minutes to traverse in free-flow conditions has a PTI of 3.0, motorists should allow

® MDOT Excellerator is a performance management system comprised of ten tangible results. These results are
used by MDOT to drive its daily business decisions. It is updated quarterly.

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15 minutes to ensure arriving on time. The lower the PTI, the more reliable the trip. The higher the PTI,
the less reliable and longer a trip might take.

Additionally, users traveling along roadways that experience high levels of congestion are more likely to
be impacted by minor incidents. These incidents can produce severe back-ups and system-level unreliable
conditions for hours. Recent trends indicate that congestion continues to negatively impact the region.
The 2018 Mobility Report lists the top 15 most congested freeway/expressway segments statewide for
the AM and PM peaks, and their reliability values, for the years 2016 and 2017. The 2016 Mobility Report
lists the top 30 most congested freeway/expressway segments statewide for the AM and PM peaks, and
their reliability values, for the years 2014 and 2015. Those segments that ranked in the top 15 for 2017
and occurred within the Study corridors are provided below in Tables 2-3 and 2-4.

All roadway segments listed and ranked in these tables experienced severe congestion (TTI greater than
2.0) during the peak travel times for 2014 through 2017. All roadway segments listed, and ranked, also
experienced high to extreme unreliability (PTI greater than 2.5) during these three years. Segments listed
as “Not Ranked” did not experience a TTI or PTI severe enough to be in the rankings for that year. The
peak hours in these tables are 8-9 AM and 5-6 PM, as defined by the Mobility Report.

Table 2-3: Top Congested Segments in the Study Area and Reliability Values (AM Peak Hour)

2017 | 2016 | 2015 | 2014 | 2017 | 2016 | 2015 | 2014
Road Location Direction | Rank | Rank | Rank | Rank | Rank | Rank | Rank | Rank
(TTI) | (TTI | (TTI) | (TTI) | (PTI) | (PTI) | (PTI) | (PTI)

1-495 MD 650 to Outer q 1 1 2 2 2 6 6
MD 193 Loop (5.1) | (4.8) | (4.4) | (3.9) | (8.3) | (8.0) | (8.5) | (7.5)

Outer 2 2 2 af 1 i) i 1
bags AE MD Gs0 Loop | (4.6) | (4.5) | (4.4) | (4.0) | (8.9) | (8.7) | (9.2) | (9.0)

1-495 MD 193 to Outer 3 3 4 4 11 12 15 15
US 29 Loop | (4.1) | (3.9) | (3.6) | (3.2) | (6.2) | (6.2) | (6.3) | (5.8)

1-495 1-95 to Prince George’s Outer 5 6 15 15 3 3 4 3
County Line Loop (3.6) | (3.5) | (2.4) | (2.5) | (8.2) | (8.0) | (9.0) | (8.6)

1-405 US 29 to Outer 9 9 8 7 38 33 48 47
MD 97 Loop (2.9) | (3.0) | (2.8) | (2.5) | (4.0) | (4.2) | (4.4) | (4.0)

Inner 10 14 27 19 8 14 28 28
F499) MD 210to 1-295 Loop | (2.9) | (2.7) | (2.2) | (2.1) | (6.3) | (5.5) | (5.2) | (4.6)

Source: Maryland State Highway Mobility Report, 2016 and 2018
MDOT SHA defines the various levels of congestion in four categories based on TTI. These are:
e Uncongested (TTI < 1.15)
@ Moderate Congestion (1.15 < TT! < 1.3)
e Heavy Congestion (1.3 < TTI < 2.0)
* Severe Congestion (TTI > 2.0)
For reporting purposes, MDOT SHA categorizes PT! for freeways/expressways as:
@ Reliable (PTI < 1.5)
« Moderately Unreliable (1.5 < PTI < 2.5)
e Highly to Extremely Unreliable (PTI > 2.5)

Top-ranked statewide segment in red

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Table 2-4: Top Congested Segments in the Study Area and Reliability Values (PM Peak Hour)

2017 | 2016 | 2015 2014 2017 | 2016 2015 2014
Road Location Direction | Rank | Rank | Rank Rank Rank | Rank | Rank Rank
(tT) | (TT) | (TT) | ott S| o(PTH) | (PTI) | so (PTI) S| (PTH
. Inner 1 3 4 3 5 7 9
495 | AtCabinJohn Pkwy | | oon [ne ee et 7s) (6.9) | 74) 74)
1-495 Clara Barton Pkwy to Inner 6 9 8 7 14 16 17 20
Cabin John Pkwy Loop (3.8) | (3.5) | (3.2) (3.1) (6.0) | (5.8) (6.3) (5.6)
|-270 1-270 Split to South- 7 er 12 74 1 2 1
Spur Democracy Blvd bound | (3.5) | (4.7) | (3.0) (1.8) | (10.4) | (11.6) ) (15.0) | (11.7)
Inner 9 14 25 38 19 25 32 16
1495 | MD355toMD 185 | Loop | (3.4) | (3.0) | (2.5) | (2.2) | (5.7) | (5.2) | (5.2) | (6.0)
Inner 10 19 26 35 20 28 36 15
ase SEN? Loop _| (3.4) | (2.9) | (2.5) | (2.2) | (5.6) | (5.0) | (5.1) | (6.0)
Inner 11 24 Not Not 6 6 Not Not
age AEMD S25 Loop (3.3) | (2.7) | Ranked | Ranked | (7.2) | (7.1) | Ranked | Ranked
1-495 MD 190 to Inner 12 13 9 8 43 38 38 26
|-270 West Spur Loop | (3.3) | (3.2) | (3.4) | (3.1) | (4.4) | (4.4) | (5.1) | (5.3)
1-270 MD 124 to North of North- 13 12 17 21 30 24 39 36
MD 124 CD Lane bound | (3.3) | (3.3) | (2.8) | (2.4) | (5.0) | (5.1) | (5.0) | (5.0)
Outer 14 11 13 62 33 30 19 40
ee puSaent Loop _| (3.2) | (3.4) | (2.9) | (2.9) | (4.8) | (4.9) | (6.2) | (4.7)
1-495 MD 190 to Outer 15 8 Not Not 23 17 Not Not
Clara Barton Pkwy Loop (3.1) | (3.5) | ranked | ranked | (5.4) | (5.7) | ranked | ranked

Source: Maryland State Highway Mobility Report, 2016 and 2018
MDOT SHA defines the various levels of congestion in four categories based on TTI. These are:
e Uncongested (TTI < 1.15)
@ Moderate Congestion (1.15 < TTI < 1.3)
e Heavy Congestion (1.3 < TTI < 2.0)

e Severe Congestion (TTI > 2.0)

For reporting purposes, MDOT SHA categorizes PTI for freeways/expressways as:

Top-ranked statewide segment in red

e Reliable (PTI < 1.5)
@ Moderately Unreliable (1.5 < PTI < 2.5)

¢ Highly to Extremely Unreliable (PTI > 2.5)

The 2040 TTI projections show even greater impacts, with an increase in travel times of over 25 percent

at all locations along |-495 during the AM peak period, and even greater travel time increases of up to 80
percent during the 2040 PM peak period, as shown in Tables 2-5 and 2-6. 2040 TTls were projected for

the top congested segments along I-495, I-270, and I-270 Spur.

As travel times along the Study corridors increase, users will need to increase their planned travel time to

reach their intended destinations. Additionally, increased amounts of congestion will decrease vehicle

spacing along the roadways, thereby increasing the potential for congestion-related crashes, particularly

rear end and sideswipe collisions. When these occur, traffic incidents and non-recurring congestion will

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further degrade the performance and reliability of |-495 and I-270, causing additional delay for the
projected 300,000+ commuters each weekday by 2040. All these issues will also contribute to higher travel
costs.

Table 2-5: 2017 and 2040 No Build Study Corridors TTI (AM Peak Hour)

; ds 2017 | 2040 | Forecasted
Road Location Direction tm | tT | %Increase
1-495 MD 650 to MD 193 Outer Loop 5:1 6.2 21%
1-495 At MD 650 Outer Loop 4.6 5.3 16%
1-495 MD 193 to US 29 Outer Loop 4.1 47 15%
1-495 1-95 to Prince George’s County Line Outer Loop 3.6 5.9 63%
1-495 US 29 to MD 97 Outer Loop 2.9 3.4 16%
1-495 MD 210 to |-295 Inner Loop 2.9 4.0 37%
Table 2-6: 2017 and 2040 No Build Study Corridors TTI (PM Peak Hour)
“ oe 2017 | 2040 | Forecasted
Road Location Direction TT tm | % Increase
1-495 At Cabin John Pkwy Inner Loop 4.5 6.5 45%
1-495 Clara Barton Pkwy to Cabin John Pkwy Inner Loop 3.8 5.9 55%
|-270 Spur I-270 Split to Democracy Blvd Southbound | 3.5 3.5 0%
1-495 MD 355 to MD 185 Inner Loop 3.4 4.9 44%
1-495 At MD 185 Inner Loop 3.4 4.4 29%
1-495 At MD 355 Inner Loop 3.3 6.8 106%
1-495 MD 190 to I-270 West Spur Inner Loop 3.3 4.5 36%
1-270 MD 124 to North of MD 124 CD Lane Northbound 3.3 3.3 0%
1-495 At MD 190 Outer Loop 3.2 3.4 6%
1-495 MD 190 to Clara Barton Pkwy Outer Loop 3.1 3.2 5%

Source: MDOT SHA Mobility Report, 2018
MDOT SHA defines the various levels of congestion in four categories based on TTI. These are:
e Uncongested (TTI < 1.15)

@ Moderate Congestion (1.15 < TTI < 1.3)

* Heavy Congestion (1.3 < TTI < 2.0)

e Severe Congestion (TTI > 2.0)
Overall, the TTI and PTI data show that users in the corridor need an option for a reliable trip when the
general-purpose lanes experience recurring or non-recurring congestion. Users would benefit from having
an option with a more reliable travel time for their trips, one that would reliably operate at an acceptable

level of service even when the general-purpose lanes are congested. Such an option would provide users
with a way to reach their destinations with a predictable travel time.

2.10 Signal Timing

Signal controller timing data for all signalized ramp terminals along the I-495 and |-270 interchanges were
provided by the relevant agencies. Signals along state routes are owned by MDOT SHA for traffic signals
in Prince George’s County and Frederick County and by Montgomery County Department of
Transportation (MCDOT), for traffic signals in Montgomery County. Signal timings for County-owned

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signals were provided by the relevant county. The latest timings were requested to ensure the timings in
the model were reflective of the latest timing updates.

2.11 Regional Travel Demand Model Calibration: MWCOG

A. Definition of the MWCOG Model

The National Capital Region Transportation Planning Board (TPB) is the federally-designated metropolitan
planning organization (MPO) serving the metropolitan Washington, DC area. The TPB is located at the
Metropolitan Washington Council of Governments (MWCOG) and develops the regional travel demand
model for the Washington, DC region. The regional travel demand model for the Washington, DC region
is the MWCOG Travel Demand Forecasting Model. Version 2.3.70 (November 2017) of this model was
used as it was the most recently adopted model at the time the modeling for the MLS was initiated. This
model extends across 22 jurisdictions in the District of Columbia, Maryland, Virginia, and West Virginia,
including the study area for the |I-495 and I-270 Managed Lane Study. The model includes all major
roadways and public transportation services (including bus, Metrorail, and commuter rail), local land use
data, and population, household, and employment data. Land uses in the area are shown in Figure 2-26.

B. MWCOG Modeling Methodology

To provide consistency with regional planning efforts, the MWCOG Travel Demand Forecasting Model,
Version 2.3.70 was used as the basis for the development of daily and peak period traffic forecasts. The
MWCOG model is a mathematical representation of the supply and demand for travel in an urban area.
The travel supply is generally represented by a highway network and a transit network. The highway
network represents all major roads in the region, including managed lane facilities, and the transit
network represents all public transportation service in the region, including bus, Metrorail, and commuter
rail. In addition to transportation networks, the other major input to the travel model is the land activity
data for each transportation analysis zone (TAZ). The demand for travel is developed using a series of
mathematical models. Models exist for the following years: 2015, 2017, 2020, 2025, 2030, 2040, and 2045.
The forecasting methodology was consistent with FHWA’s Interim Guidance on the Application of Travel
and Land Use Forecasting in NEPA publication (USDOT FHWA, 2010).

The MWCOG Model utilizes a four-step trip-based model framework with feedback between traffic
assignment and distribution, as shown in Figure 2-27. Calibration of the MWCOG model for the Study
focused on screenlines and validation of land use. The MWCOG user guide is included as Appendix B and
the MWCOG validation memo is included as Appendix C.

Prior to utilizing the model for analysis, the existing network was reviewed for consistency with field
conditions, including links and number of lanes. The model was then validated to ensure reasonable
volumes across a set of cutlines (locations) and the corridors and study area were defined to capture the
movements in the region. The next several sections describe the models and calibration generated for the
|-495 and I-270 corridors using data-driven criteria.

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Existing Land Use

Figure 2-26: Regio

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£-495/1-270 Managed Lanes Study
July 2079

Land Use
Resideniial

DP) Commercial
Institutional

HE Industrial

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MO) Forest/Open Land/Recreation
> Transportation/Utilities/Other
| Water

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Study
=" Corridors

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No data

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Figure 2-27: Four-Step Regional Travel Forecasting Model

Four-Step

Regional Travel /
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Forecasting a

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Model .
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and transit travel times, on
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Mode Highway
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choice :
trips
Trip Traffic
assignment volumes

Congested traffic speeds

Source: Metropolitan Washington Council of Governments

Cc. Analysis Hours

Regional travel demand models analyze large portions of a day, including peak and off-peak hours. For
these purposes, the MWCOG regional travel demand model considers 6:00 AM to 9:00 AM and 3:00 PM
to 7:00 PM as the peak periods and the rest of the model time is considered “off-peak”. Except where
otherwise noted, analysis results are based on the peak periods. For this Study, where results for the peak
hours (i.e., the highest hour of each peak period) are shown, the peak hours were established as 7:00 AM
to 8:00 AM and 4:00 PM to 5:00 PM.

D. Background Developments, Capital Projects, and Network Refinements
Calibration is based upon existing conditions. The I-270 ICM improvements, the I-270 at Watkins Mill Road
interchange, the Greenbelt Metro Access Improvements, and VDOT NEXT were not included in the
baseline model since these improvements were not completed at the time the Study began. Those
developments and capital projects are included in the future-year scenarios.

Travel demand forecasts were prepared by the National Capital Region Transportation Planning Board
(TPB). Per standard TPB staff modeling practices, prior to executing models for future year alternatives,

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travel demand model output is validated to existing conditions in the study area. Therefore, TPB executed
an existing model validation run and prepared summaries that compare 2016 model estimates to the 2015
observed data they had available. At the time the Study commenced, the 2015 counts were readily
available in a format that could easily be used, and more recent counts were not. However, recent history
shows that individual facility counts tend to be stable from year to year.

Study inputs were based on Round 9.0 Cooperative Forecasts and the 2016 “Off-Cycle” Constrained Long
Range Plan (CLRP), which was adopted in October 2017. MWCOG then refined the official highway
networks to more accurately reflect the study area. These refinements include:

e Review and revisions of the number of lanes on |-495, |-270, and Baltimore-Washington Parkway
e Review and revisions of interchanges with access to/from the above freeways

e Additional refinements in the Fort Meade area, including the addition of the existing National
Security Agency (NSA) interchange

e Decrease in highway capacity on Baltimore-Washington Parkway, which is degraded from a
freeway to an expressway

The Version 2.3.70 travel demand model is the official TPB “production model” and the approved version
for analysis associated with this project. Although it was used as the starting point (or “base” model),
MWCOG subsequently modified the model to be able to better represent Build alternatives that include
dynamically-priced lanes that do not provide preferential treatment to high occupancy vehicles (which
are assumed in all Build alternatives in this Study). Essentially, to reflect this policy assumption, TPB
removed what is known as the “HOV Skim Replacement” procedure from the modeling process, so that
the revised model is no longer required to perform the “base-run” modeling step for each analysis year.
At the same time, the revised model still provides preferential treatment to the HOV carpools using
existing HOT lane facilities in Virginia, as HOV users of Virginia HOT lanes can access these dynamically
priced lanes free of charge. The resulting regional model used in preparation of the model estimates by
TPB for base-year validation and 2040 alternatives analysis is referred to as the Version 2.3.71 travel
demand model.

The Version 2.3.71 travel demand model is therefore not an official model used in air quality conformity
analysis, but is a model specifically developed for modeling of this Study’s alternatives. The new methods
and features introduced in Version 2.3.71 were incorporated into the following version of the official TPB
model with an updated user’s guide, which can be found in Appendix B.

E. Volume Validation

Model validation results, which compare 2016 model estimates to 2015 observed data, are included in
Figures 2-28 and 2-29. The official MWCOG model was used, which MWCOG validates based on the user
guide found in Appendix B. The MWCOG validation memo is included in Appendix C. Validation is based
upon the percent difference between estimated and observed volumes at the screenline level, and
between link-level model estimates and observed counts.

All the estimated screenline volumes are within +/- 20% of the observed counts, except for Screenline I-
270-2 at 33%. Some of the estimated volumes for the Capital beltway screenlines are close to the 20%

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margin (e.g., Screenline |-495-2), but these regional model findings are in line with the model validation
for the Capital Beltway PEL Study conducted in 2016 and 2017.

As shown, most link-level model estimates for |-270 and I-495 are within 25% of the observed counts, with
the following exceptions:

® |-270—0.20 mi S of Baker Valley Rd (30%)

e |-270-—50 ft S of Frederick County Line (45%)

¢ 1|-270—0.50 mi N of MD 121 (52%)

e |-270—S of MD 121 (34%)

e |-270 West Spur — 0.30 mi N of Westlake Terrace (27%)
e = |-270 West Spur — 0.40 mi S of Democracy Blvd (34%)

It is important to realize that the model results for this study were used to establish growths (or expected
changes) for future conditions, which could be applied to known existing volumes (observed counts). The
methodology considers both the percent and absolute differences between base year ADT volumes and
base year model forecasts for facilities along defined screenlines and applies those same corrections to
future year forecasted model volumes.

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Figure 2-28: l-495 Observed (2015) vs. Simulated (2016) Average Annual Weekday Daily Traffic Volumes

350,000
21%

Note: Links with no count are excluded from screenline totals

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Figure 2-29: l-270 Observed (2015) vs. Simulated (2016) AAWDT Volumes

350,000

300,000

250,000

200,000

150,000

100,000

m 2015 Observed Volume ©2016 Simulated Volume % Difference

Note: Links with no count are excluded from screenline totals

FE HOV Validation Metrics

HOV lanes are present along I-270 Southbound from I-370 to the I-270 between the East Spur and the
West Spur. The HOV lanes continue to MD 187 along the East Spur and to Democracy Boulevard along the
West Spur. HOV lanes are present along I-270 Northbound from MD 187 along the East Spur and from
Democracy Boulevard along the West Spur, continuing past the merge between the two spurs to MD 117.
Existing (2017) modeled volumes in the HOV lanes and general-purpose lanes are shown in Figures 2-30
through 2-33, along with the percentage of vehicles using the HOV lanes.

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Figure 2-30: Existing (2017) ADTs in HOV and General-Purpose Lanes — I-270 Southbound

140,000

120,000

100,000

80,000

60,000

40,000

20,000
0

Shady Grove Dr MD 28 MD 189 Montrose Rd 1-270 Spur MD 187

mGeneral Purpose Lanes HOV Lanes xx% Percent in HOV Lane

Figure 2-31: Existing (2017) ADTs in HOV and General-Purpose Lanes — I-270 Northbound
140,000

120,000
100,000
80,000
60,000
40,000
20,000

MD 117 1-370 Shady Grove Dr MD 28 MD 189 Montrose Rd 1-270 Spur

°

m General Purpose Lanes @HOV Lanes xx% Percent in HOV Lane

Note: HOV lanes are present at MD 117 and I-370 northbound but not southbound

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Figure 2-32: Existing (2017) 7-8 AM Peak Hour Volumes in HOV and General-Purpose Lanes — 1-270 Southbound

12,000
10,000
8,000
6,000
4,000
2,000
Shady Grove Dr MD 28 MD 189 Montrose Rd |-270 Spur MD 187
@ General Purpose Lanes HOV Lanes xx% Percent in HOV Lane

Figure 2-33: Existing (2017) 4-5 PM Peak Hour Volumes in HOV and General-Purpose Lanes — 1-270 Northbound

12,000
10,000
8,000
6,000
4,000
2,000
0
MD 117 |-370 Shady Grove Dr MD 28 MD 189 Montrose Rd |-270 Spur
m General Purpose Lanes HOV Lanes xx% Percent in HOV Lane

Note: HOV lanes are present along |-270 northbound at MD 117 and I-370 but not southbound

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G. MWCOG Screenline Volume Outputs

Average Annual Weekday Daily Traffic (AAWDT) volume outputs at selected screenline locations from the
2016 simulated model are shown in Figure 2-34. These screenline locations reflect various locations along
the study corridors. Nine locations were included along |-495, including at the Potomac River, east of MD
650, and south of US 50. Six locations were included along |-270, including south of I-70, south of |-370,
and north of the I-270 Spurs. Six locations were also included along the Baltimore-Washington Parkway,
which was not considered beyond the MWCOG analysis. Note that the selected AAWDT counts/observed
data represent the 2015 conditions, while model output represents the 2016 conditions. At the time the
Study commenced, the 2015 counts were readily available in a format that could easily be used, and more
recent counts were not. However, recent history shows that individual facility counts tend to be stable
from year to year. All the estimated screenline volumes (see Table 2-7) are within +/- 20% of the observed
counts, except for Screenline |-270-2 (at 33%). In addition, some of the estimated volumes for the |-495
screenlines are close to the 20% margin (e.g., Screenline |-495-2); however, these regional model findings
are in line with the model validation for the Capital Beltway PEL Study conducted in 2016 and 2017 (Dusan
Vukan and Yu Gao, Model Validation for Capital Beltway Planning Study, TPB Technical Memorandum,
August 23, 2016). The MWCOG validation memo is included in Appendix C. The simulated volumes
exclude links with no count. A separate memo, also included in Appendix C, includes all links on the
screenline. These volumes are included in Table 2-7 as well as in Figure 2-34.

Table 2-7: Observed versus Simulated AAWDT Volumes by Screenline

2015 2016 Simulated 2016 Simulated
2 Volume Percent Volume (Including
Screenline Location Observed eee ; :
velame (Excluding Links | Difference All Links on
with No Count)* Screenline)**

1-270-1 South of I-70 288,116 307,940 7% 308,868
|-270-2 North of Fingerboard Rd 138,134 184,326 33% 207,178
1-270-3 South of Germantown Rd 231,104 249,901 8% 249,901
|-270-4 South of Quince Orchard Rd 363,634 359,373 -1% 363,164
1-270-5 South of I-370 338,752 342,027 1% 363,635
1-270-6 North of Montrose Rd 436,266 473,757 9% 530,793
|-270-7 North of the Spurs 425,466 475,267 12% 535,025
1-495-1 Potomac River 916,448 935,888 2% 935,888
1-495-2 North of River Rd 302,322 357,450 18% 378,771
1-495-3 Between the Spurs 294,286 319,958 9% 348,761
1-495-4 West of Georgia Ave 421,760 473,152 12% 502,311
1-495-5 East of New Hampshire Ave 485,514 550,779 13% 620,271
|-495-6 East of Baltimore-Washington Pkwy 393,800 358,883 -9% 411,210
1-495-7 South of US 50 612,422 546,973 -11% 594,225
1-495-8 South of Central Ave 496,968 436,251 -12% 557,193
1-495-9 East of Branch Ave 362,926 298,519 -18% 326,/56

* From February 2018 validation memo

**From March 2018 validation memo

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| EEE 411,210

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CSTR 594.225

Note: includes all links on screenline, as detailed in the March 2018 memo in Appendix ic

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2.12 Microsimulation Model Calibration: VISSIM

A. Definition of the VISSIM Model/Microsimulation

VISSIM, a microsimulation modeling software, was used to develop the network-based operational
analysis for the 1-495 and 1-270 corridors. Version 10.00-09, the most recent version available at the
beginning of the modeling process, was used. VISSIM’s operational analysis capabilities include, but are
not limited to: car, truck, and pedestrian volumes, transit routes and stops, to-scale lane geometry, and
complex signal timings. The microsimulation model covers the entire Study corridor, with additional
intersections on cross roads to ensure traffic approach and departure patterns were replicated on both I-
495 and I-270. All items are input based on field-collected or field-verified data. These input data and their
data sources are described below.

B. VISSIM Model Calibration Methodology

Model calibration and validation refers to the process that confirms the model provides a reasonable
approximation of existing field conditions, and incorporates model refinements to bring it within an
accepted range of validation targets. It is important to calibrate your existing year models to reflect actual
conditions and then carry that calibration forward to future year conditions, as appropriate. For this Study,
the model was run five times per peak period. Calibration of the model followed the guidelines in MDOT
SHA’s VISSIM Modeling Guidance (August 2017) and focused on the following criteria. Detailed calibration
thresholds are described in the following sections.

e Vehicle throughput
e Speeds
e = =Travel times

e Visual confirmation of congestion patterns (queue buildup and dissipation)
During the VISSIM model calibration, attention was given to the following parameters:

e Modifying lane change distances to ensure smooth yet realistic traffic flow in both the peak and
off-peak directions

¢ Modifying driver behavior parameters and link behavior types; driver and link behavior types

Cc. Hours of Analysis and Inputs

Vehicle inputs and VISSIM static routes were developed based on the existing balanced traffic volumes
for the AM peak hours from 5 AM to 6 AM for seeding, and 6 AM to 10 AM for data collection. The evening
peak hours developed in VISSIM were based on volumes from 2 PM to 3 PM for seeding, and 3 PM to 7
PM for data collection. The “exact volume” input was set for the arrival distribution for all the vehicle
inputs, wherein the volume coded in is used in every simulation (as opposed to the “stochastic” input in
which volumes vary slightly with each simulation). A series of vehicle compositions were set up for peak
hour vehicle inputs throughout the network, based on the vehicle classification counts at various
locations.

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D. Background Developments or Capital Projects

No background developments were included as this calibration applies to existing 2017 conditions. The I-
270 ICM improvements were not included in the baseline because these mitigation strategies were not
completed at the time the Study was undertaken. Similarly, the |-270 at Watkins Mill Road interchange,
the Greenbelt Metro access improvements, and VDOT NEXT, which were not completed at the time of
this Study, were also not included.

E. Speed Data Fluctuation Threshold

Unreliability is important not only to better understand the need for new modes of transport along the
corridors, but also for determining the detailed simulation model thresholds for calibration. Based on the
unreliability of the I-270 and |-495 corridors, and on the guidance in MDOT SHA’s VISSIM Modeling
Guidance that mainline speeds should be modeled as a distribution of existing speeds along the corridor,
calibration thresholds were set according to the results of the RITIS platform probe data. The calibration
thresholds for the AM peak period, based on probe data from RITIS were:

@ +15 mph for I-495 Inner Loop in the AM peak hour
@ +14 mph for |-495 Outer Loop in the AM peak hour
* +17 mph for |-270 Southbound in the AM peak hour
e +6 mph for I-270 Northbound in the AM peak hour

The calibration thresholds for the PM peak period based on probe data from RITIS were:

@ +16 mph for I-495 Inner Loop in the PM peak hour
@ +19 mph for |-495 Outer Loop in the PM peak hour
@ +12 mph for |-270 Southbound in the PM peak hour
e +16 mph for I-270 Northbound in the PM peak hour

The volume calibration threshold was 10% for throughput volumes, in concurrence with MDOT SHA’s
VISSIM Modeling Guidance.

These targets were chosen based on the complexity and size of the network and the variability of travel
time runs along certain travel time segments. Priority was given to corridor travel speeds since it is an
important measure of effectiveness for evaluation.

Fi VISSIM Calibration Outputs and Summary

The outputs of the VISSIM calibration are provided in Appendix D and summarized below in Tables 2-8 to
2-10. Average speeds along 1-495 and 1-270, as collected in May 2017 and as simulated in the VISSIM
models can be found in Figures 2-35 through 2-40. Detailed speed and travel time data can be found in
Appendix E.

Calibration was based on speeds and as a result, travel times. These tables show the travel time along the
1-495 and I|-270 corridors, the length and percentage of each corridor meeting the calibration thresholds,
and the length and percentage of each segment over 0.5 miles long meeting the calibration thresholds

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during the 8-9 AM and 5-6 PM peak hours. Most evaluation periods show close correlation in terms of
speed and travel time with some exceptions:

e §=|-270 Southbound from 6 AM to 8 AM
e = |-270 Northbound from 3 PM to 7 PM

For the longer segment evaluation of the 8-9 AM and 5-6 PM peak hours, 80% to 83% of |-495 Inner Loop
segments met the calibration thresholds, and 75% to 79% of I-495 Outer Loop segments met the
calibration thresholds. Along I-270 Southbound, 73% of segments met the calibration thresholds during
the 8-9 AM peak hour and 89% of segments met the calibration thresholds during the PM peak hour.
Along I-270 Northbound, 94% of segments met the calibration thresholds during the 8-9 AM peak hour,
but only 36% of segments met the calibration thresholds during the PM peak hour. Except for I-270 during
the PM peak hour, most of the longer evaluated segments met the speed thresholds.

It should be noted that the speeds are reflective of May 2017 data, but the volumes were collected over
multiple days, months, and years. Due to the size of the study area, there was not a cost-effective method
to collect all volume data on the same day. Additionally, due to oversaturated conditions along both
corridors, the traffic conditions are very volatile and can change dramatically from day to day. The goal of
calibrating the existing model is to develop a model that is reasonably representative of a typical day along
the corridor, while also considering the volatility of the corridor and reliability of each data set. Graphs
showing the average speeds and 95% confidence intervals for |-270 and |-495 during each of the peak
hours are included in Appendix D.

The VISSIM study area network for the I-270 and I-495 Managed Lane Study is larger and more complex
than most traffic simulation models, due to the duration of daily congestion and variability of the day-to-
day traffic speeds and volumes along the corridors. When evaluating the combination of model speeds
and traffic volumes compared to the field-collected data, while also considering the variability along the
corridor, the model were considered to be reasonably calibrated, thereby providing the sensitivity

necessary to evaluate the future year conditions for alternative analysis.

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Table 2-8: VISSIM Outputs of Existing Calibration: Travel Times

Seemient Length | Time Field Travel | Simulated Travel | Difference | Difference

(miles) | Period Time (min) Time (min) (min) (%)

6-7 AM 43.4 46.0 -2.6 -6%

7-8 AM 65.8 54.6 11.2 17%

8-9 AM 66.2 53.1 13.0 20%

1-495 43.3 9-10 AM 53.2 50.3 3.0 6%
Inner Loop 3-4 PM 72.9 64.0 8.9 12%
4-5 PM 97.4 84.8 12.7 13%

5-6 PM 109.2 104.6 4.5 4%

6-7 PM 86.7 94.9 -8.2 -9%
6-7 AM 49.3 54.1 -4.9 -10%

7-8 AM 69.6 66.8 2.8 4%

8-9 AM 19.9 69.1 10.8 13%

|-495 43.6 9-10 AM 64.7 61.8 2.9 5%
Outer Loop 3-4 PM 63.7 62.6 1.1 2%
4-5 PM 77.3 71.4 5.9 8%

5-6 PM 81.5 83.6 -2.2 -3%
6-7 PM 65.8 84.8 -19.0 -29%

6-7 AM 48.3 S15 -3.2 -7%

7-8 AM 617 59.9 1.8 3%

8-9 AM 56.9 48.8 8.1 14%

1-270 313 9-10 AM 42.8 41.6 1.3 3%
Southbound 3-4 PM 29.4 30.9 -1.5 -5%
4-5 PM 31.4 31.3 0.0 0%

5-6 PM 32.9 31.7 1.2 4%

6-7 PM 30.1 31.3 -1.1 -4%

6-7 AM 28.5 29.5 -1.0 -4%

7-8 AM 28.5 29.7 -1.1 -4%

8-9 AM 28.7 29.8 -1.1 -4%

1-270 33.1 9-10 AM 29.3 29.8 -0.5 -2%
Northbound , 3-4 PM 44.5 41.0 3.5 8%
4-5 PM 53.9 44.4 O15 18%

5-6 PM 65.5 50.3 15.1 23%

6-7 PM 46.6 49.1 -2.4 -5%

Note: MDOT SHA’s VISSIM Modeling Guidance requires that travel times along the entire corridor be

calibrated to within 5%; however, due to the complexity of the network, some segments are outside this

range

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Table 2-9: VISSIM Outputs of Calibration: Segment Compliance Summary

Total Length of Total Length of Total Lengtn oF
7 Segments Meeting
Segment Length Time Segments Meeting Segments Meet ng Both Volume
(miles) | Period Volume Criteria Speed Criteria ee
and Speed Criteria
Miles % Miles % Miles %
6-7 AM 11.6 26.7% 41.4 95.7% 11.6 26.7%
7-8 AM Ty, 27.0% 37.0 85.5% 13.0 30.1%
8-9 AM 5.8 13.4% 36.8 85.1% 4.6 10.6%
1-495 433 9-10 AM 5.5 12.7% 37.4 86.5% 5.5 12.7%
Inner Loop 3-4 PM 16.3 37.7% 33.6 77.5% 12.5 28.8%
4-5 PM 5.8 13.5% 37.0 85.5% 5.8 13.5%
5-6 PM 11.4 26.4% 35.3 81.5% 10.3 23.8%
6-7 PM 12.0 27.7% 38.0 87.7% 11.4 26.4%
6-7 AM 14.0 32.2% 40.1 92.0% 11.4 26.2%
7-8 AM 13.9 31.8% 34.5 79.2% 13.6 31.1%
8-9 AM 10.9 25.1% 34.6 79.3% 8.0 18.5%
1-495 43.6 9-10 AM 7.8 17.8% 34.7 79.6% 40.8 93.5%
Outer Loop 3-4 PM 29.5 67.8% 31.5 72.2% 20.7 47.4%
4-5 PM 23.1 52.9% 29.8 68.4% 1523 35.1%
5-6 PM 18.4 42.3% 31.9 73.3% 10.9 25.1%
6-7 PM 16.4 37.7% Brull 85.2% 13.3 30.5%
6-7 AM 3.2 9.6% 29.1 75.3% 3.0 8.9%
7-8 AM is 3.9% 29.3 87.9% 1.3 3.9%
8-9 AM 3.5 10.5% 24.8 74.4% au 10.5%
1-270 333 9-10 AM 12.3 36.9% 28.5 85.5% 11.3 33.8%
Southbound 3-4 PM 18.1 54.2% 31.1 93.2% 18.1 54.2%
4-5 PM 17.3 52.0% 31.1 93.2% 17.3 52.0%
5-6 PM 23.2 69.4% 29.9 89.7% 23.2 69.4%
6-7 PM 8.1 24.2% 30.6 91.8% 8.1 24.2%
6-7 AM 6.0 18.3% 31.1 94.0% 6.0 18.3%
7-8 AM 20.2 61.1% 31.1 94.0% ore 58.1%
8-9 AM 20.8 62.9% 31.1 93.9% 19.9 60.0%
1-270 33.1 9-10 AM 8.3 24.9% 30.9 93.4% 73 22.0%
Northbound , 3-4 PM 1.0 3.0% 23.1 69.8% 0.0 0.0%
4-5 PM 0.7 2.1% 20.4 61.5% 0.7 2.1%
5-6 PM 1.0 3.1% 12.5 37.6% 0.1 0.2%
6-7 PM 2.0 6.0% 25.7 77.7% 0.0 0.0%

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Table 2-10: VISSIM Outputs of Calibration: Long Segments Compliance Summary

Total Length of
Total Length of Total Length of
Total Length ent tengene Segments (Length
Segments Segments :
of Segments 20.5 Miles)
: 2 (Length 20.5 {Length 20.5 5
Segment (Length 2 Time Period ; : ; : Meeting Both
‘ Miles) Meeting | Miles) Meeting
0.5 Miles) Volume Criteria Speed Criteria Volunie and
(Miles) P Speed Criteria
Miles % Miles % Miles %
8-9 AM 58 | 175% | 273 | s26% 1 46 13.8%
1-495 Inner L a4.
nner Loop 1 5-6 PM 83 | 25.2% | 265 | 80.0% | 7.2 | 21.8%
8-9 AM 95 | 27.3% | 274 | 785% | 7.1 | 20.3%
1-495 Outer L 34.9
wee ERCP 5-6 PM 14.7 | 42.0% | 26.2 | 75.1% | 84 | 24.0%
8-9 AM 33 | 11.0% | 219 | 732% | 33 11.0%
1-270 Southb 29.9
Se RPOUS 5-6 PM 20.2 | 67.6% | 26.7 | 894% | 202 | 67.6%
8-9 AM 18.9 | 60.8% | 29.0 | 93.6% | 17.9 | 57.7%
1-270 Northbound 31.0
270 NOREBOUN 5-6 PM 1.0 3.2% | 112 | 362% | 0.0 0.0%
$$$
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Figure 2-35: l-495 Inner Loop Existing (2017) AM Peak Period Average Speeds — RITIS and VISSIM

MAY 2017 EXISTING
LOCATION AVERAGE SPEEDS (MPH) VISSIM SPEEDS (MPH)
6AM 7AM 8AM SAM /| 6AM 7AM 8AM 3AM

VA193

GEORGE WASHINGTON
MEMORIAL PKWY

AMERICAN LEGION BRIDGE
CLARA BARTON PKWY
CABIN JOHN PKWY

MD 190
1+270 WEST SPUR
MD 187
1-270 EAST SPUR
MD 355
MD 185
MID 97
us29
MD 193
MD 650
1-95 ES
us1

MD 201

BALTIMORE
WASHINGTON PKWY

MD 450

us 50

MD 202 (SEGMENTS
W/OUT CD LANES}
MD 202 (SEGMENTS
WITH CD LANES)

ARENA DR

MD 214
RITCHIE MARLBORO RD

MD4
MD 337
MD 218

MDS5

mee S

feta
1-295 "

WOODROW WILSON BRIDGE

[RRB ozoN) 20-30 | 30-40 | 40-50 | >50 |

Note: White areas indicate missing data

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Figure 2-36: l-495 Outer Loop Existing (2017) AM Peak Period Average Speeds — RITIS and VISSIM

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MAY 2017 EXISTING
LOCATION AVERAGE SPEEDS (MPH) VISSIM SPEEDS (MPH)
6AM 7AM 8AM 9AM] 6AM 7AM 8AM 3AM
VA 193

GEORGE WASHINGTON
MEMORIAL PKWY

AMERICAN LEGION BRIDGE
CLARA BARTON PKWY
CABIN JOHN PKWY
MD 190
+270 WEST SPUR
MD 187
1-270 EAST SPUR
MD 355
MD 185
MD 97
US 29
MD 193
MD 650
1-95
uUs1

MD 201

BALTIMORE
WASHINGTON PKWY

MD 450

us 50

MD 202 (SEGMENTS
W/OUT CD LANES)
MD 202 (SEGMENTS
WITH CD LANES)

ARENA DR
MD 214
RITCHIE MARLBORO RD

mMo4

MD 337

MD 218
MO5

MOD 414

MD 210
1-295

WOODROW WILSON BRIDGE

GRBSRO 20-30 | 30-40 | 40-50 | 550 |

Note: White areas indicate missing data

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Figure 2-37: I-270 Existing (2017) AM Peak Period Average Speeds — RITIS and VISSIM

MAY 2017 EXISTING
te AVERAGE SPEEDS (MPH) VISSIM SPEEDS (MPH)
6AM 7AM 8AM 9AM|6AM 7AM 8AM _ 9AM |

MD 8S

27 oP mr

MD 121

MD 27

MD 118

MIDDLEBROOK RD

MD 124

Mo 117

1-2370

SHADY GROVE RD

MD 28

MD 189

MONTROSE RD

1-270 SPLIT

EAST SPUR AT MD 187

EAST SPUR AT 1-495

WEST SPUR AT
DEMOCRACY BLVD
WEST SPUR AT
495

MAY 2017 EXISTING
1-270 NORTHBOUND i
LOCATION AVERAGE SPEEDS (MPH) VISSIM SPEEDS (MPH)

6AM 74M SAM 9AM/6AM 74M BAM 9AM

EAST SPUR AT
MD 187
EAST SPUR AT
1-270 MERGE

MONTROSE RD.
Mp 189
MD 28
SHADY GROVE RD
1-370
mo 117
MD 124
MIDDLEBROOK AD
MD 113
MDa7
MD 121
MD 103
mop so

MO&s

WEST SPUR AT
DEMOCRACY BLVD
WEST SPUR AT
1-270 MERGE

‘| 30-40 | 40-50 | >50 |
Note: White areas indicate missing data

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Figure 2-38: 1-495 Inner Loop Existing (2017) PM Peak Period Average Speeds — RITIS and VISSIM

SS SS
MAY 2017 EXISTING
LOCATION AVERAGE SPEEDS (MPH) VISSIM SPEEDS (MPH)
3PM 4PM SPM 6PM /|3PM 4PM SPM 6PM

VA 193 ce
GEORGE WASHINGTON MEMORIAL PKWY
AMERICAN LEGION BRIDGE
CLARA BARTON PKWY
CABIN JOHN PKWY
MD 190
14270 WEST SPUR
MD 187
1-270 EAST SPUR
MD 355
MD 185
MD 97
US 29
MD 193

MD 650

1-95
US1

MD 201

BALTIMORE
WASHINGTON PKWY

MD 450

US50

MD 202 (SEGMENTS
W/OQUT CD LANES)
MD 202 (SEGMENTS
WITH CD LANES)

ARENA DR

MD 214
RITCHIE MARLBORO RD
MD4
MD 337
MD 218
MDS5
MD 414
MD 210

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WOODROW WILSON BRIDGE

EEG 20-30 | 20-40 | 40-50 | 50 |

Note: White areas indicate missing data

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Figure 2-39: l-495 Outer Loop Existing (2017) PM Peak Period Average Speeds — RITIS and VISSIM
VISSIM SPEEDS (MPH)
3PM 4PM 5PM _ 6PM

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LOCATION

‘MAY 2017
AVERAGE SPEEDS (MPH)

3PM 4PM 5PM _ 6PM

VA 193
GEORGE WASHINGTON MEMORIAL PKWY
AMERICAN LEGION BRIDGE
CLARA BARTON PKWY
CABIN JOHN PKWY
MD 190
+270 WEST SPUR
MD 187
I-270 EAST SPUR
MD 355
MD 185
MD 97
US 29

MD 193

USI

MD 201

BALTIMORE
WASHINGTON PKWY

MD 450

US 50

MD 202 (SEGMENTS
W/OUT CD LANES)
MD 202 (SEGMENTS
WITH CD LANES)

ARENA DR
MD 214
RITCHIE MARLBORO RD

MD 4

MD 337

MD 218
MD5

MD 414

MD 210
1-295

WOODROW WILSON BRIDGE

GRR 301] 30-10 [soso [>a]

Note: White areas indicate missing data

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1-270 SOUTHBOUND
LOCATION

MAY 2017
AVERAGE SPEEDS (MPH)
aPM 4PM 5PM 6PM

EXISTING.
VISSIM SPEEDS (MPH}
apm 4PM 5PM 6PM

MD 85
MD 80

MD 109
MD 121
MD 27
MD 118
MIDDLEBROOK RD
MD 124
MD 117
1-2370
SHADY GROVE RD
MD 28
MD 189

MONTROSE RD
1-270 SPLIT
EAST SPUR AT MD 187

EAST SPUR AT 1-495

‘WEST SPUR AT
DEMOCRACY BLVD
WEST SPUR AT
L495

1-270 NORTHBOUND
LOCATION

EAST SPUR AT
MOD 187
EAST SPUR AT
1-270 MERGE

MONTROSE RD
MD 189
MD 28
SHADY GROVE RD
1-370
MD 117
MD 124
MIDDLEBROOK RD
MD 118
MD 27
MD 121
MD 103
Mo 80

MD 85

MAY 2017
AVERAGE SPEEDS (MPH)
3PM 4PM 5PM 6PM

EXISTING
VISSIM SPEEDS (MPH)
3PM 4PM 5PM 6PM

WEST SPUR AT
DEMOCRACY BLVD
WEST SPUR AT
1-270 MERGE

‘| 30-40 | 40-50 | >50 |

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Figure 2-40: I-270 Existing (2017) PM Peak Period Average Speeds — RITIS and VISSIM

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3 SUMMARY OF EXISTING CONDITIONS
Building upon the previous discussion about the
gathered data and how it can help to calibrate models,
those models are then used for the development of
e The average travel time for vehicles in

the MOEs that have been previously discussed. kes VIRSIKA paadal ie 9:Sen}
Summarized below are the MOEs that were evaluated ie mo eb S2.3 Minutes.
e Of that, 13 minutes (40% of the

for ils SUGY. commute) is delay.

¢ This equates to 2.25 hours of delay per
week, and 117 hours of delay per year,
per commuter.

3.1. Annual Average Daily Traffic

Figure 3-1 provides a summary of existing (2017) and
future (2040) annual average daily traffic (AADT) along
the Study roadways. The development of future
volumes will be detailed in section 5 of this report.

3.2 Travel Times and Speeds

Figures 2-35 through 2-40, as previously discussed, show the average speeds along |-495 and I-270 as
collected in May 2017, and in the VISSIM models. Detailed speed and travel time data can be found in

Appendix E.

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Figure 3-1: Annual Average Daily Traffic (AADT) along Study Roadways

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Germantown
a Gaithersburg
Grad Ua Eee AO cel er’ be hey
2017 | 259,000
2040 | 299,000 Rockville
GD

J

Els evan Wi atsh cal ar 8)
2017 253,000
(2040, 282,000

TS

Arlington

2a 8 @

Pree belisville /

2017 235,000 /
2040 252,000 /
College (

Park

District 7
of

Columbia 4

este leva bee se CO |S aa

( eS
@ co 2017 | 191,000
@S 2040 210,000
4
ek Woidrew Wilson Andrews Air
wo Bridge Force Base
NE <==
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3.3. Vehicle Demand, Throughput, and Percent Demand Met

Throughput represents the number of vehicles and/or people that pass by a given point in the roadway
network in a set amount of time. Throughput quantifies the efficiency of the roadway network in getting
people, goods, and services to their destinations. Benefits of increased throughput on the highway include
reduced peak spreading (i.e., less congestion in the off-peak hours) and reduced burden on the

surrounding roadway network.

Existing travel demand and throughput at four key locations along the Study corridors are summarized in
the following tables and figures. These locations cover the four main segments of the study area,
separated by major freeway junctions (I-495 at I-95 and |-495 at I-270), and are therefore representative
of the study area as a whole. For a complete set of demand and throughput results for all segments, refer
to Appendix F and Appendix G. Person throughputs are based upon vehicle classification outputs,
including classifications for HOV 2 and HOV 3+, in the MWCOG model. Percent vehicle demand (Table 3-
4) met refers to the vehicle throughputs (Table 3-2) as a percentage of travel demand (Table 3-1).

Table 3-1: 1-495 and I-270 Existing (2017) Travel Demand

Location Travel Demand (vehicles per hour)
seen! teeny 6-7 AM | 7-8 AM | 8-9 AM | 9-10 AM | 3-4PM | 4-5PM | 5-6PM | 6-7 PM
1-270 Southbound
American Legion Bridge 8,100 | 9,500 9,200 8,600 8,600 8,500 8,700 7,500
1-495 West of I-95 7,000 | 8,500 7,900 7,000 8,800 9,100 8,500 7,500
I-495 atMD5 6,300 | 6,300 6,900 6,200 5,800 6,800 7,000 6,400
I-270 at Montrose Rd 9,300 | 10,800 | 10,000 9,100 6,700 7,300 7,500 6,900
1-495 Outer Loop/
1-270 Northbound 6-7 AM | 7-8 AM | 8-9 AM | 9-10 AM | 3-4PM | 4-5PM | 5-6PM | 6-7 PM
American Legion Bridge 7,800 | 9,100 9,000 8,200 8,300 8,600 8,400 7,900
1-495 West of I-95 8,400 | 7,400 6,400 6,600 7,400 7,900 8,200 6,900
1-495 atMD5 5,900 | 6,700 5,900 5,500 6,800 6,700 6,700 5,800
|-270 at Montrose Rd 4,200 | 6,100 8,300 7,500 10,500 | 11,400 | 11,400 | 10,700

Table 3-2: 1-495 and 1-270 Existing (2017) Vehicle Throughputs

Location Throughput (vehicles per hour)
ees 6-7 AM | 7-8AM | 8-9AM | 9-10 AM 3-4 PM | 4-5PM | 5-6PM | 6-7PM
1-270 Southbound
American Legion Bridge 8,000 | 8,300 | 8,200 8,000 8,300 | 8,000 | 7,300 8,800
1-495 West of 1-95 7,200 | 8,100 | 7,800 7,100 8,100 | 8,300 | 8,000 7,300
|-495 at MDS 6,500 | 6,000 | 6,500 6,500 6,000 | 6,900 | 7,300 7,100
|-270 at Montrose Rd 9,600 | 10,100 | 9,800 9,600 6,700 | 7,400 | 7,500 6,900
I-495 Outer Loop/
1-270 Northbound 6-7 AM | 7-8AM | 8-9AM | 9-10 AM 3-4 PM | 4-5PM | 5-6PM | 6-7PM
American Legion Bridge 8,100 | 8,800 | 9,200 8,600 8,100 | 8,300 | 7,700 7,700
1-495 West of I-95 8,200 | 6,500 | 6,400 6,700 6,900 | 7,300 | 7,900 7,300
|-495 at MDS 5,700 | 6,300 | 5,700 5,400 6,700 | 6,700 | 6,500 5,700
|-270 at Montrose Rd 5,000 | 6,200 | 8,400 8,000 10,500 | 11,400 | 11,400 | 10,700

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Table 3-3: 1-495 and 1-270 Existing (2017) Person Throughputs

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Location Throughput (persons per hour)
1995 Inner Loop/ | 6.7 aM | 7-8AM | 89AM | 9-10AM | 3-4PM | 4-5PM | 5-6PM | 6-7 PM
1-270 Southbound
American Legion Bridge 9,500 9,900 9,700 9,500 10,800 10,400 9,500 11,400
1-495 West of I-95 8,400 9,400 9,100 8,200 10,200 10,500 10,100 9,200
1-495 atMD5 7,700 7,100 7,700 7,700 7,800 8,900 9,500 9,200
I-270 at Montrose Rd 11,700 | 12,300 | 11,900 11,700 8,900 9,800 9,900 8,400
1495 Outer Loop/ | 6.7 aM | 7-8AM | 8-9AM | 9-10AM | 3-4PM | 4-5PM | 5-6PM | 6-7 PM
1-270 Northbound
American Legion Bridge 9,600 10,400 | 10,900 10,200 10,500 10,800 10,000 10,000
1-495 West of I-95 9,500 7,600 7,400 7,800 8,700 9,200 10,000 9,200
|-495 at MD 5 6,700 | 7,500 | 6,700 6,400 8,700 | 8,700 | 8,400 | 7,400
|-270 at Montrose Rd 6,100 | 7,600 | 10,200 | 9,800 | 12,800 | 13,900 | 13,900 | 13,100
Table 3-4: 1-495 and I-270 Existing (2017) Percent Vehicle Demand Met
Location Percent Vehicle Demand Met
Bao lanier Toop! 6-7 AM | 7-8AM | 8-9AM | 9-10AM | 3-4PM | 4-5PM | 5-6PM | 6-7PM
1-270 Southbound
American Legion Bridge 99% 93% 97% 95%
|-495 West of 1-95 96% 98% 93% 91% 94% 98%
|-495 at MDS 96% 94%
1-270 at Montrose Rd 93% 98%
1-495 Outer Loop/
1-270 Northbound 6-7 AM | 7-8 AM | 8-9AM | 9-10 AM 3-4PM | 4-5PM | 5-6PM | 6-7PM
American Legion Bridge 97% 98% 96% 92%
1-495 West of 1-95 97% 94% 92% 96%
|-495 at MDS 97% 94% 96% 98% 99% 99% 97%
1-270 at Montrose Rd 96% 98%
290%

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Figure 3-2: |-495 Existing (2017) 7-8 AM Inner Loop Demand vs. Throughput and Percent Demand Unserved

16,000 100%
14,000 nan |
12,000 ae

300 Ori pee Fae

4

Figure 3-3: I-495 Existing (2017) 7-8 AM Outer Loop Demand vs. Throughput and Percent Demand Unserved

100%

90%

80%
]

70%
50%
40%

Demand Unserved is the demand that is not met; it is shown as the percent difference between demand
and throughput.

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Figure 3-4: |-495 Existing (2017) 4-5 PM Inner Loop Demand vs. Throughput and Percent Demand Unserved

100%

Figure 3-5: 1-495 Existing (2017) 4-5 PM Outer Loop Demand vs. Throughput and Percent Demand Unserved

16,000 100% |
14,000 eae
| seo 80% |
70%

Demand Unserved is the demand that is not met; it is shown as the percent difference between demand
and throughput.

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Figure 3-6: I-270 Existing (2017) 7-8 AM Southbound Demand vs. Throughput and Percent Demand Unserved

| 16,000 100% |
| 8 c
_ 14,000 90% |

Figure 3-7: I-270 Existing (2017) 4-5 PM Northbound Demand vs. Throughput and Percent Demand Unserved

14,000 = 200%)
cane 90%
_ 12,000

Demand Unserved is the demand that is not met; it is shown as the percent difference between demand
and throughput.

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3.4 Freeway Segment and Arterial Intersection Level of Service (LOS)

For intersections, level of service (LOS) is defined in terms of the average total vehicle delay of all
movements traveling through an intersection. LOS quantifies several qualitative factors including driver
discomfort, frustration, and lost travel time. For segments, LOS criteria are predicted in terms of density
or in terms of travel speed as a percentage of free-flow speed. Density refers to the number of vehicles
occupying a given length of a roadway. Density is averaged over time and is expressed in passenger cars
per mile per lane (pc/mi/In). Higher density values are indicative of more friction in the system and more
congestion. For freeway and arterial segments, the Highway Capacity Manual (HCM) assigns LOS grades
based on density. Urban freeway segments reach failing (LOS F) conditions when the density exceeds 45

pc/mi/In.

For intersections, LOS criteria are depicted in terms of average delay per vehicle during a specific time
interval. Average vehicle delay is measured based on several variables including signal phasing, signal
timing, signal cycle length, and traffic volumes with respect to intersection capacity. Operational
conditions for arterial intersections were color-coded to reflect various congestion levels based on delay
thresholds established in the HCM, 6" Edition. Figure 3-8 summarizes the thresholds for freeway
segments and signalized intersections. Existing LOS along the Study corridors are summarized in the
Figures 3-9 and 3-10. Speed, density, and LOS for each segment are included in Appendix H.

Figure 3-8: HCM Freeway Segment Level of Service (LOS) Thresholds

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MOSH =H MO Layiag) el-Lol-Yoi mi cel

iif [an] -lalem Lar ii Ave] 182-1 tom An LAIN)

LOS C | Stable Flow
‘Segment: Density between 18-26 veh/hr/In

LOS D | Approaching Unstable Flow
Segment: Density between 26-35 veh/hr/In

MONS Slats le) (Mol)

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Figure 3-9: Existing AM Segment Level of Service (LOS)

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‘ Baltimore rf
County

~.. Frederick
County _

A fg
a Maryland
Montgomery / \ Ne SY Ns a
_ County aN AS fh S :

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JSS See en / 37) : Prince——
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eS Moe iy = George's
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County.

NM Or Level of Service (LOS)
Existing LOS A-C

MARYLAND DEPARTMENT
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AM Level of Service £-495/1-270 Managed Lanes Study -_ . 4

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Figure 3-10: Existing PM Segment Level of Service (LOS)
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4 Nc \ aos ' - Cc te [Nae
Frederick Mh pee ounty 7
_ County a gen
Sy ye
oe +.
| ve
oe \) 4
* so " oat
ee % |
/ L hs
;
Montgomery
~— County
‘
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\ ppt 22 ey + George's

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Level of Service (LOS)
Existi n g MARTLAND DEAR TMENT LOS ae
OF TRANSPORTATION. LOS D
“ === LOSE "
PM Level of Service -495/-270 Managed Lanes Study a = F +

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4 DEVELOPMENT OF FUTURE ALTERNATIVE MODELS

The following sections detail the development of the future alternative models. As these models are used
to compare the alternatives, accurate development of the models, including roadway geometry, volumes,
speeds, etc., is a critical step in the modeling process.

4.1 Key Assumptions

A. Forecast Development

Two sets of travel demand forecasts were carried out in 2018. The initial round of analyses and high-level
evaluations took place prior to July 2018 using the Maryland Statewide Transportation Model (MSTM V
1.092) networks. These evaluations provided high-level demand forecasts and screening of alternatives
based upon the facility average daily traffic in each of the potential managed lane corridors (I-270, I-495,
and the Baltimore-Washington Parkway). This first round of screening included the modeling of access
points at all interchanges with the goal of identifying the locations with the most impactful demand
sources and sinks (i.e., locations where vehicles enter and exit the network). This led to the determination
that access points could be provided at interchanges, and that slip ramps would not be needed except at
termination points. These termination points are:

e The northern end of I-270
e The southern end of I-495 east of the Woodrow Wilson Memorial Bridge
e Near the American Legion Bridge in Maryland and the Dulles Toll Road in Virginia

This round of screening was also used to evaluate the network with and without the HOV lane on I-270.

In late June 2018, the travel forecasting process was changed to the MWCOG Version 2.3.71 Travel
Demand Model. The MWCOG Travel Demand Model Region covers 6,800 square miles including 22
counties/jurisdictions in the District of Columbia, Maryland, and Virginia with 3,722 Traffic Analysis Zones.
The change was made to be consistent with the parallel travel forecasting carried out by MWCOG in
support of the Study’s incorporation into the Washington region’s Visualize 2045 — Financially Constrained
Long-Range Plan (CLRP), adopted by the MWCOG - Transportation Planning Board (TPB) in 2018, along
with additional screening, as well as air quality efforts and traffic and revenue efforts. The V.2.3.71 Travel
Demand Model was revised? from the V.2.3.70 Model to “better represent dynamically-priced lanes that

? Refer to the June 1, 2018 Transmittal Information for the COG/TPB Version 2.3.71 Travel Demand Model in Support
of Maryland’s Traffic Relief Plan (TRP) Study memorandum from Feng Xie et al. of MWCOG to Carole Delion et al. of
MDOT SHA, as well as the December 5, 2018 User’s Guide for the COG/TPB Travel Demand Forecasting Model,
Version 2.3.75 in Appendix C for additional information.

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do not provide preferential treatment to high occupancy vehicles (which are assumed in all of the build
alternatives for Maryland’s TRP Study)”. It also was modified to no longer use the “HOV Skim
Replacement” process that required two complete executions of the regional model (“Base” and “Final”)
to capture variable price tolling. Instead, it only requires a “Final” execution and runs in substantially less
time.

The baseline model networks and data provided are the same as the V.2.3.70 Travel Demand Model
adopted for the region’s Air Quality Conformity Analysis on October 18, 2017 and incorporate Round 9.0
Cooperative Forecasts for the MWCOG Region and the off-cycle amendment to the 2016 Constrained
Long Range Plan. All other assumptions including trip rates, tolls, transit fares, and others are consistent
with the adopted V.2.3.70 Travel Demand Model.

B. Land Use

Land use information used for the travel demand modeling was based on the local jurisdiction/MWCOG
long-range plan (i.e., this is not developed or modified by MDOT SHA, which is standard practice). The
Study area is highly congested and mostly built out today and will be even more so by 2040. Therefore,
the MWCOG model assumes the same land uses in the 2040 Alternative 1/No Build model and the Build
Screened Alternatives, with no further zoning changes that would result in induced travel.

The Study began using the 2040 MWCOG model. A preliminary analysis was performed utilizing the
updated 2045 MWCOG model to determine the impacts of this project on the 2045 model and compare
them to the impacts in previous year models. A memorandum summarizing this analysis is included in
Appendix C. In addition, a sensitivity analysis was performed to validate that any land use assumption
changes between the 2040 model and the 2045 model would not have a significant impact on the analysis
results and conclusions. Documentation of this analysis is included in Appendix J. Full runs with the 2045
model will be included in the FEIS.

ec: Latent Demand and Induced Demand

The Build forecasts account for latent demand and induced demand that would be expected as a result of
the additional capacity provided. Latent demand (or unserved demand) refers to users that are not
currently served by the system but would like to use the system. In this Study, latent demand refers to
people who want to use 1-495 or I-270 during the peak hours, but do not because of the congestion.
Instead, they travel via local roadways or at other times of the day. Induced demand refers to newly
generated trips that would not exist without capacity improvements to the transportation network. The
MWCOG model was used to model latent and induced demand. The MWCOG model considers route
changes, destination changes, and mode changes. As stated in the Land Use section above, the MWCOG
model assumes the same land uses in the 2040 Alternative 1/No Build model and the Build Screened
Alternatives. Because the Build Screened Alternatives would decrease travel times along |-495 and |-270,
people may be willing to drive a longer distance for their trips as that distance is now within an acceptable
travel time. Once a preferred alternative is selected, the potential for land use changes that could result
in greater induced demand can be investigated further. At that time, the approach to this type of analysis
will need to be discussed further with MWCOG, as it is currently not included in their adopted models.

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D. Background Projects

All future alternatives include all projects in Visualize 2045. Background projects along the Study corridors
include the !-270 ICM initiative, |-270 at Watkins Mill Road Interchange, the Greenbelt Metro Access
improvements along I-495, and VDOT Next, as described in Section 2.2 in this report.

E. Managed Lanes Criteria

This Study includes the evaluation of managed lanes, which are restricted based on certain criteria, such
as express toll lanes (ETL), HOV lanes, and high-occupancy toll (HOT) lanes. Descriptions of the types of
managed lanes are provided in Section 1.4 of this report.

It should be noted that toll rates are unknown at this point, but they will be dynamic to manage traffic
demand in the ETL/HOT lanes. For the purposes of this analysis, volumes in the managed lanes were
assigned to provide the maximum throughput while maintaining speeds of at least 45 mph in the managed
lanes (the federal requirement). This threshold occurs at 1,600 to 1,700 vehicles per hour per lane in the
highest demand segment, which equates to a maximum of 3,200 to 3,400 vehicles per hour in the two-
lane managed lane alternatives. Based on this assumption, the projected volume using the managed lanes
is approximately the same for ETL and HOT alternatives — the toll rate would be higher for single-occupant
vehicles in the HOT alternatives to offset the high-occupancy vehicles that could use the HOT lanes at a
reduced rate.

F. Managed Lanes Access

As part of the Build Screened Alternatives, access to and from the managed lanes is proposed via at-grade
auxiliary lanes or direct access ramps. The proposed locations of these direct access points are shown in
Figure 4-1. The direct access locations assumed in the traffic modeling for all Screened Alternatives are
listed below:

e Twelve (12) Interchanges along I-495

o George Washington Memorial Parkway
Cabin John Parkway / MD 190
1-270 West Spur
MD 187
1-270 East Spur
US 29
1-95
Cherrywood Lane
Baltimore-Washington Parkway
US 50
Ritchie Marlboro Road

o MDS
e Four (4) Interchanges along I-270

oo 0o0C0U0C060C~CMOUCUCOOUUCUCOONlCUCOlUC8

o Westlake Terrace (to and from the north only)
o Montrose Road
o Gude Drive (to and from the south only)
o 1-370
e One (1) Set of At-Grade Slip Ramps: North of Clara Barton Parkway

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Figure 4-1: Assumed Managed Lanes Access Locations

Proposed Managed Lanes Access Locations
© 1-270 ot 1-370 (access to Shady Grove Metro}
@ (-270.1 Gude Drive
@ 1-270 at Wootton Parkway (access te Twinbrook Metro}
@ 1-270 at Westloke Terrace (access to Montgomery Moll Transit Center)
©@ 1-270 east of MD 187
@® 1-495 at George Washington Parkway
©@ 1-495 north of Clara Barton Parkway
@D 1-495 of MD 190/Cabin John Porkway
@® 1-495 at 1-270 West Spur
©) 1-495 wast of MD 187
1-495 of MD 187 (access to Medical Center Metro)
@® 1-495 01 1-270 Eost Spur
GD 1-495 ot MD 185 (access to Medical Center Metro & Kensington MARC)
@ 1-495 ot US 29 (access to Silver Spring Meiro/MARC)
@ 1-495 a MD 650
@® 1-495 01 1-95
@ 1-95/1-495 ot US 1
@ 1-95/1-495 ot Cherrywood Lone (access to Greenbel! Metro/MARC)
@& | -95/1-495 ot Boltimore-Washington Parkway
@@ 1-95/1-495 south of Baltimore-Washington Parkway
@ 1-95/1-495 ot US 50 (diract access to New Carrollton Metro/MARC/AMTRAK)
@) 1-95/1-495 ot MD 202 (north leg only) {access to Lorgo Town Center Metra)
QD) 1-95/1-495 ot MD 214 (south leg only) {access to Largo Town Center Metra)
© _1-95/1-495 north of Ritchie Marlboro Rood
GD 1-95/1-495 ot Ritchie Marlboro Road
@ 1-95/1-495 ot MO 4
ELD 1-95/1-495 ot MD 5 (access to Branch Avenue Metro)

Legend
@ Direct Access Locations

@ Original Direct Access Locations Included In Traffic Analysis
(@ At-Grode Access Locations
WY Managed Lone Access to Transit Station

mt 1-495 & 1-270
ime Managed Lanes Study

Assumed Managed Lane Access Locations
for Traffic Analysis and Limit of Disturbance

Bethesda
a O sui
sd ts. Washington
@ ‘29) Arlington

The lettered circles represent the current access locations assumed for
@ 200 developing LOD and impacts. The locations marked with highlighted
circles indicate the original access points that were included in the
eae trattic analysis for the DEIS.
Rockville

Original direct access at
Montrose Rood moved
to Wootton Parkway

(190)

Potomac Silver Spring

(50) 4
* Upper
_ Marlboro

- /

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STATE HIGHWAY ADMINISTRATION

The proposed monoged lanes access points are based
on preliminary traffic ond revenue onolyses and may
change as more detailed analyses are completed.

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The proposed managed lane access points are based on preliminary traffic and revenue analyses and may
change as more detailed analyses are completed. These changes to the access point locations may impact
future traffic volumes and operations, requiring additional simulation and analysis. This analysis will be
completed once a preferred alternative is selected. It should be noted that the direct access locations
included in the traffic models for this report are the same for all Build Screened Alternatives, providing a
fair comparison among the alternatives. As noted in Figure 4-1, additional direct access locations were
assumed when developing the limit of disturbance and impacts for this Study.

G. Removal of Collector-Distributor Lanes

The existing Collector-Distributor lane system was removed from all |-270 Build Screened Alternatives to
minimize the footprint and associated impacts. The removal of the Collector-Distributor lanes eliminates
conflict points at the slip ramps and helps to balance volumes evenly across the general-purpose lanes,
which improves traffic flow. However, there is some tradeoff as this change causes additional merging
and weaving in the general-purpose lanes, which can negatively impact operations. Removal of the
Collector-Distributor lanes were evaluated as part of each Build Screened Alternative and was not
identified as a separate alternative meeting the Purpose and Need. The net result of removing the
Collector-Distributor lane system is included in the VISSIM results for all Build Screened Alternatives,
which are presented in Section 5 of this report.

H. Consideration of Automated Vehicles

The expected influx of connected and autonomous vehicles (CAVs) will impact future traffic operations on
all roads in Maryland, including |-495 and I-270. MDOT SHA participates in a statewide CAV working group
(http://www.mva.maryland.gov/safety/MarylandCAV/) to stay up to date on the latest research and
industry projections. At this time, there are too many unknowns regarding how CAVs could affect demand

and capacity to include CAVs directly in the traffic forecasts. Therefore, the traffic projections for this
Study apply traditional forecasting techniques, while being cognizant of the potential CAV impacts.
However, it is anticipated that this project will be adaptable to accommodate CAVs because the proposed
managed lanes will create a controlled environment with physical separation, new pavement, and clear
delineations, features that are conducive to CAV use.

4.2 Initial Screening of Alternatives

The alternatives development process typically involves developing conceptual alternatives that address
the Purpose and Need of the project. Public and agency coordination is then conducted to receive input
on the conceptual alternatives.

MWCOG Model V.2.3.71 was used to analyze the following scenarios. These alternatives were used in the
initial screening. Each alternative was either modified or removed while more alternatives were added
after the screening step was completed. The scenarios that were screened are as follows:

e 2016 validation
e 2040 Alternative 1/No Build
® Original 2040 Alternative 2 (similar to Screened Alternative 9)

e Original 2040 Alternative 3 (similar to Screened Alternative 5)

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® Original 2040 Alternative 4: Maintain the existing number of general-purpose lanes, plus two ETLS
per direction along 1-495, I-270, and Baltimore-Washington Parkway/I-695 (not considered for
further analysis beyond the MWCOG evaluation)

The vehicle miles traveled (VMT) by time of day between the MWCOG networks and the loaded networks
produced for this project for the 2016 validation and 2040 Alternative 3 scenarios were compared. The
networks matched exactly for the 2016 validation and 2040 Alternative 3 scenarios, establishing that the
model and processes were working properly.

The V.2.3.71 model was used for building Alternatives 5, 8, 9, 10, 13A and 13B for use in the post
processing of volume data. The Base Validation Year and 2040 Alternative 1/No Build models prepared by
MWCOG were also used for the post processing effort.

Additional information on alternative screening is discussed in Section 1.4 of this report.

4.3. Regional Travel Demand Model Alternatives Analysis: MWCOG

As discussed above, the second round of analyses using the MWCOG V.2.3.71 Travel Demand Model and
networks/data refined the alternatives and explored additional options. The most significant revision was
to no longer include the Baltimore-Washington Parkway, |-695, or |-270 north of I-370, based on the
established logical termini for this Study.

For the alternatives that have both managed lanes and HOV lanes, the HOV maintains the same access
to/from the general-purpose lanes as assumed in Alternative 1/No Build. The number of general-purpose
lanes were adjusted as needed based on repurposing of lanes for managed lanes and HOV lanes. No
changes were made to the network to include the removal of local lane barriers on |-270 as the MWCOG
model is not sensitive to those changes as currently constructed.

For planning purposes only, dynamically set toll rates ($/Mile), which were part of the initial MWCOG
Alternative 2, were retained in this Study. The dynamic toll rates used by MWCOG for travel demand
modeling were developed as “per mile” rates based on an iterative process for each alternative and
ranged from $0.20 to $1.36 per mile (in 2016 dollars). The iterative process was designed to estimate
appropriate toll values to control the volume of traffic using the managed lanes through a combination of
volume to capacity ratios and maintaining a minimum operating speed at or near free-flow conditions. As
documented by TPB (see Appendix C), the toll rates produced as part of this MWCOG modeling process
were developed by TPB staff. MDOT SHA did not perform this step for traffic forecasting and traffic
analysis purposes, because the estimated toll values for future-year networks were provided as part of
the model transmittal package. The toll rates set by MWCOG were determined by evaluating the resulting
congestion on the facility and iteratively adjusting toll rates as needed to maintain a reasonable LOS on
the facility. It should be noted that no further congestion refinements to rates were made in the MDOT
SHA modeling effort. The tolls were used solely for the purposes of the MWCOG analyses to maintain a
minimum average operating speed of 45 mph in the managed lanes and not exceed 1,600 to 1,700
vehicles per hour per lane in the highest demand section in the managed lanes.

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4.4 MWCOG Model Post Processing

A. Overall Assumptions and Inputs

The forecasted year 2040 average daily traffic (ADT) and peak period volumes prepared for the Study were
based upon the travel demand model volume outputs from the 2.3.70 and 2.3.71 versions of the MWCOG
regional travel demand model. The volumes assigned by the model via loaded network files were inputted
into the NCHRP 765 screenline spreadsheets. The outputs from the spreadsheets were then refined into
ADT volumes and into hourly volumes during the peak periods for the roadway and interchange links on
the project’s roadway network.

B. NCHRP 765 Screenline Spreadsheet Methodology

The screenline spreadsheets as described in the NCHRP 765 publication Analytical Travel Forecasting
Approaches for Project-Level Planning and Design were the primary tools used to develop post-processed
ADT volumes for the Study network. This methodology uses the percent and absolute differences between
existing year (2017) ADT volumes and existing year model forecasts for facilities along defined screenlines
and applies the same corrections to future year forecasted model volumes. This results in refined volumes
for these roadways, which account for under or overloading of the network elements that remain after
travel demand model calibration and validation. Screenlines were prepared for the project to cover
freeway links along I-270 and 1-495 as well as the roadways which cross those freeways. The screenline
process compares the model estimates to the observed volumes.

2040 Alternative 1/No Build volumes for the I-270 and |-495 corridors were developed using the
Alternative 1/No Build screenline results for links located at the screenlines to determine the growth in
volume to the year 2040. Traffic volumes for roadway links located between screenline locations were
determined by observing the growth in raw model volumes between the existing year and 2040 and
comparing that growth to the growth on adjacent screens. Initial link volumes, including those for
freeways, ramps, and local roadways were first determined using the following methodology. For the
Build Screened Alternatives (Alternatives 5, 8, 9, 10, 13B and 13C), ADT volumes for 2040 were developed
by comparing the screenline and raw model volume growth between the existing year and 2040 in the
Build Screened Alternative compared to the same growth for Alternative 1/No Build (i.e., Alternative 1/No
Build was used as a base for developing the Build volumes). The volumes for the Build Screened
Alternatives were then adjusted from Alternative 1/No Build based on that comparison. With this process,
the resulting volume set will have minor traffic sinks where volumes do not match along a facility, due to
rounding or minor differences in growth rates between adjacent links. Minor adjustments were then
made in turning or ramp volumes using an incremental/iterative process, so that there were no traffic
sinks and to ensure volumes added through interchanges and intersections were completely balanced as
would be expected on an access-controlled facility. Vehicle miles traveled were not estimated as part of
this forecasting.

Excel spreadsheets were used to manage this data and the process of applying growth rates that
originated from the NCHRP 765 spreadsheets to the link traffic volumes.

CG; Development of Forecasted General Purpose Lane, Managed Lane, and HOV ADT volumes
The process of ADT volume development resulted in the establishment of total volumes along the
roadways in each direction. However, additional work was needed to develop the volumes among the

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three principal facility types present in the 2040 Alternative scenarios, including general purpose lane,
managed lane, and HOV lane volumes. This was done by observing the changes in the splits among these
trip types in the raw model volume outputs. The following process was used:

e Alternative 1/No Build

oO

Along |-495, all lanes are for general purpose traffic in most locations, so this additional
step was not necessary.

Along |-270, the NCHRP process was used to determine the total growth. As the MWCOG
model does not differentiate between express and local lanes, it was then assumed that
the growth rates along the express, local and HOV lanes were approximately equal to the
overall ADT growth rate, with the local lanes also impacted by the growth of the adjacent
on- and off-ramps at interchanges. As the three streams interact with each other though
out the corridor (no barrier separation for HOV and frequent slip ramps between the
express and local lanes), it was decided that the overall demand growth would impact
each relatively equally. The slip ramps between the local and express lanes were generally
grown in accordance with the overall ADT growth and adjusted to balance traffic volumes
through the network.

e Build Screened Alternatives

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The portion of traffic assigned to the managed lanes was determined by averaging the
percent of total raw ADT traffic assigned in the travel demand model to the managed
lanes between toll access points. This is an added step beyond the NCHRP 765 process.
The raw model managed lane volumes were used to determine the percentage of
managed lane traffic getting off or on at each ramp location, and that percentage was
applied to the refined managed lane link volumes to get refined managed lane ramp
volumes.

The resulting percentage of traffic was assigned to the managed lanes, with the
remainder of total volumes assigned to the general purpose and HOV lanes.

" Though it is anticipated that the volumes in the managed lanes will be controlled
through congestion-based toll prices, no cap was used for the ADT volumes in
those lanes as was done for the peak hours.

=" In the Build Screened Alternatives, it is expected that the barriers between the
local and express lanes on I-270 will be removed, so growth of those individual
components was not done separately.

* For the Build Screened Alternatives that included HOV lanes along I-270, the
percent change in raw HOV volumes in the model from Alternative 1/No Build
conditions was used to determine the resulting change in the post-processed ADT
volumes.

ADT volumes along the managed lane ramps were determined by observing the
percentage of raw model volumes from the toll lanes entering/existing at these locations
and applying that percentage to the refined link managed lane volumes. The raw model
managed lane volumes were used to determine the percentage of managed lane traffic
entering or exiting along each ramp location; that percentage was applied to the refined
managed lane link volumes.

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o Toll volumes were then distributed by direction to the cross-street roadways based on

the percentage of general traffic turns present in Alternative 1/No Build, similar to the
process used to determine the managed lane volumes as described above.

D. Development of Peak Period Volumes

For all Screened Alternatives, hourly volumes were developed for the peak periods of 6 AM to 10 AM and

3 PM to 7 PM to assure coverage of the peak hours and conditions leading to those hours for input into

the VISSIM models. The following process was used to develop peak period volumes:

e § =©Alternative 1/No Build

o

The ADT growth percentages from the existing year (2017) to 2040 were applied to the
peak hours.
The differences between the growth in ADT traffic and peak hour traffic in the MWCOG
model outputs were reviewed. The differences ranged between 38 and 97% across the
study area:
® Along I-270, AM growth was 97 percent of the ADT growth rate, and PM growth
was 84 percent of the ADT growth rate.
® Along |-495 west of !|-270, AM and PM growth were both 83 percent of the ADT
growth rate.
=" Along |-495 east of |-270, AM and PM growth were both 38 percent of the ADT
growth rate.
" Values ranged between 38 percent and 97 percent of the ADT growth rate over
the study area, with an average of 71 percent.
A reduction in the peak period growth rate to 75 percent of the ADT growth rate, which
was based on engineering planning-level knowledge of the area and the use of similar
reductions for area roadway projects by MDOT SHA in recent years, was found to be in
line with the differences between the ADT and the peak hour volumes in the MWCOG
model. Additionally, a universal rate was used for the entire system as the various
sections within the system interact with one another.
This reduction was taken to account for the lack of available capacity on |-270, |-495, and
the surrounding roadway network to accommodate that much growth and the likely
spread of the peak period.

e Build Screened Alternatives

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The growth in raw travel demand model volume outputs for the peak periods was
compared to the raw growth in ADT volumes in those models.
Peak period “Mainline Multipliers” were then developed and applied to the ADT growth
rates to determine the overall growth of volumes on the subject roadway facilities by
direction.
=" For each Build Screened Alternative, multipliers were developed for I-270, I-495
west of I-270, and |-495 east of |-270 each of those major roadway sections has
similar growth rates within the sections but differ between the three sections.
" For example, in Alternative 10, the ADTs on |-270 were found to grow by an
average of 8 percent between Alternative 1/No Build and Alternative 10, while
the peak period volumes grew by an average of 16 percent. Therefore, the

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multiplier developed for Alternative 10 on |-270 was 16 percent divided by 8
percent, or 2.0, and peak period volumes were grown by twice the growth
percentage as the ADT growth between Alternative 1/No Build and Alternative
10.

" This methodology accounts for any peak shortening (i.e., drivers shifting their
trips from off-peak hours to the peak hours) that would likely occur with the
addition of more network capacity. This was done independent of the NCHRP
process as an additional set of processes developed by the project team in
response to the limitations of the regional model used.

o Peak period “Cross Street Multipliers” were developed for the streets that have
interchanges with I-270 and I-495.

=" These were assumed to be halfway between the Mainline Multiplier for the
adjoining freeways and 1.0, based on the assumption that growth stays the same
as the ADT growth for area roadways that do not have planned improvements.
This methodology was based on engineering judgement of the forecasters to
establish growth rates for the adjacent facilities, that were closely-tied into the
improvement options being evaluated on the interstate, which was the only
change occurring to the system compared to Alternative 1/No Build.

*" For the Alternative 10 example above with the Mainline Multiplier of 2.0 for |-
270, the Cross-Street Multiplier would be the average of 2.0 and 1.0, or 1.5. This
methodology considers that while |-270 and |I-495 will have added capacity in the
peak periods in the Build Screened Alternatives, the supplying roadway network
will not, and the peak period traffic will not be able to grow at quite as high a rate.

o Peak period “Managed Lane Multipliers” were developed to determine the percentage of
managed lane traffic during the peak periods compared to the daily total.

" This was done by comparing raw model volumes for the peak periods to the ADT
volumes for the same three sections (I-495 west of I-270, I|-495 east of I-270, and
1-270).

* For I-270 in Alternative 10, the model showed an average of 8 percent managed
lane traffic for the daily traffic volumes, while the peak periods ranged from 16
percent to 18 percent. Therefore, the percentage of peak period traffic in the
managed lanes was assumed to be approximately double the percentage used
for the ADT traffic, as it is likely that drivers will be more inclined to pay for the
convenience of the managed lanes when congestion is highest and the value of
time for commuting and day care is highest.

* Asaresult of this process, many locations in the Build Screened Alternatives had
75 percent or more of the daily managed lane volumes occurring over the eight
peak period hours. Volumes in the toll lanes were capped at approximately 1,600
to 1,700 vehicles per hour per lane to account for the impact of variable
congestion-based pricing to control congestion in the managed lanes.

As with the ADT volumes, the volumes for each of the peak periods were balanced through the network
by adjusting volumes on access points to assure that approaching links met desired growth rates. For the
Build Screened Alternatives that included HOV lanes on I-270, the percent change in raw HOV volumes in

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the model from Alternative 1/No Build conditions was used to determine the resulting change in the post
processed peak period volumes.

E. Model Validation Outputs

Screenline Average Annual Weekday Daily Traffic (AAWDT) volume outputs from the 2040 Alternative
1/No Build simulated model are shown in Figure 4-2. Model validation results comparing the 2040
Alternative 1/No Build volumes to the 2016 model volumes (described earlier in this report) are included
in Figures 4-3 and 4-4. The MWCOG validation memo is included in Appendix C. The Build Screened
Alternatives carry up to 15% more vehicles than Alternative 1/No Build.

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Figure 4-2: 2040 Alternative 1/No Build Simulated AAWDT Screenline Volumes for I-270 and 1-495

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Figure 4-3: Simulated Average Annual Weekday Daily Traffic Volumes on 1-495; 2016 vs. 2040 Alternative 1/No Build
400,000

350,000 9%

300,000 4%
10%

5% ay, 7% W_. , 14%
250,000 ae % |

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Figure 4-4: Simulated Average Annual Weekday Daily Traffic Volumes on I-270; 2016 vs. 2040 Alternative 1/No Build
400,000

350,000 45% 15% 14%
300,000 18% 21% 19%

21%
250,000

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5 SUMMARY OF FUTURE CONDITIONS

VISSIM models were developed for Alternative 1/No Build and the Build Screened Alternatives using the
Existing VISSIM model and applying the future volumes (Alternative 1/No Build and the Build models) and
proposed geometry (Build models). Future (2040) conditions for Alternative 1/No Build and the Build
Screened Alternatives are summarized in the following sections, beginning with a summary of Alternative
1/No Build conditions. The results of the modeling of the Build Screened Alternatives are summarized for
the following key metrics:

e System-Wide Delay

e Corridor Travel Time and Speed

e Density and Level of Service (LOS)
e Travel Time Index (TTI)

e Vehicle Throughput

e Effect on Local Roadway Network

The metric of achieving an average speed of 45 mph within the managed lanes is met for all Build Screened
Alternatives.

5.1 Average Daily Traffic and Peak Period Demand Volumes

Future (2040) Alternative 1/No Build ADT and peak period traffic demand along the study roadways are
summarized in Figures 5-1 through 5-6. AADTs at key locations were previously shown in Figure 3-1.
Appendix F shows future travel demand for all Screened Alternatives, and Appendix G shows future
throughputs for all Screened Alternatives. Balanced traffic volumes for all future-year conditions are
included in Appendix A.

With the Build Screened Alternatives, some volumes will shift to the managed lanes. Figures 5-7 to 5-42
show volumes in the managed lanes compared to the volumes in the general-purpose lanes for each of
the Build Screened Alternatives. As shown, the percent of the total volume in the managed lanes during
the peak periods ranges from 6% to 46% along I-495 and from 11% to 27% along |-270, compared to 12%
to 17% in the HOV lanes along I-270 with existing conditions.

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Figure 5-2: I-270 2040 Alternative 1/No Build Average Daily Traffic (ADT)

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ee . w *
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ws s
=——Southbound ADT  —==—=-Northbound ADT

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Figure 5-3: l-495 2040 Alternative 1/No Build Inner Loop Peak Period Hourly Volumes

12,000
10,000
8,000
6,000
4,000
2,000
0
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oe . & < . ss oo —
2 se
Inner Loop 6-7 AM ~— ~ Inner Loop 7-8 AM Inner Loop 8-9 AM Inner Loop 9-10 AM

=== Inner Loop 3-4PM =—=-« InnerLoop 4-5 PM === InnerLoop5-6PM === Inner Loop 6-7 PM

Figure 5-4: I-495 2040 Alternative 1/No Build Outer Loop Peak Period Hourly Volumes

LP OPEP LL IPP IEP SY ESL PP HSM Pg% PO PPP
HOPES ISS SEL SELES LSE IES o
ss ef < SAP

oF ; & F Dro” *
& ge? =
@ s
Outer Loop 6-7 AM) == Outer Loop 7-8 AM Outer Loop 8-9 AM Outer Loop 9-10 AM

=== Outerloop3-4PM === OuterLoop4-5PM === OuterlLoop5-6PM === Outer Loop 6-7 PM

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Sf OP PF Py FF CTD LF SF FH oO DS
TLL GLK EF SOL ~ LF FF S .

& Sr 3
Southbound 6-7 AM - Southbound 7-8 AM Southbound 8-9 AM Southbound 9-10 AM

=== Southbound 3-4PM —==< Southbound 4-5 PM === Southbound 5-6 PM ===«< Southbound 6-7 PM

Note: West Spur and East Spur volumes are combined in this chart

Figure 5-6: I-270 2040 Alternative 1/No Build Northbound Peak Period Hourly Volumes

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10,000 = ose 0° *
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6,000 Sry 4%
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Note: West Spur and East Spur volumes are combined in this chart

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Figure 5-7: 2040 Alternative 5
7-8 AM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — I-495 Inner Loop

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17% 9% 17% aE 15%

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B General Purpose Lanes m Managed Lanes xx% Percent in Managed Lane

Figure 5-8: 2040 Alternative 5
4-5 PM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — |-495 Inner Loop

13% 46%, 15%

16% 13%
10,000 18% rae
10%
8,000
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13% 20%
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on 15% 15%
17%
| I 9%

6%

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Figure 5-9: 2040 Alternative 5
7-8 AM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — I-495 Outer Loop

14,000
14%
12,000 ies =
15%
10,000 16% 15% 15% 15% 15% 459% "= oer 13%
20% a 13%16% 14%
8,000 21%. 20% 15% 15%
22% 17%

6,000 13% 92%

4,000

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@ General Purpose Lanes m Managed Lanes xx% Percent in Managed Lane
Figure 5-10: 2040 Alternative 5
4-5 PM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — 1-495 Outer Loop
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14%

10,000 16% 16% 16% 17% 14% 4 ae

14% 18% 179% 16%

12% 1 19% 18% oe 7 56%
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3,000 22% 19% 18% 8
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@ General Purpose Lanes = Managed Lanes xx% Percent in Managed Lane
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Figure 5-11: 2040 Alternative 5
7-8 AM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — I-270 Southbound

14,000
12,000
10,000
8,000
6,000
4,000
2,000
0
Shady Grove Dr MD 28 ‘MD 189 Montrose Rd 1-270 Spur MD 187 + Democracy
Blvd
MGeneral Purpose Lanes Managed Lanes xx% Percent in Managed Lane

West Spur and East Spur volumes are combined in this chart; total volumes both spurs shown at MD 187/Democracy Blvd

Figure 5-12: 2040 Alternative 5
4-5 PM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — 1-270 Northbound

14,000
12,000
10,000
8,000
6,000
4,000
2,000
0
Shady Grove Dr MD 28 MD 189 Montrose Rd |-270 Spur MD 187 + Democracy
Blvd
@ General Purpose Lanes m Managed Lanes xx% Percent in Managed Lane

West Spur and East Spur volumes are combined in this chart; total volumes both spurs shown at MD 187/Democracy Blvd

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Figure 5-13: 2040 Alternative 8
7-8 AM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — I-495 Inner Loop

14,000
26%
42,000 19% 73” 26% 979 zee
30% 29% 319% 30% 16% 4904 28% 29% 28% 9%, 20%
10,000 18% 5 604 25%
19% Few 26%
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32% 36%
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B General Purpose Lanes m Managed Lanes xx% Percent in Managed Lane

Figure 5-14: 2040 Alternative 8
4-5 PM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — 1-495 Inner Loop

14,000
12,000 aa 23% 23% 93% 23% 22%
26% 25%
10,000 aoe 15% 18% 18% 24% 720 30% s00, 31% 57
8,000
6,000 33% 38% _
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o Fo 8 9.6 9 e oY x
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@ General Purpose Lanes m™ Managed Lanes xx% Percent in Managed Lane
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Figure 5-15: 2040 Alternative 8
7-8 AM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — I-495 Outer Loop

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18%
21% 5504
24%
| | 10%

19% 21% 21% 2PA% 24%

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28% 28% 18% 22%

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@ General Purpose Lanes m Managed Lanes xx% Percent in Managed Lane

Figure 5-16: 2040 Alternative 8
4-5 PM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — 1-495 Outer Loop

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: 27% 28% 28% 28% 23%,
27% 29% 29% 20% 27% 20%
dauo 20% 21% 22% 22% 29% 28% 28% 22%
’ 24% 23%
34%
8,000 27% ” 4 a9%
38% 43%
6,000
4,000
2,000
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@ General Purpose Lanes m= Managed Lanes xx% Percent in Managed Lane
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Figure 5-17: 2040 Alternative 8
7-8 AM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — I-270 Southbound

14,000
12,000
10,000
8,000
6,000
4,000
2,000
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‘Shady Grove Dr MD 28° MD 189 Montrose Rd \-270 Spur MD 187+ Beteeney

Blvd
lm General Purpose Lanes @ Managed Lanes xx% Percent in Managed Lane

West Spur and East Spur volumes are combined in this chart; total volumes both spurs shown at MD 187/Democracy Blvd

Figure 5-18: 2040 Alternative 8
4-5 PM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — 1-270 Northbound

16,000
14,000
12,000
10,000
8,000
6,000
4,000
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Shady Grove Dr MD 28 MD 189 Montrose Rd 1-270 Spur MD 187 + Democracy
Blvd
@General Purpose Lanes Managed Lanes xx% Percent in Managed Lane

West Spur and East Spur volumes are combined in this chart; total volumes both spurs shown at MD 187/Democracy Blvd

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Figure 5-19: 2040 Alternative 9
7-8 AM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — I-495 Inner Loop

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20% —
om 7 95%
24% 30%

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@ General Purpose Lane m Managed Lane xx% Percent in Managed Lane

Figure 5-20: 2040 Alternative 9
4-5 PM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — 1-495 Inner Loop

22%
24% 23%
22%
15% 19% 19% 23% 27% 27% 27%
18% 24% 25% — 25%
26%
| 12%

23% 23%

29%
26% 26%
10,000 18%
25% 31%
6,000
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7 ss 0's Fs i oo ws S 0% os POE OS Pe PO
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@ General Purpose Lanes m™ Managed Lanes xx% Percent in Managed Lane
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Figure 5-21: 2040 Alternative 9
7-8 AM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — I-495 Outer Loop

27%

42,000 25% 25%
26% 23%
og, 226 22% 25% 24% 23%

20%
10,000 25% 29% 19%
28% 30% 28% 42% | 21% aa
8,000 ie 20% 25%
aa 33% 11%
4,000
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@ General Purpose Lanes m Managed Lanes xx% Percent in Managed Lane

Figure 5-22: 2040 Alternative 9
4-5 PM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — 1-495 Outer Loop

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% 20% ,
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35% ae
8,000 28% mm 15%
28% 350

6,000

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@ General Purpose Lanes m= Managed Lanes xx% Percent in Managed Lane

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Figure 5-23: 2040 Alternative 9
7-8 AM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — I-270 Southbound

14,000
12,000
10,000
8,000
6,000
4,000
2,000
Shady Grove Dr ‘MD 28 MD 189 Montrose Rd 1-270 Spur MD 187 + Democracy
Blvd
™@General Purposelanes & Managed Lanes xx% Percent in Managed Lane

West Spur and East Spur volumes are combined in this chart; total volumes both spurs shown at MD 187/Democracy Blvd

Figure 5-24: 2040 Alternative 9
4-5 PM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — I-270 Northbound

16,000
14,000
12,000
10,000
8,000
6,000
4,000
2,000
9 3
‘Shady Grove Dr MD 28 MD 189 Montrose Rd 1-270 Spur MD 187 + Democracy
Blvd
mGeneral Purpose Lanes Managed Lanes xx% Percent in Managed Lane

West Spur and East Spur volumes are combined in this chart; total volumes both spurs shown at MD 187/Democracy Blvd

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Figure 5-25: 2040 Alternative 10
7-8 AM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — I-495 Inner Loop

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12,000 oom ane 27% so 28%
10,000 pee 16% 4 304 26% 26% 26% 26% 19%
= ‘19% 23%
20% 24% % 55% 24%
8,000 24%
30%
6,000
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m General Purpose Lane @ Managed Lane xx% Percent in Managed Lane
Figure 5-26: 2040 Alternative 10
4-5 PM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — |-495 Inner Loop
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12,000 29% 23% 23% 24% 23% ax
26% 26%
10,000 — 15% 19% 19% 23 8% 9795 27% 27% ,
28% ff te a 25% 6% 70
8,000 18%
% 12
6,000 25% 31% %
4,000
2,000
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Figure 5-27: 2040 Alternative 10
7-8 AM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — |-495 Outer Loop

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‘con . J 236 20% 22% 22% pre 23% 4 304,
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i 25% 33% 25%
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6,000
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mGeneral Purpose Lanes  ™ Managed Lanes xx% Percent in Managed Lane

Figure 5-28: 2040 Alternative 10
4-5 PM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — 1-495 Outer Loop

26% 29% 29% 29%

28% 20%
29% 29% 21% 9, 28% 28% 29% 28% 21%
10,000 See 22% 22% ae 22%
35%
8,000 7 15%
28% 35%
6,000
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Figure 5-29: 2040 Alternative 10
7-8 AM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — I-270 Southbound

14,000
12,000
10,000
8,000
6,000
4,000
2,000
0
Shady Grove Dr MD 28 MD 189 Montrose Rd 1-270 Spur MD 187 + Democracy
Blvd
@ General Purpose Lanes @ Managed Lanes xx% Percent in Managed Lane

West Spur and East Spur volumes are combined in this chart; total volumes both spurs shown at MD 187/Democracy Blvd

Figure 5-30: 2040 Alternative 10
4-5 PM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — 1-270 Northbound

16,000
14,000
12,000
10,000
8,000
6,000
4,000
2,000
0
Shady Grove Dr MD 28 MD 189 Montrose Rd |-270 Spur MD 187 + Democracy
Blvd
@ General Purpose Lanes m Managed Lanes xx% Percent in Managed Lane

West Spur and East Spur volumes are combined in this chart; total volumes both spurs shown at MD 187/Democracy Blvd

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Figure 5-31: 2040 Alternative 13B
7-8 AM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — I-495 Inner Loop

14,000
12,000 a ae 28%
27% 11% 17% 29% 31% 34%
31% 26% 76% 26% 26% 20%
10,000 19% | 4% 23%
19% hw
6 55% 24%
8,000 26% 799%
6,000 11%
4,000
2,000
0
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m General Purpose Lane @ Managed Lane xx% Percent in Managed Lane
Figure 5-32: 2040 Alternative 13B
4-5 PM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — I-495 Inner Loop
14,000
12,000 31% 21% 21% 22% 79% 2
10,000 2 16% 1934 19% 23% 5°72” 27% 796 27% 22%
28%
25% __., 24%
8,000 26%
12%
6,000 Besa
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0
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Figure 5-33: 2040 Alternative 13B
7-8 AM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — |-495 Outer Loop

14,000

2
12,000 21%
10,000 35%
8,000
6,000
4,000
2,000

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24% 23%
1; 19% 22% 22% 25% 95) 2506 24s 19%

27% 17% 21% 3

Bey 7 sox ” 4.99% 23% 24%
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mGeneral Purpose Lanes  ™ Managed Lanes xx% Percent in Managed Lane

Figure 5-34: 2040 Alternative 13B
4-5 PM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — 1-495 Outer Loop

23% 30% 29% 30%
30% 30% - 70% 5 28% 21%

18% 28% 28% 29%
% 99% 22%
10,000 11% a aie
35% y, 26%
8,000 15%
24% 36%
6,000
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Figure 5-35: 2040 Alternative 13B
7-8 AM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — I-270 Southbound

14,000

12,000
10,000
8,00
6,00
4,00
2,00

Shady Grove Dr MD 28 MD 189 Montrose Rd |-270 Spur MD 187

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™@ General Purpose Lanes m Managed Lanes xx% Percent in Managed Lane
West Spur and East Spur volumes are combined in this chart; total volumes both spurs shown at MD 187/Democracy Blvd

Figure 5-36: 2040 Alternative 13B
4-5 PM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — I-270 Northbound

16,000
14,000
12,000
10,000
8,000
6,000
4,000
2,000
0

Shady Grove Dr MD 28 MD 189 Montrose Rd |-270 Spur MD 187

@ General Purpose Lanes @ Managed Lanes xx% Percent in Managed Lane

West Spur and East Spur volumes are combined in this chart; total volumes both spurs shown at MD 187/Democracy Blvd

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Figure 5-37: 2040 Alternative 13C
7-8 AM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — I-495 Inner Loop

14,000
12,000 aah 14% 18% So oem 28%
31% © 29% 340230% 25%
sneee 31> 17% 19% 0, 26% 260 72” 9694 19%
0% 19% 49423% 22%, 24%
8,000 ao
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m General Purpose Lane @ Managed Lane xx% Percent in Managed Lane
Figure 5-38: 2040 Alternative 13C
4-5 PM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — 1-495 Inner Loop
14,000
42,000 25% 239% 23% 23% 23% 72”

28% 7 19% 23% °2 a 27% 27%
10,000 21% 15% 19% 7% 27% 23%
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Figure 5-39: 2040 Alternative 13C
7-8 AM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — I-495 Outer Loop

26%

12,000 26% 91% 26% 29% = 23% soy

28% 49% 21% 21% 24% 24% 2

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28% 27% 522% =
8,000 30% |) 19% 18” 2% pe
ca! 10%
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MGeneral Purpose Lanes _™ Managed Lanes xx% Percent in Managed Lane
Figure 5-40: 2040 Alternative 13C
4-5 PM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — 1-495 Outer Loop
12,000

25% . 29% 29% 29%

26% 30% 29% 787° 20% 1404 29% 29% 29% 28% 21%
40,000 20% 22% 22% 22% ae 5
24% 25%
34% ;
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43% 44%
6,00
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Figure 5-41: 2040 Alternative 13C
7-8 AM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — 1-270 Southbound

16,000
14,000
12,000
10,000
8,000
6,000
4,000
2,000
0
Shady Grove Dr MD 28 MD 189 Montrose Rd |-270 Spur MD 187
@ General Purpose Lanes @ Managed Lanes xx% Percent in Managed Lane

West Spur and East Spur volumes are combined in this chart; total volumes both spurs shown at MD 187/Democracy Blvd

Figure 5-42: 2040 Alternative 13C
4-5 PM Peak Hour Volumes in Managed Lanes and General-Purpose Lanes — I-270 Northbound

16,000
14,000
12,000
10,000
8,000
6,000
4,000
2,000
0

Shady Grove Dr MD 28 MD 189 Montrose Rd |-270 Spur MD 187 + Democracy

Blvd
@ General Purpose Lanes @ Managed Lanes xx% Percent in Managed Lane

West Spur and East Spur volumes are combined in this chart; total volumes both spurs shown at MD 187/Democracy Blvd

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5.2 Speeds and Travel Times ;
a8 fe) 81h
Figures 5-43 through 5-48 describe the speed breakdown

along the corridors for each hour where data was being e In Virginia, the general-purpose
reported (6:00 to 10:00 AM and 3:00 to 7:00 PM) for lanes along I-495 and I-95 have
Existing and Alternative 1/No Build. Detailed speed data experienced a 7 to 15% reduction
can be found in Appendix E. As shown, speeds along several in travel times over the last 5 years
segments will degrade in the future years of 2025 and 2040 as the toll lanes have been

as volumes increase if no capacity improvements are extended.

provided. This outcome is reflected in Alternative 1/No e Along I-95 north of Baltimore, the
Build. However, end to end travel times on |-270 are general-purpose lanes have
projected to improve under the Alternative 1/No Build prior experienced a 12% reduction in
to 2025 as a result of the ICM improvements. Regardless, delays since the opening of the
congestion may return by the design year, 2040. managed lanes.

During the AM peak period, speeds will degrade along |-495 Outer Loop between I-270 and the existing
low-speed segments starting at MD 97. Along I-270 Southbound, speeds will degrade beginning at MD 85.
While speeds further to the south may increase, this may be due to decreased throughput caused by the
lower speeds to the north.

During the PM peak period, speeds along I-495 Inner Loop will degrade between the American Legion
Bridge and MD 202, with the greatest degradations occurring between MD 185 and MD 202. Along 1-495
Outer Loop, speeds will degrade between I-270 and MD 5, with the greatest degradation occurring
between I-270 and I-95. Along I-270 Northbound, speeds will degrade between MD 28 and MD 85.

Figures 5-49 through 5-56 and Tables 5-1 through 5-4 summarize the travel times along the corridors
during the peak periods for Existing and Alternative 1/No Build. Detailed travel time data can be found in
Appendix E. Between 2017 and 2040, travel times along the Inner Loop of |-495 are projected to increase
by 28 minutes (43%) during the AM peak period and 67 minutes (71%) during the PM peak period. Travel
times along the Outer Loop of |-495 are projected to increase by 36 minutes (51%) during the AM peak
period and 47 minutes (58%) during the PM peak period. Travel times along I-270 Southbound are
projected to remain relatively unchanged during both peak periods due to the I-270 Innovative Congestion
Management project, while travel times along I-270 Northbound are projected to increase by 10 minutes
(20%) during the PM peak period. Travel times along I-270 Northbound will remain unchanged during the
AM peak period as this is not the peak period of travel.

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LOCATION

MAY 2017
AVERAGE SPEEDS (MPH)
6AM 7AM 8AM 9AM

VA 193

GEORGE WASHINGTON
MEMORIAL PKWY

AMERICAN LEGION BRIDGE

CLARA BARTON PKWY

CABIN JOHN PKWY

MD 190
1+270 WEST SPUR
MD 187
1-270 EAST SPUR
MD 355
MD 185
MD 97
Us 29
MD 193
MD 650
1-95.

Uusi

MD 201

BALTIMORE
WASHINGTON PKWY

MD 450

US 50

MD 202 (SEGMENTS
W/OUT CD LANES)
MD 202 (SEGMENTS
WITH CD LANES)

ARENA DR

MD 214

RITCHIE MARLBORO RD

MD4
MD 337
MD 218

MDS
MD 414
MD 210

1-295.

WOODROW WILSON BRIDGE

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EXISTING
VISSIM SPEEDS (MPH)

6AM 7AM 8AM 9AM

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Figure 5-43. I-495 Inner Loop Existing (2017) and 2025/2040 Alternative 1/No Build AM Peak Period Average Speeds (mph)

2025 NO BUILD
VISSIM SPEEDS (MPH)

6AM 7AM 8AM 9AM

2040 NO BUILD
VISSIM SPEEDS (MPH)
6AM 7AM 8AM 9AM

HEaaEAY] 20-30] 30-40 | 40-50 | >50 |

Note: White areas indicate missing data

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Figure 5-44: 1-495 Outer Loop Existing (2017) and 2025/2040 Alternative 1/No Build AM Peak Period Average Speeds (mph)

MAY 2017 EXISTING 2025 NO BUILD 2040 NO BUILD
LOCATION AVERAGE SPEEDS (MPH) VISSIM SPEEDS (MPH) VISSIM SPEEDS (MPH) VISSIM SPEEDS (MPH)
6AM 7AM 8AM 9AM|6GAM 7AM 8AM 9AM|6AM 7AM 8AM 9AM|6AM 7AM 8AM 9AM

VA 193

GEORGE WASHINGTON
MEMORIAL PKWY

AMERICAN LEGION BRIDGE

CLARA BARTON PKWY

CABIN JOHN PKWY

MD 190

1+270 WEST SPUR

MD 187

1-270 EAST SPUR

MD 355

MD 185

MD 97

US 29

MD 193

MD 650

1-95
US1

MD 201

BALTIMORE
WASHINGTON PKWY

MD 450

Us 50
END OF EXISTING

N02 rE ee
MD 202 " 4 ’ |
ARENA DR

=
MD 214 . | ;, a

RITCHIE MARLBORO RD

MD4

MD 337

MD 218

MD5

MD 414

MD 210

1-295

WOODROW WILSON BRIDGE

0-30 | 30-40 | 40-50 | >50 |
Note: White a areas indicate missing data

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Figure 5-45. I-270 Existing (2017) and 2025/2040 Alternative 1/No Build AM Peak Period Average Speeds (mph)

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MIDDLEBROOK RD
MD 124
MD 117
1-2370
SHADY GROVE RD
MD 28
MD 185
MONTROSE RD
1-270 SPLIT
EAST SPUR AT MD 187

EAST SPUR AT 1-495

MAY 2017 EXISTING 2025 NO BUILD 2040 NO BUILD
a AWERAGE SPEEDS (MPH) VISSIM SPEEDS (MPH) VISSIM SPEEDS (MPH) VISSIM SPEEDS (MPH)
6AM JAM 8AM 9AM|6AM 7AM 8AM 9AM|6GAM 78M 8AM 94M|6AM 7AM BAM 9AM

MD 85

MD 80

mp 109
M0121
MD 27 . ‘

WEST SPUR AT
DEMOCRACY BLVD
WEST SPUR AT
1-495

1-270 NORTHBOUND
LOCATION

MAY 2017
AVERAGE SPEEDS (MPH)
5AM 74M 3AM SAM

EXISTING

VISSIM SPEEDS (MPH)
6AM 7AM SAM SAM

2025 NO BUILD
VISSIM SPEEDS (MPH)

5AM 7AM SAM 9AM

2040 NO BUILD
VISSIM SPEEDS (MPH)
64M 7AM SAM SAM

EAST SPUR AT
MD 187
EAST SPUR AT
1-270 MERGE

MONTROSE RD
MD 139
MD 28
SHADY GROVE RD
L370
MD 117
MD 124
MIDDLEBROOK RD
MD 118
MD 27
MD121
MD 109
MD 80

MID 85

WEST SPUR AT
DEMOCRACY BLVD
WEST SPUR AT
1-270 MERGE

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LOCATION

VA 193

GEORGE WASHINGTON MEMORIAL PKWY

AMERICAN LEGION BRIDGE
CLARA BARTON PKWY
CABIN JOHN PKWY
MD 190
1+270 WEST SPUR
MD 187
I-270 EAST SPUR
MD 355,

MD 185,
MD 97
Us 29

MD 193

MD 650

1-95
USi

MD 201

BALTIMORE
WASHINGTON PKWY

MD 450

US 50

MD 202 (SEGMENTS
W/OUT CD LANES)
MD 202 (SEGMENTS
WITH CD LANES}

ARENA DR
MD 214
RITCHIE MARLBORO RD
Mp4
MD 337
MD 218
MDS
MD 414
MD 210
1-295,

WOODROW WILSON BRIDGE

MAY 2017 2017
AVERAGE SPEEDS (MPH)

EXISTING
VISSIM SPEEDS (MPH)

2025 NO BUILD
VISSIM SPEEDS (MPH)

3PM 4PM 5PM 6PM/ 3PM 4PM SPM 6PM/3PM 4PM SPM 6PM |

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Figure 5-47: l-495 Outer Loop Existing (2017) and 2025/2040 Alternative 1/No Build PM Peak Period Average Speeds (mph)

~ MAY 2017 _ EXISTING 2025 NO BUILD 2040 NOBUILD_—*«Y
LOCATION AVERAGE SPEEDS (MPH) VISSIM SPEEDS (MPH) \VISSIM SPEEDS (MPH) VISSIM SPEEDS (MPH)
3PM 4PM 5PM 6PM| 3PM 4PM 5PM 6PM|3PM 4PM 5PM 6PM|3PM 4PM SPM 6PM

VA 193
GEORGE WASHINGTON MEMORIAL PKWY

AMERICAN LEGION BRIDGE

CLARA BARTON PKWY

CABIN JOHN PKWY

MD 190

1+270 WEST SPUR

MD 187

1-270 EAST SPUR

MD 355,

MD 185

MD 97

US 29

MD 193

MD 650

1-95,

usi

MD 201

BALTIMORE
WASHINGTON PKWY

MD 450

Us 50

MD 202 (SEGMENTS
W/OUT CD LANES)
MD 202 (SEGMENTS
WITH CD LANES)

ARENA DR

MD 214
RITCHIE MARLBORO RD
MD 4
MD 337
MD 218
MD5
MD 414
MD 210

1-295

WOODROW WILSON BRIDGE

Note: White areas indicate missing data

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Figure 5-48: I-270 PM Existing (2017) and 2025/2040 Alternative 1/No Build Peak Period Average Speeds (mph)

1-270 SOUTHBOUND
LOCATION

MAY 2017
AVERAGE SPEEDS (MPH)
3PM 4PM 5PM 6PM

—___—_
EXISTING

VISSIM SPEEDS (MPH)
3PM 4PM 5PM 6PM

“2025 NO BUILD
VISSIM SPEEDS (MPH)
3PM 4PM 5PM 6PM

2040 NO BUILD
‘VISSIM SPEEDS (MPH)
3PM 4PM 5PM 6PM

MD&S
MD 80

Mo 109
MD 121
MD 27
MD 118
MIDDLEBROOK RD
MD 124
MD 117
12370
SHADY GROVE RD
MD 28
MD 189

MONTROSE RD
1-270 SPLIT
EAST SPUR AT MD 1387

EAST SPUR AT 1-495

WEST SPUR AT
DEMOCRACY BLVD
WEST SPUR AT
1495

1-270 NORTHBOUND
LOCATION

MAY 2017
AVERAGE SPEEDS (MPH)
3PM 4PM 5PM 6PM

EAST SPUR AT
MD 187
EAST SPUR AT
1-270 MERGE

MONTROSE RO

MD 189

MD 28

SHADY GROVE RD

1-370

MD 117

MD 124

MIDDLEBROOK RD

MD 118

MD 27

MD 121

MD 109

MD 80

EXISTING
VISSIM SPEEDS (MPH)
3PM 4PM SPM 6PM

2025 NO BUILD
‘VISSIM SPEEDS (MPH)
3PM 4PM 5PM 6PM

2040 NO BUILD
VISSIM SPEEDS (MPH)
3PM 4PM SPM 6PM

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WEST SPUR AT

1-270 MERGE

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Figure 5-49: I-495 Inner Loop Travel Times — Existing (2017) and 2025/2040 Alternative 1/No Build AM Peak Period

Distance (miles)
40 45

Figure 5-50: I-495 Inner Loop Travel Times — Existing (2017) and 2025/2040 Alternative 1/No Build PM Peak Period

Distance (miles)
40 45

Table 5-1: |-495 Inner Loop Peak Period Existing (2017) and 2025/2040 Alternative 1/No Build Travel Times (minutes)

AM Peak 93
PM Peak 112 162

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Figure 5-51: I-495 Outer Loop Travel Times — Existing (2017) and 2025/2040 Alternative 1/No Build AM Peak Period

Distance (miles)
4

0 5 10 15 20 25 30 35 40
110
100
90
3 80
— 70
= 60
o
£ 50
mS
S 40
on
i n § 38 223
20 n en & a = ao ee
A =n = ae wn a Oo = ZS Ee
10 a ony ay a 2S = wa 2 = = = 83
0 in 2 = A ef a $s 2 g ~
o oT a st io os = 5 oe os
of oo | Sao Qa Ss a 2
= 9 o a S = = :
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Free Flow Travel Time 2025 No-Build AM —— 2040 No-Build AM

— Existing AM Travel Time

Figure 5-52: I-495 Outer Loop Travel Times — Existing (2017) and 2025/2040 Alternative 1/No Build PM Peak Period

Distance (miles)
0 5 10 15 20 25 30 35 40 45

130
120
110
100

Travel Time (minutes)
an
o

30 : oo
20 = i ~ % 28 ee a
<= nd & 9 84 nu G2 20 25) Sales
ao +5 BS ea 2 *~ po > = s 2 2~ 38
0 wo Ne8 $5 98 £ 22 So £e:
a» & & an = eae = = 3 = aie
= 2 s = =a a So < Sis
= -+ 4 = = 2 = % =
= 2 6 2
<
Existing PM Travel Time Free Flow Travel Time ——- 2025 No-Build PM —— 2040 No-Build PM

Table 5-2: I-495 Outer Loop Peak Period Existing (2017) and 2025/2040 Alternative 1/No Build Travel Times (minutes)

Peak Period 2017 2025 2040
Existing | NoBuild | No Build

AM Peak 70 76 106

PM Peak 81 98 128

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Figure 5-53: |-270 Southbound Travel Times — Existing (2017) and 2025/2040 Alternative 1/No Build AM Peak Period

Distance (miles)
0 Si 10 45 20 25 30

Figure 5-54: I-270 Southbound Travel Times — Existing (2017) and 2025/2040 Alternative 1/No Build PM Peak Period

Distance (miles)
0 5 10 15 20 25 30

Table 5-3: I-270 Southbound Peak Period Existing (2017) and 2025/2040 Alternative 1/No Build Travel Times (minutes)
a aAae —___
Peak Period

AM Peak
PM Peak
*Reduction in travel time due to I-270 ICM improvements

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Figure 5-55: I-270 Northbound Travel Times — Existing (2017) and 2025/2040 Alternative 1/No Build AM Peak Period

Distance (miles)
30

Figure 5-56: I-270 Northbound Travel Times — Existing (2017) and 2025/2040 Alternative 1/No Build PM Peak Period

Distance (miles)

Table 5-4: I-270 Northbound Peak Period Existing (2017) and 2025/2040 Alternative 1/No Build Travel Times (minutes)

= ££ = 2017
AM Peak 29 29
PM Peak 49 56
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With the Alternative 1/No Build results summarized,
the Build Screened Alternative results can be
developed, and these results can be compared to the
Alternative 1/No Build results. The following tables
show the modeled corridor-wide travel times for each
of the Screened Alternatives. Corridor travel time
represents the amount of time it would take a vehicle
to travel from one end of the Study limits to the other
along either |-495 or |-270 during the peak hour in the
design year of 2040. Similarly, corridor speed
represents the average speed along the corridor
during the peak hour in the design year of 2040. For
travel times, lower numbers are better, reflecting
more efficient travel. For speeds, higher numbers are
better.

Travel time is based on the VISSIM model results. The
existing VISSIM models were calibrated to match the
INRIX travel time, as described previously. The
calibrated models are then used as base to develop
2025 and 2040 No Build VISSIM models. Because the
existing model is calibrated to MDOT SHA standards,
no adjustments are necessary to the future results
when comparing results.

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Along the Inner Loop, the Build
Screened Alternatives will result in up
to 12 minutes (18%) in travel time
savings during the AM peak period and
96 minutes (62%) in travel time savings
during the PM peak period.

Along the Outer Loop, the Build
Screened Alternatives will result in up
to 38 minutes (38%) in travel time
savings during the AM peak period and
78 minutes (63%) in travel time savings
during the PM peak period.

Along |-270 Southbound, the Build
Screened Alternatives will result in up
to five minutes (29%) in travel time
savings during the AM peak period.
Along !-270 Northbound, the Build
Screened Alternatives do not have a
significant travel time savings as
compared to the No Build condition.

Results were generated for the I-495 Outer Loop from MD 5 to the George Washington Memorial
Parkway, the I-495 Inner Loop from the George Washington Memorial Parkway to MD 5, 1-270
Northbound from |-495 to I-370, and I-270 Southbound from I-370 to |-495. Results were also generated
separately for travel in the general-purpose lanes and the managed lanes. For alternatives that maintained

the existing HOV lanes on I-270 in addition to buffer-separated, limited access managed lanes, the corridor

travel time and speed results for the general-purpose lanes included the non-tolled HOV lanes. These

results are summarized in Tables 5-5 and 5-6.

In general, the Build Screened Alternatives will provide significant travel time savings as compared to
Alternative 1/No Build. Further travel time savings will be experienced in the managed lanes. While there
are some locations where travel times are slower than with Alternative 1/No Build, that is attributed to

the clearing of bottlenecks at other locations, increasing throughput to downstream segments. Overall,
travel times are improved with each Build Screened Alternative.

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Table 5-5: Corridor Travel Time Summary (minutes) — AM Peak Period

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Corridor 2017 2040 | 2040 | 2040 | 2040 , 2040 2040 2040
Existing | Alt1 | AltS | Alt8 | Alt9 | Alt10 | Alt13B | Alt 13C
|-495 Inner Loop from General AA 68 61 58 56 58 57 57
George Washington Purpose Lane
ee to | Manégedtane | N/A N/A | 43 | 43 | 43 44 43 46
1-495 Outer Loop from General
MD 5 to George Purpose Lane ve net 18 3 o ee vA a
Washington
Maricrtal Parkway Managed Lane N/A N/A 38 37 38 38 38 38
General i
Il-270 Southbound Purpose Lane a2 18 1s 12 te ie i ot
from I-370 to I-495 Managed 13 12° 10 10 10 10 10 10
Lane**
General
|-270 Northbound Purpose Lane ? 2 2 ¥
from |-495 to|-370 is N/A 9 9 9 9 N/A N/A
“Improved travel times along !-270 in Alternative 1/No Build are a result of the |-270 ICM initiative
** Managed Lane refers to existing HOV lane for 2017 Existing and 2040 Alt 1
Table 5-6: Corridor Travel Time Summary (minutes) — PM Peak Period
Corridor 2017 2040 | 2040 | 2040 | 2040 2040 2040 2040
Existing | Alt1 | Alt5 | Alt8 | Alt9 | Alt10 | Alt13B | Alt 13C
|-495 Inner Loop from General 39 156 39 93 80 60 75 62
George Washington Purpose Lane
Memoria! ne kway to |" anazed lane | N/A N/A | 38 | 45 | 42 49 42 42
1-495 Outer Loop from General
MD 5 to George Purpose Lane ve +28 a0 = ae 8 7 a4
Washington
Memorial Parkway Managed Lane N/A N/A 38 38 38 38 38 38
ae 11 12 | 40 | 22 | 15 14 28 15
|-270 Southbound Purpose Lane
f 1-370 to 1-495
rem ° Manebed N/A n/a | 10 | 10 | 10 9 N/A N/A
Lane
oe 15 10° 14 / 11 | 12 16 13 12
|-270 Northbound Purpose Lane
f 1-495 to 1-370 ‘
rom ° Managed Lane 11 10 10 | 10 | 12 9 14 9
“Improved travel times along I-270 in Alternative 1/No Build are a result of the I-270 ICM initiative
** Managed Lane refers to existing HOV lane for 2017 Existing and 2040 Alt 1
a
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The following is a summary of the travel time results:

e §=|-495
o AM Peak Period
= Travel times in the Inner Loop general-purpose lanes would improve from 68
minutes in Alternative 1/No Build to between 56 minutes (for Alternative 9, best
among the Screened Alternatives) and 61 minutes (for Alternative 5)
=" Travel times in the Outer Loop general-purpose lanes would improve from over
100 minutes in Alternative 1/No Build to between 63 minutes (for Alternative 10,
best among the Screened Alternatives) and 74 minutes (for Alternative 5)
=" Inthe managed lanes, the Outer Loop would have travel times of 37 to 38 minutes
in each Build Screened Alternative and the Inner Loop would have travel times of
43 to 46 minutes in each Build Screened Alternative
o PM Peak Period
= Travel times in the Inner Loop general-purpose lanes would improve from 156
minutes in Alternative 1/No Build to between 60 minutes (for Alternative 10, best
among the Screened Alternatives) and 93 minutes (for Alternative 8)
=" Travel times in the Outer Loop general-purpose lanes would improve from over
two hours (123 minutes) in Alternative 1/No Build to between 45 minutes (for
Alternatives 8, 9, and 13B, tied for best among the Screened Alternatives) to 50
minutes (for Alternative 5)
=" Inthe managed lanes, the Outer Loop would have travel times of 38 minutes in
each Build Screened Alternative and the Inner Loop would have travel times
between 38 minutes (for Alternative 5, best among the Screened Alternatives)
and 49 minutes (for Alternative 10)
e §=|-270
o AM Peak Period
=" Travel times in the southbound lanes would improve from 17 minutes in
Alternative 1/No Build to 12 minutes in Alternatives 9 and 13B and to 15 minutes
in Alternative 8; the other alternatives would not provide an improvement
=" The southbound managed lanes would have travel times of 10 minutes with each
Build Screened Alternative
=" The northbound lanes would have a travel time of 9 minutes in Alternative 1/No
Build, and would remain unchanged in the Build Screened Alternatives in both
the general purpose and the managed lanes
o PM Peak Period
=" Conditions are generally projected to be acceptable under Alternative 1/No Build
in the northbound and southbound directions due to the Financially Constrained
Long-Range Transportation Plan (CLRP) programmed improvements, including
the Innovative Congestion Management (ICM) initiative, except for congestion
along the I-270 Southbound East Spur due to spillback from 1-495
= In some cases, the Build Screened Alternatives are projected to operate worse
than Alternative 1/No Build along |-270 due to increased volumes in the system

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and/or reduced capacity in the off-peak direction from the removal of the HOV
lanes.

The speed and travel time results were also used to calculate anticipated average annual travel time
savings for commuters living and working within the Study area (hours saved per commuter per year).
This value summarizes the travel time and speed data into a single number for each Alternative for ease
of comparison. It also provides a tangible number that could be understood more easily by the public.

For calculating average annual savings per commuter, the average time spent commuting to work in
Maryland under existing conditions (32.3 minutes) was compared to the average speed during the peak
periods in the existing VISSIM model (34.9 mph) to estimate average trip length per commute. Under
Alternative 1/No Build, the average speed during the peak periods in the VISSIM model is projected to
decrease to 27.1 mph. This decrease in average speed would be projected to increase the average
commute time within the Study area to 41.6 minutes under Alternative 1/No Build in the design year
2040. Using that travel time as base, the peak period average speed outputs from the VISSIM model were
used to determine the average commute time in 2040 and the savings per trip for each Build Screened
Alternative compared to Alternative 1/No Build. With two commute trips per day and approximately 260
commute days per year, the value per commute was converted into a yearly savings in hours.

The results indicate that the Build Screened Alternatives would be expected to save commuters between
45 and 73 hours per year compared to Alternative 1/No Build, on average, as shown below:

e Alternative 5: 45 hours per year

e Alternative 8:59 hours per year

e Alternative 9: 73 hours per year

e Alternative 10: 72 hours per year
e Alternative 13B: 65 hours per year
e Alternative 13C: 64 hours per year

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5.3. Vehicle Demand, Throughput, and Percent Demand Met

Future 2025 and 2040 No Build travel demand, throughput, and percent demand served along the study
corridors are summarized in Tables 5-7 to 5-14 and Figures 5-57 to 5-68. While the model can calculate
outputs at any single location in the model, this evaluation focused on throughput at four key points
located throughout the study network: I-495 at the American Legion Bridge, I-495 west of I-95, I-495 at
MD 5, and I-270 at Montrose Road. These locations were selected as they include each corridor and are
representative of each of the areas that have similar character and volumes. This allows for the evaluation
of the needs through each part of the network. Person throughputs are based on the MWCOG travel
demand model vehicle classification outputs, including classifications for HOV 2 and HOV 3+; however, it
does not account for trips using bus service. Although transit buses will be permitted to use the managed
lanes, specific transit routes are currently undetermined and therefore, appropriate bus throughput
cannot be assessed at this time. However, any inclusion of buses in the Screened Alternatives would
increase the person throughput compared to the values shown here. Tables showing the travel demand
for each segment and time period are included in Appendix F. Tables showing the throughputs and
percent demand met for each segment and time period are included in Appendix G.

Table 5-7: 1-495 and I-270 2025 Alternative 1/No Build Travel Demand

Location Travel Demand (vehicles per hour)
1-495 Inner Loop/
1-270 Southbound 6-7 AM | 7-8AM | 8-9AM | 9-10 AM | 3-4PM | 4-5PM | 5-6PM | 6-7PM
American Legion Bridge 8,100 9,500 9,200 8,600 8,900 8,800 9,000 7,900
1-495 West of 1-95 7,200 8,600 8,000 7,200 9,100 9,300 8,600 7,600
I-495 at MD 5 6,400 6,500 7,100 6,400 5,800 6,900 7,100 6,600
|-270 at Montrose Rd 9,700 11,200 10,400 9,400 7,000 7,600 7,900 7,200
1-495 Outer Loop/
1-270 Northbound 6-7 AM | 7-8 AM | 8-9AM | 9-10 AM | 3-4PM | 4-5PM | 5-6PM | 6-7PM
American Legion Bridge 7,800 9,100 9,000 8,200 8,700 8,900 8,700 8,300
1-495 West of 1-95 8,600 7,500 6,400 6,800 7,500 8,100 8,300 7,100
I-495 at MD 5 6,100 6,900 6,000 5,700 7,000 6,900 6,900 5,900
1-270 at Montrose Rd 4,400 6,400 8,700 7,900 10,800 11,800 11,900 11,100
Table 5-8: 1-495 and I-270 2040 Alternative 1/No Build Travel Demand
Location Travel Demand (vehicles per hour)
1-495 Inner Loop/
-7 AM | 7-8 AM -9 AM -10 AM -4PM | 4-5PM -6 PM -7 PM
1-270 Southbound S 3S &8 a0 3 > ae e
American Legion Bridge | 8,100 9,500 9,200 8,600 9,600 9,300 9,500 8,600
1-495 West of I-95 7,400 8,800 8,300 7,600 9,800 9,600 8,800 8,000
|-495 at MDS 6,700 6,800 7,400 6,800 5,700 7,000 7,400 7,000
|-270 at Montrose Rd | 10,300 | 12,000 | 11,000 | 10,100 7,500 8,000 8,400 7,800
1-495 Outer Loop/
-7 AM | 7-8 AM -9 AM -10 AM -4PM | 4-5PM -6 PM -7 PM
1-270 Northbound S S = aad 3 2 =e &
American Legion Bridge | 7,800 9,100 9,000 8,200 9,300 9,500 9,300 9,000
1-495 West of 1-95 8,900 7,600 6,600 7,100 7,800 8,300 8,400 7,300
|-495 at MDS 6,300 7,200 6,300 5,900 7,300 7,300 7,200 6,300
|-270 at Montrose Rd 4,700 6,900 9,400 8,600 11,500 | 12,600 | 12,600 | 11,800
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Table 5-9: 1-495 and I-270 2025 Alternative 1/No Build Vehicle Throughputs

Location Throughput (vehicles per hour)
1-495 Inner Loop/
1-270 Southbound 6-7 AM | 7-8 AM | 8-9 AM | 9-10 AM | 3-4PM | 4-5PM | 5-6PM | 6-7 PM
American Legion Bridge 8,400 8,500 8,500 8,600 8,000 7,900 8,500 8,200
1-495 West of 1-95 7,300 8,300 7,800 7,200 8,400 8,200 8,000 7,700
1-495 at MD 5 6,600 6,100 6,500 6,500 6,100 6,800 7,300 6,900
|-270 at Montrose Rd 10,500 | 10,900 9,900 8,800 6,700 7,300 7,300 6,600
1-495 Outer Loop/
1-270 Northbound 6-7 AM | 7-8 AM | 8-9AM | 9-10 AM | 3-4PM | 4-5PM | 5-6PM | 6-7 PM
American Legion Bridge 8,500 8,800 9,300 8,400 8,200 8,500 8,100 8,100
1-495 West of I-95 8,000 6,300 6,600 6,700 7,000 7,000 6,700 7,300
1-495 at MD 5 5,900 6,400 5,700 5,600 6,800 6,600 6,500 6,000
|-270 at Montrose Rd 5,100 6,400 8,800 8,500 11,100 | 11,600 | 11,400 8,400
Table 5-10: I-495 and I-270 2040 Alternative 1/No Build Vehicle Throughputs
Location Throughput (vehicles per hour)
1-495 Inner Loop/
1-270 Southbound 6-7 AM | 7-8 AM | 8-9AM | 9-10 AM | 3-4PM | 4-5PM | 5-6PM | 6-7PM
American Legion Bridge 8,500 8,400 8,600 8,600 7,600 6,700 3,400 7,000
|-495 West of I-95 7,300 7,900 7,700 7,300 7,300 8,100 7,800 5,300
|-495 at MDS 6,600 6,300 | 6,000 7,500 6,000 | 6,800 | 7,100 | 7,000
|-270 at Montrose Rd 10,900 | 11,000 | 9,500 9,600 7,100 | 7,700 | 7,300 | 7,000
I-495 Outer Loop/
-7 AM | 7-8 AM -5 AM -10 AM -4PM | 4-5PM PM -7 PM
1-270 Northbound ° = a aad 3 : a6
American Legion Bridge 8,600 9,000 | 9,400 9,300 8,200 | 8,700 | 8,300 | 8,400
1-495 West of I-95 7,800 6,100 | 5,400 6,600 7,200 | 7,300 | 5,700 | 5,800
|-495 at MDS 6,100 6,300 | 4,300 5,600 6,600 | 6,600 | 6,300 | 6,300
|-270 at Montrose Rd 5,100 6,100 | 8,800 8,800 11,400 | 10,300 | 9,500 | 8,400
Table 5-11: 1-495 and I-270 2025 Alternative 1/No Build Person Throughputs
Location Throughput (persons per hour)
1-495 Inner Loop/
-7 AM | 7-8 AM -9 AM -10 AM “4PM | 4-5PM -6 PM -7 PM
1-270 Southbound e =e oS o40 3 2 8 S
American Legion Bridge 10,000 | 10,100 | 10,100 | 10,200 | 10,500 | 10,300 | 11,100 | 10,700
1-495 West of I-95 8,500 | 9,600 | 9,100 8,400 10,600 | 10,400 | 10,100 | 9,800
1-495 at MD 5 7,900 | 7,300 | 7,800 7,800 8,000 | 9,000 | 9,600 | 9,100
|-270 at Montrose Rd 12,800 | 13,300 | 12,100 | 10,700 8,900 | 9,700 | 9,700 | 8,800
1-495 Outer Loop/
-7 AM | 7-8 AM -9 AM -10 AM “4PM |, 4-5 PM -6 PM -7 PM
1-270 Northbound 6 : a aay 3 : cae 6
American Legion Bridge 10,100 10,500 | 11,100 10,000 10,700 11,100 10,600 | 10,600
1-495 West of I-95 9,300 | 7,300 | 7,700 7,800 8,900 | 8,900 | 8,500 | 9,200
1-495 at MDS 7,000 | 7,600 | 6,800 6,700 9,000 | 8,700 | 8,600 | 7,900
|-270 at Montrose Rd 6,200 | 7,800 | 10,700 | 10,400 | 14,800 | 15,500 | 15,200 | 11,200
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Table 5-12: I-495 and I-270 2040 Alternative 1/No Build Person Throughputs

Location Throughput (persons per hour)
1-495 Inner Loop/
6-7 AM | 7-8 AM | 8-9AM | 9-10 AM | 3-4PM | 4-5PM | 5-6PM | 6-7PM
I-270 Southbound
American Legion Bridge | 10,100 | 10,000 | 10,300 | 10,300 | 10,000 | 8,800 | 4,500 | 9,200
1-495 West of 1-95 8,500 9,200 8,900 8,500 9,200 10,300 9,900 6,700
l-495 atMD5 7,900 7,500 7,200 8,900 7,900 9,000 9,300 9,200
|-270 at Montrose Rd 13,300 | 13,400 | 11,600 11,700 9,500 10,300 9,700 9,300
1-495 Outer Loop/
1-270 Northbound 6-7 AM | 7-8 AM | 8-9AM | 9-10 AM | 3-4PM | 4-5 PM | 5-6PM | 6-7PM
American Legion Bridge 10,300 | 10,700 | 11,200 11,100 10,700 | 11,400 | 10,900 | 11,000
|-495 West of 1-95 9,100 7,100 6,300 7,700 9,100 9,200 7,200 7,300
l-495 atMD5 7,300 7,500 5,100 6,700 8,700 8,700 8,300 8,300
1-270 at Montrose Rd 6,200 7,500 10,700 10,700 15,200 | 13,700 | 12,700 | 11,200
Table 5-13: 1-495 and I-270 2025 Alternative 1/No Build Percent Vehicle Demand Met
Location Percent Vehicle Demand Met
ee tnnet okt 6-7 AM | 7-8AM | 8-9AM | 9-10AM | 3-4PM | 4-5PM | 5-6PM | 6-7 PM
1-270 Southbound
American Legion Bridge 93% 90% 95%
1-495 West of I-95 96% 97% 91% 91%
l-495 atMD5 95% 93% 99%
|-270 at Montrose Rd 97% 96% 94% 97% 96% 93% 91%
1-495 Outer Loop/
1-270 Northbound 6-7 AM | 7-8AM | 8-9 AM | 9-10 AM | 3-4PM | 4-5PM | 5-6PM | 6-7PM
American Legion Bridge 96% 95% 95% 92% 97%
1-495 West of I-95 93% 98% 94% 91%
1-495 at MD 5 97% 93% 94% 99% 98% 95% 94%
1-270 at Montrose Rd 98% 96%
290%
Table 5-14: 1-495 and I-270 2040 Alternative 1/No Build Percent Vehicle Demand Met
Location Percent Vehicle Demand Met
boar HEL LOOP! 6-7AM | 7-8AM | 8-9AM| 9-10AM | 3-4PM | 4-5PM | 5-6PM | 6-7 PM
1-270 Southbound
American Legion Bridge 93%
1-495 West of I-95 98% 93% 96%
1-495 at MD 5 98% 93% 96% 96%
1-270 at Montrose Rd 97% 93% 95% 95%
1-495 Outer Loop/
1-270 Northbound 6-7 AM 7-8 AM | 8-9AM | 9-10 AM | 3-4PM | 4-5PM | 5-6PM | 6-7PM
American Legion Bridge 99% 91% 93%
1-495 West of I-95 93% 93%
1-495 at MD5 96% 94% 90% 90%
|-270 at Montrose Rd 92% 99%
290%
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16,000 100%

Figure 5-58: I-495 2025 Alternative 1/No Build 7-8 AM Outer Loop Demand vs. Throughput and Percent Demand Unserve
| ]

_ 16,000 100%
14,000 oon |
10,000 \ = 60%

Demand Unserved is the demand that is not met; it is shown as the percent difference between demand
and throughput.

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Figure 5-59: 1-495 2025 Alternative 1/No Build 4-5 PM Inner Loop Demand vs. Throughput and Percent Demand Unserved
| 16,000
14,000
12,000

Figure 5-60: I-495 2025 Alternative 1/No Build 4-5 PM Outer Loop Demand vs. Throughput and Percent Demand Unserved
|

16,000 100%
|
14,000 90%
| ee 80%
12,000 70%
10,000 —— gg 60%

Demand Unserved is the demand that is not met; it is shown as the percent difference between demand
and throughput.

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Figure 5-61: I-270 2025 Alternative 1/No Build 7-8 AM Southbound Demand vs. Throughput and Percent Demand Unserved

16,000 100% |
| 44,000 an
80%

Figure 5-62: I-270 2025 Alternative 1/No Build 4-5 PM Northbound Demand vs. Throughput and Percent Demand Unserve
| ]

| 16,000 100%

| cece |

14,000 eee |
80%

12,000 Hl

|

Demand Unserved is the demand that is not met; it is shown as the percent difference between demand
and throughput.

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Figure 5-63: I-495 2040 Alternative 1/No Build 7-8 AM Inner Loop Demand vs. Throughput and Percent Demand Unserved
| 16,000 100%
14,000 as

Figure 5-64: I-495 2040 Alternative 1/No Build 7-8 AM Outer Loop Demand vs. Throughput and Percent Demand Unserved
|

16,000 100%
14,000 90%

Demand Unserved is the demand that is not met; it is shown as the percent difference between demand
and throughput.

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Figure 5-65: 1-495 2040 Alternative 1/No Build 4-5 PM Inner Loop Demand vs. Throughput and Percent Demand Unserved

| 16,000 100%
14,000 as
a 80%
12,000

Figure 5-66: I-495 2040 Alternative 1/No Build 4-5 PM Outer Loop Demand vs. Throughput and Percent Demand Unserved
|

16,000 100%
14,000 90%

Demand Unserved is the demand that is not met; it is shown as the percent difference between demand
and throughput.

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Figure 5-67: I-270 2040 Alternative 1/No Build 7-8 AM Southbound Demand vs. Throughput and Percent Demand Unserved

| 16,000 00%
14,000 90%
80%

70%

Figure 5-68: I-270 2040 Alternative 1/No Build 4-5 PM Northbound Demand vs. Throughput and Percent Demand Unserved
| 16,000 100%

14,000 red
80%

12,000 gO \ _ |

10,000

Demand Unserved is the demand that is not met; it is shown as the percent difference between demand
and throughput.

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Throughput results at key locations from VISSIM for each of the Screened Alternatives are shown in Tables
5-15 through 5-18. Results are reported in terms of percent increase in vehicle-throughput and person-
throughput for each Screened Alternative compared to Alternative 1/No Build, to the nearest 5 percent.

Table 5-15: Summary of 2040 Screened Alternatives Vehicle Throughput Results (veh/hr)

2017 2040 Alt1/ | 2040 2040 2040 2040 2040 2040

Location Existing | NoBuild | alts | Alt8 | alt9 | altio | Alti3B | Alt13c
AM Peak Hour (7-8 AM) — Both Directions
Paes eAmetee: | soa 17,400 | 20,100 | 22,200 | 22,300 | 22,800 | 21,800 | 22,400
Legion Bridge
98 14,600 13,900 | 16,000 | 19,000 | 19,200 | 19,100 | 19,000 | 19,700
West of I-95
ame 5 12,400 12,600 | 12,800 | 15,600 | 14,000 | 14,100 | 14,500 | 15,300
|-270 at
16,200 17,100 | 18,000 | 21,000 | 19,000 | 21,400 | 18,300 | 19,700

Montrose Rd

PM Peak Hour (4-5 PM) — Both Directions

SBE RMEOR | ges 15,400 | 18,800 | 18,800 | 20,900 | 20,800 | 20,000 | 20,300
Legion Bridge
Bags 15,600 15,400 | 19,100 | 21,500 | 21,300 | 21,500 | 20,200 | 21,500
West of I-95
, ND 5 13,600 13,900 | 15,100 | 13,900 | 15,700 | 15,700 | 15,700 | 15,900
I-270 at
18,400 18,000 | 16,100 | 18,500 | 20,200 | 22,300 | 16,900 | 20,000

Montrose Rd

Table 5-16: Summary of 2040 Screened Alternatives Person Throughput Results (persons/hr)

2017 2040 Alt1/ | 2040 2040 2040 2040 2040 2040

tortion Existing | NoBuild | AltS | alts | alto | Alt10 | alt13B | Alt43c

AM Peak Hour (7-8 AM) — Both Directions

1-495 at American

. . 20,300 20,800 24,600 | 27,900 | 27,900 | 28,700 | 27,300 | 28,200
Legion Bridge

Eos 17,000 16,100 19,600 | 23,800 | 23,900 | 23,800 | 23,600 | 24,500
West of I-95
amo 5 14,700 15,000 15,900 | 19,200 | 17,300 | 17,300 | 17,800 | 18,800
1-270 at

19,900 20,900 22,400 | 25,500 | 24,400 | 26,900 | 23,200 | 24,500
Montrose Rd

PM Peak Hour (4-5 PM) — Both Directions

1-495 at American

. . 21,200 20,200 25,400 | 25,900 | 28,600 | 28,700 | 27,400 | 28,000
Legion Bridge

1-495 19,700 19,500 25,700 | 29,700 | 29,200 | 29,500 | 27,800 | 29,600
West of I-95
amo 5 17,600 18,300 20,800 | 19,200 | 21,800 | 21,700 | 21,700 | 21,900
1-270 at

24,400 24,000 22,500 | 24,700 | 28,500 | 30,800 | 23,300 | 26,800

Montrose Rd

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Table 5-17: 2040 Screened Alternatives Percent Change in Vehicle Throughput vs. 2040 Alternative 1/No Build

iseadon 2017 2040 Alt 1/ 2040 2040 2040 2040 2040 2040
Existing No Build Alt 5 Alt 8 Alt 9 Alt 10 Alt13B | Alt 13C
AM Peak Hour (7-8 AM) — Both Directions
l-495 at American
Legion Bridge Nin
1-495
West of I-95 N/A
1-495
at MD5 N/A 10%
|-270 at x
Montrose Rd N/A 10
l-495 at American
Legion Bridge Ni
1-495
West of I-95 N/A
1-495
at MD5 N/A
I-270 at
Montrose Rd NiA
>0%to | 210% to
<10% <20%

Table 5-18: 2040 Screened Alternatives Percent Change in Person Throughput vs. 2040 Alternative 1/No Build

Location 2017 2040 Alt 1/ 2040 2040 2040 2040 2040 2040
Existing No Build Alt5 Alt 8 Alt 9 Alt10 | Alt13B | Alt 13C
AM Peak Hour (7-8 AM) —- Both Directions
1-495 at American
Legion Bridge N/A
1-495
West of 1-95 MA
1-495
at MD5 BA
1-270 at
Montrose Rd N/A
1-495 at American
Legion Bridge nA
1-495
West of 1-95 BA
1-495
at MD5 N/A
1-270 at
Montrose Rd NA
20% to 210% to
<10% <20%
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Most of the Build Screened Alternatives provide significant throughput benefits during the AM peak
period compared to Alternative 1/No Build. The exception is Alternative 5, which provides no additional
vehicle throughput on 1-495 at MD 5 during the AM peak period or on |-270 at Montrose Road during the
PM peak period compared to the No Build, and provides the smallest throughput benefit at the other
three key locations studied. Alternative 13B also provides no vehicle throughput benefit on |-270 at
Montrose Road during the PM peak period compared to the No Build. Alternative 10 performed the best
during the PM peak period. Of the Screened Alternatives, Alternative 10 provides the highest amount of
throughput during the PM peak period at all four key locations studied. Conversely, some Build Screened
Alternatives provide no benefit in throughput compared to Alternative 1/No Build at certain locations
during the PM peak. Alternatives 5 and 13B did not provide any vehicle throughput or person throughput
benefits on I-270 at Montrose Road. Benefits of increased throughput on the highway include reduced
peak spreading (i.e., less congestion in the off-peak hours) and reduced burden on the surrounding
roadway network.

5.4 System-Wide Delay

System-wide delay reflects the average amount of time each vehicle in the VISSIM simulation model is
delayed while trying to reach their destination. Delay can be caused by slow travel due to congestion or
when vehicles must yield right-of-way at an intersection. System-wide delay is reported in the units of
minutes per vehicle. The results were generated from the simulation model outputs and are shown in
Table 5-19. For the raw delay values, lower numbers are better, reflecting a reduction in congestion. For
the percent improvement compared to Alternative 1/No Build, higher numbers are better, reflecting a
greater benefit.

With Alternative 1/No Build, system-wide delay during the AM peak period is projected to increase from
4.45 minutes per vehicle in 2017 to 8.77 minutes per vehicle in 2040, a 97% increase. During the PM peak
period, system-wide delay is projected to increase from 4.00 minutes per vehicle in 2017 to 11.78 minutes
per vehicle in 2040, a 195% increase.

Alternative 9 and Alternative 10 have the best results. Both alternatives result in a delay savings of greater
than 30 percent during the AM and PM peak periods compared to Alternative 1/No Build, which is the
baseline. Alternative 8 and Alternative 13C also perform well during the PM peak period but provide less
benefit during the AM peak period than Alternative 9 and Alternative 10. While both alternatives are
better than Alternative 1/No Build, they lag the other alternatives in terms of delay savings, particularly
during the PM peak, although Alternative 13B does outperform Alternative 8 and Alternative 13C during
the AM peak period. Alternative 5 has the least delay savings in both the AM and PM.

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Table 5-19: Summary of 2040 Screened Alternatives System-Wide Delay Results

AM Peak Period PM Peak Period
Altemative Average Percent Average Percent
Delay Improvement Delay Improvement
(min/veh) vs. No Build (min/veh) vs. No Build
Existing 4.45 4.00
2040 Alternative 1/No Build 8.77 11.78
2040 Alternative 5 7.02 9.15
2040 Alternative 8 6.73 7.90
2040 Alternative 9 5.77 7.87
2040 Alternative 10 5.68 7.73
2040 Alternative 13B 6.40 9.17
2040 Alternative 13C 6.48 as

320% | 225%
ee ses. | 22. [ae

5.5 Density and Level of Service (LOS)

Alternative 1/No Build speed, density, and LOS along the study corridors are summarized in the Figures
5-69 and 5-70. Speed (miles per hour), density (passenger cars per hour per lane), and LOS for each
segment and for each Screened Alternative are included in Appendix H. In evaluating density, the
percentage of lane-miles operating at LOS F was calculated within the Study limits during the AM peak

period and the PM peak period. The results are shown in Table 5-20 and were generated from the VISSIM
outputs. Lower percentages are better, reflecting fewer failing roadway segments. With Alternative 1/No
Build, the percentage of lane miles operating at LOS F along the study corridors will increase from 21% in
2017 to 28% in 2040 during the AM peak period and from 38% in 2017 to 53% in 2040 during the PM peak
period.

Alternative 9 had the lowest percentage of failing segments during both the AM and PM peak periods,
with only 12 percent of the lane-miles projected to operate at LOS F during both peak period in 2040.
Alternative 5 had the highest percentage of failing segments of the Build Screened Alternatives. However,
all Build Screened Alternatives performed significantly better than Alternative 1/No Build, in which 28
percent of the system is projected to fail during the AM peak hour and 53 percent is projected to fail
during the PM peak hour.

Table 5-20: Summary of 2040 Screened Alternatives Percent of Lane Miles Operating at LOS F

Alternative
Existing
2040 Alternative 1/No Build
2040 Alternative 5 21% 20%
2040 Alternative 8 14% 14%
2040 Alternative 9 12% 12%
2040 Alternative 10 15% 14%
2040 Alternative 13B 14% 12%
2040 Alternative 13C 18% 12%
30% to <15% | 215% to<20% | 320%to<25% [NESSIE

Based on density; LOS F is reached at a density of 45 passenger cars per mile per lane (pc/mi/In).

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Figure 5-69: 2040 Alternative 1/No Build AM Segment Level of Service (LOS)

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Montgomery 2a

County

‘Prince—

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Level of Service (LOS)
2040 Alternative 1/No Build MOT Los ac
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AM Level of Service +-495/l-270 Managed Lanes Study LOS F +

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Figure 5-70: 2040 Alternative 1/No Build PM Segment Level of Service (LOS)

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&
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Montgomery
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PM Level of Service }-495/-270 Managed Lanes Study LOS F . +

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5.6 Travel Time Index ene
While corridor travel time and speed provide a good

way to compare alternatives, few vehicles will travel e Alternative 9 had the best TT! values
from one end to the other during their trip, during the AM peak, with no segments
particularly along |-495. Therefore, the Travel Time ranked as “severe”

e Alternative 13C had the poorest TTI
values during the AM peak, with I-270
Southbound ranked as “severe”

e Alternatives 10 and 13C had the best
TTI values during the PM peak, although
one segment of Alternative 10 was
ranked as “severe”

Index (TTI) metric, defined earlier in this report, was
evaluated for shorter trip segments. The TTI also
serves as a proxy for assessing reliability. While the
Planning Time Index (PTI) is traditionally used as a
measure for reliability, the PTI cannot be directly
calculated for future travel times. However, there is a
strong correlation between TTI and PTI values. The TTI * Alternative 5 had the poorest TTI values
represents the 50" percentile travel time, while the during the PM peak, with three

PTI represents the 95" percentile travel time. TTI segments ranked as “severe”

values were calculated for the general-purpose lanes
of eight total highway segments, including four segments in each direction: !-495 from the George
Washington Memorial Parkway to |-270, I-495 from |I-270 to I-95, |-495 from I-95 to MD 5, and I|-270 from
1-495 to |-370. The results are shown in Table 5-21 and were generated from the VISSIM outputs.

For this metric, Alternative 9 performs the best during the AM peak. Three of the eight segments had a
TTI value in the “uncongested” category for Alternative 9, with two others in the “moderate” category,
and the remaining three in the “heavy” category. Alternative 13C performs the poorest during the AM
peak, with the segment of I-270 southbound experiencing a TTI value of 2.2 (in the “severe” category).
None of the segments operated in the “severe” category for Alternatives 5, 8, 9, or 10 during the AM peak
period.

Alternative 10 and 13C performs the best in terms of TTI during the PM peak. Although the segment of
the |-495 Inner Loop from I-270 to I-95 was in the “severe” category, Alternative 10 experienced the lowest
TTl of the Screened Alternatives for this segment. Additionally, the other seven segments had TTI values
of 1.6 or less for Alternative 10 and Alternative 13C. Alternative 5 performs the poorest during the PM
peak, with three segments in the “severe” category. For the majority of the segments, Alternative 1/No
Build has the worst TTI value.

Some segments show degradations in the TTI in the Build Screened Alternatives as compared to
Alternative 1/No Build. The TTI in Alternative 1/No Build is low in these segments due to upstream
bottlenecks. The main bottleneck along the |-495 Inner Loop is at the American Legion Bridge, where
congestion occurs outside of the study area. After widening the American Legion Bridge in the Build
Screened Alternatives, there is increased throughput across the bridge, increasing the downstream travel
time from the American Legion Bridge to I-95 relative to Alternative 1/No Build, in which traffic is metered
by the bridge. As stated above, for the majority of segments, Alternative 1/No Build has the worst TTI
value.

It should be noted that all managed lane segments were projected to operate at uncongested levels of
less than 1.15, and therefore the results above only compared operations in the general-purpose lanes.
However, according to the National Cooperative Highway Research Program (NCHRP) Report 03-96,

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Analysis of Managed Lanes on Freeway Facilities, “For a single managed lane facility, a slow-moving
vehicle drags down the speed of vehicles following it, much like it would on a two-lane highway or a single-
lane tunnel. On the contrary, multi-lane managed lane facilities allow opportunities for passing, and the
impact of slow-moving vehicles is expected to be lower, at least until higher flow levels are reached.” This
report documented a Case Study (I-880 in San Francisco) where the operating speed at capacity was lower
than the expected speed because the speed on the HOV lane was governed by the slowest moving vehicle.
Since the studied facility was a single HOV lane facility, “the HOV speed reduction was contributed to a
‘snail’ effect, meaning that the speed on the HOV lane was governed by the slowest moving vehicle. Since
passing was constrained on the single HOV lane, vehicles were trapped behind the ‘snail’ when general-
purpose lanes are heavily congested. As the traffic flow increased, so did the number of slow drivers.”
Based on this research, a separate metric was applied to differentiate the TTI in the managed lanes for
each Screened Alternative.

5.7 Freight

The ability to move freight, services, and commuting employees efficiently through the Study corridors is
heavily influenced by the performance of I-495 and 1-270. It is closely tied to TTI, vehicle throughput, and
effects on the local roadway network.

e According to the Federal Highway Administration’s “Freight Analysis Framework Inter-Regional
Commodity Flow Forecast Study” (May 2016), freight in the United States is expected to grow by
40% over the forecast period of 2012 to 2045. As the Maryland Port and BWI Airport grow and
expand, MDOT and the modal TBU’s have and will continue to coordinate to maintain and
mitigate the freight network by ensuring the safety, reliability and mobility of goods and people
in and out of Maryland.

e Since the managed lanes will provide improvements to the travel times, speeds, reliability, and
vehicle throughputs on |-495 and I-270 in both the managed lanes and general-purpose lanes,
those benefits will also positively effect freight and truck travel. Additionally, FHWA’s Office of
Freight Management and Operations monitors interstate as part of the Freight Performance
Measures Initiative. Through this, the nation’s worst bottlenecks for freight movements are
identified. Four of the top 100 locations are in Maryland and two are included in the Study area:
|-495 at I-95 and I-495 at I-270.

@ The managed lanes will improve the movement of cars, which would reduce peak period length,
and separate truck travel (typically off peak) from the cars that can better be served during the
peaks. With reduced congestion and reduced spread of peak periods by the managed lanes
corridors, more cars will be served during the peaks, which provides the potential for safety
benefits associated with truck/car conflicts.

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Table 5-21: Summary of 2040 Screened Alternatives Travel Time Index (TTI) Results for General-Purpose Lanes

Corridor 2017 2040 Alt1/ | 2040 | 2040 | 2040 | 2040 2040 2040
Existing No Build AltS | Alt8 | Alt9 | Alt10 | Alt13B | Alt13C
AM Peak Period
|-495 Inner Loop from
George Washington 1.4 1.6 1.6 1.3 13 1.8 1.6
Memorial Pkwy to I-270
|-495 Outer Loop from
|-270 to George Washington 12 1.2 1.7 1.3 1.7 ve 1.7 1.6
Memorial Pkwy
I-495 Inner Loop
from |-270 to I-95 1.5 1.2 1.3 1-2 1.2 1-2
1-495 Outer Loop
1-495 Inner Loop
from |-95 to MD S 1.0 1.8 1.5 1.5 1.4 1:5 13 1.4
1-495 Outer Loop eax [lax _. _
from MD S to I-95 12 1.5 1.2 1.0 1.0 1.0 1.0 1.0
|-270 Southbound if
from I-370 to I-495 i is | #¢ Bea 7? ee | 22 |
I-270 Northbound : a2 = ae a )
from 1-495 to I-370 ED 1.0 106 | 30 | 16 | a0 | 42 1.0

PM Peak Period

|-495 Inner Loop from
George Washington
Memorial Pkwy to |-270

|-495 Outer Loop from
|-270 to George Washington
Memorial Pkwy

I-495 Inner Loop
from |-270 to I-95

1-495 Outer Loop
from I-95 to |-270

I-495 Inner Loop
from 1-95 to MD 5

1-495 Outer Loop
from MD 5 to I-95

I-270 Southbound
from I-370 to I-495

l-270 Northbound
from |-495 to I-370

Moderate Congestion (1.15 < TTI < 1.3)

Heavy Congestion (1.3 < TTI < 2.0)

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5.8 Latent and Induced Demand eae
Latent demand (or unserved demand) refers to

users that are not currently served by the system . Latent femmand eer nes, verted SDS: The
but would like to use the system. For this Study, project will improve the system by serving
, . . . more latent demand on the freeways instead
this includes trips using local roads and arterials .
instead of |-270 and I-495 ll h of on arterials.
HieKes . = a a we aS Maciel 2 ¢ Induced demand represents new trips. While
may adjust the time of their trip to avoid the project may generate some new trips,
congested periods. With the additional capacity MWCOG modeling shows that the amount of
on the freeways provided by completion of the induced demand caused directly by the
project, these users can complete their trips using project would be less than 1% of the total
their preferred route on the freeways instead of VMT in the region.
the local roads. This represents the latent e Induced demand is related in part to increase
demand served by the project. in job accessibly. The project will increase job
accessibility in the region by 10% to 15%.
The MWCOG travel demand model determines e The addition of one to two managed lanes
the demand for the transportation system based along 1-495 and 1-270 will result in a decrease
on land use assumptions, number and type of in vehicle miles traveled of 0.8% to 1.5%
trips generated by each of those land uses, and along arterials within the network.

the capacity of the existing roadway network. The

ability of the project to serve the latent demand can be shown in part by the expected reduction in vehicle
miles traveled (VMT) on the arterial routes. Reduction in vehicular through traffic on the local system is
important in promoting safer mobility in developed urban/suburban areas. With respect to consideration
of induced demand, or the potential for the project to create additional traffic on the arterials because
more people will use the arterials to get to the |-270 and I-495 corridors, while some sections of arterials
will likely experience this increase, the overall VMT on those routes is expected to be reduced. The overall
reduction in VMT along arterials within the network will be between 0.8% and 1.5%.

Induced demand for this project can be described as newly-generated users of the system. These are new
trips that would not exist without capacity improvements to transportation. As the land use assumptions
do not vary between Alternative 1/No Build and the Build Screened Alternatives, all the trip generators
are equal among scenarios: there will not be new housing developments or new places of employment.
There is little room for increased land use along I-270 and I-495 as the areas is already built out, and the
model already accounts for changes in land use in areas further from these facilities. However, because
the project is projected to increase the speeds and reduce travel times along I-270 and I-495, people may
make more trips or longer trips. While the model does not show that people will relocate simply to move
farther away, people may be willing to drive a longer distance for their trip because that distance is now
within their acceptable travel time.

A. Job Accessibility
The creation of induced demand can be seen in part in job accessibility:

e With two Express Toll Lanes, over 160,000 additional commuters within the region will be able to
access jobs within 60 minutes, equivalent to nearly 15% increase in job accessibility over 2040 No
Build conditions.

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# With one Express Toll Lane, over 110,000 additional commuters within the region will be able to
access jobs within 60 minutes, equivalent to nearly 10% increase in job accessibility over 2040 No
Build conditions.

B. Vehicle Miles Traveled (Total Modeling Area)

Due to the improvements, the total VMT within the modeling area (shown in Figure 5-71) does increase
slightly, as shown in Figure 5-72. The change is based on runs of the approved 2040 MWCOG model,
comparing Alternative 1/No Build to the Build scenarios. The only change to the MWCOG model between
Alternative 1/No Build and the Build scenarios is the addition of the managed lanes.

¢ With the addition of two managed lanes using congestion pricing, the entire modeling area in
2040 would be expected to see a small increase of 0.8% in VMT when compared to the 2040
Alternative 1/No Build condition

e With the addition of one managed lane using congestion pricing, the entire modeling area in 2040
would be expected to see a small increase of 0.6% of VMT when compared to the 2040 Alternative
1/No Build condition

Overall, VMT is only expected to increase by less than 1% with Build conditions in comparison to No Build
conditions, which indicates that induced demand is not exceedingly high for this project. This is due to the
new lanes (i.e., new capacity) being managed. Managing the new lanes will be able to put a limit on how
much induced demand can be created by the project.

Cc. Vehicle Miles Traveled (Arierials)

VMT projections that include only the arterial roadways in Montgomery and Prince George’s Counties
(i.e., the projections do not include 1-495, I-270, or other freeways) decrease between 2040 No Build and
Build conditions. These values reflect what would be experienced on the local roads.

e With the addition of two managed lanes using congestion pricing, arterial roadways within
Montgomery and Prince George’s Counties are expected to experience a decrease of 1.5% in VMT
compared to 2040 No Build conditions in the MWCOG model.

¢ With the addition of one managed lane using congestion pricing, arterial roadways within
Montgomery and Prince George’s Counties are expected to experience a decrease of 0.8% in
vehicular miles of travel compared to 2040 No Build conditions in the MWCOG model.

D. Modeling of Latent Demand

Table 5-22 summarizes the VISSIM simulation network-wide latent demand for the each of the Screened
Alternatives, including Alternative 1/No Build. In VISSIM, latent demand refers to the number of vehicles
that are unable to enter the network (1-495 and I-270) due to queues that extend outside the network, as
measures in vehicles per hour (vph). As shown, with Alternative 1/No Build, latent demand during the AM
and PM peak periods is projected to increase from 4,500 vehicles per hour in 2017 to 27,100 vehicles per
hour in 2040, an increase of over 500%. Each of the Build Screened Alternatives reduces latent demand
by 26% to 44%. Figures 5-57 to 5-68 include charts that compare throughput and demand volumes and
include the percent demand that is unmet. These charts are shown for all analysis hours in Appendix G.

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Figure 5-71: Modeling Area for Vehicle Miles Traveled

Berkeley Frederick

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— Version 2.3 Modeled Study Area
TPB Member Jurisdictions

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Figure 5-72: Prolene, 2040 VMT Change, Alternative 1/No Build vs. Two Managed Lanes

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SK Mears \, eos Columbia (||

Virginia’ : ‘ ff
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M Or Percent Change in Vehicle Milas Traveled (VMT) fe

Projected 2040 VMT Change "OF Tae ST Se ei ven Seeeecti

= o change ae 0
No Build vs. Two Managed Lanes 1+-495/1-270 Managed Lanes Study —— 8% ~ 10% (+h1% change) 8% - 10%
July 2079 1% - 5% 1% - 5%

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